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                                  Exhibit 9:
                        Second DeVito Declaration
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Actions No.    17-cv-01661-WJM-MEH
  Consolidated with    17-cv-01679-WJM-MEH

  KYLE ZEPPELIN; BRAD EVANS; CHRISTINE O'CONNOR; KIMBERLY MORSE;
  JACQUELINE LANSING; and JANET FEDER,

          and

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION;
  CHAFEE PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO
  FORUM,

         Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CATER, in his official capacity as Division
  Administrator,

         Defendants,

         and
  COLORADO DEPARTMENT OF TRANSPORTATION, and
  SHAILEN P. BHATT, in his official capacity as Executive Director of the Colorado
  Department of Transportation,

         Defendant-Intervenors.


       SECOND DECLARATION OF ANTHONY R. DEVITO IN SUPPORT OF CDOT'S
               OPPOSITION TO SIERRA CLUB'S MOTION FOR STAY


         I, Anthony R. DeVito, being competent to make this statement, do swear and affirm the

 following:

         1.     I am the Central 70 Project Director. This Declaration is based on my personal

 knowledge and information from business records which are maintained in the ordinary course of

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 business and from entries made therein at or near the time of the events so recorded. I am

 authorized to testify to the matters herein. If called as a witness, I could competently testify

 regarding the facts in this declaration.

        2.      I have been employed by the Colorado Department of Transportation ("CDOT")

 since August 1991 and have served in my current role as the Central 70 Project Director since July

 2015. The Central 70 Project Director oversees CDOT's efforts to implement Phase 1 of the

 preferred alternative identified in the 1-70 East Final EIS and approved in the Record of Decision,

 known as the Central 70 Project. I am a licensed Professional Engineer in the State of Colorado

 (PE 30228 issued 2/7/1995).

        3.      In January 2017, FHWA issued the Record of Decision ("ROD") for the Central 70

 Project, which includes the preferred alternative's planned improvements to 1-70 between 1-25 and

 Chambers Road. Since that time, CDOT has been completing the procurement of the Project,

 including the selection of a private developer to help finance, design and build it. CDOT chose a

 preferred developer, Kiewit Meridiam Partners, in August 2017 and entered into an agreement

 with Kiewit Meridiam Partners to complete the design, help finance, and build, operate, and

 maintain Central 70 on November 22, 2017 ("KMP Agreement").

        4.      Financial close with lenders for KMP is expected no later than the end of January,

 2018, followed by execution of a Project Agreement with FHWA in early 2018. Apart from

 continuing preparatory work, such as utility relocations and demolition of acquired structures,

 actual construction of the redesigned highway is not expected to begin until Summer 2018.

        5.      Under the ROD and State law, CDOT and its contractors must take the following

 steps, among others, to minimize emissions:


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                •   Continuously monitor particulate matter during construction and immediately
                    modify construction at levels defined to prevent NAAQS violations;

                •   Cover, wet and stabilize soils to prevent dust emissions;

                •   Use vacuum street sweepers and measures such as covering loads and
                    washing wheels to reduce the spread of dust;

                •   Use construction equipment that meets the latest and lowest federal emissions
                    standards and/or retrofitted particulate traps, catalyst, and other systems;

                •   Use alternative-fuel construction equipment and haul trucks where reasonably
                    available;

                •   Prohibit unnecessary idling and require proper maintenance of construction
                    equipment to reduce emissions.

                •   Locate construction staging areas as far away from residential areas as
                    possible.

        6.      These measures have been included in the KMP Agreement, which commits KMP

 to implement the mitigation provided in the ROD. KMP's environmental mitigation and

 performance obligations are included in Schedule 17 of the KMP Agreement, which is

 Attachment A to this Declaration. Among other things, KMP has committed to implement

 practices to "effectively control fugitive particulate emissions at all times on the Site, including

 during periods of inactivity. The Developer shall monitor Project fugitive particulate emissions

 including those from construction equipment and stationary sources." Attachment A at 17-9.

        7.      Schedule 17 of the KMP Agreement also requires KMP to do the following:

                • "The Developer shall conduct continuous PM-10 monitoring during the
                  Construction Period in accordance with 40 C.F.R. Part 58 (Ambient Air
                  Quality Surveillance) adequate to characterize PM-10 concentrations along
                  the active construction corridor." Attachment A at 17-10.

                • "The Developer shall implement an automated PM-10 alert system that will
                  communicate via both text messaging and email when a PM-10 monitored

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                    level reaches a running eight hour average concentration of 135 µg/m3. This
                    alert system will continuously monitor the real time data from the Project's
                    PM-10 monitors. The level of 135 µg/m3 is specified in order to allow
                    corrective actions to be implemented prior to exceeding the National Ambient
                    Air Quality Standard ("NAAQS") of 150 µg/m3. ... Upon receiving an alert,
                    the Construction Manager, in consultation with the EM, shall respond
                    immediately to identify the source of the PM-10 event and implement
                    effective BMPs for dust control." Attachment A at 17-10 to 17-11.

                • "Diesel equipment on the construction site "for more than 10 total Calendar
                  Days must either 1) have engines meeting EPA Tier 4 standards or 2) be EPA
                  rated Tier 2 or Tier 3 that have been retrofitted with diesel particulate control
                  technology, diesel oxidation catalysts, and/or engine preheaters." Attachment
                  A at 17-12.

                • "The Developer shall undertake Reasonable Efforts to use alternatives to
                  diesel engines and/or diesel fuels, such as biodiesel, liquefied natural gas,
                  compressed natural gas, fuel cells, and electric engines." Attachment A at 17-
                  11.

                •   The developer is prohibited from keeping equipment idling for more than 5
                    minutes except under specified circumstances. Attachment A at 17-12 to 17-
                    13.

        8.      The measures in the ROD and KMP Agreement are effective in the real world for

 controlling particulate emissions from construction. The measures are part of or exceed the

 requirements of the State's regulations to ensure compliance with the federal air-quality

 standards for particulate matter.

        9.      As an example of the effectiveness of the mitigation measures, the City and

 County of Denver has been using the same or less stringent measures to control emissions at the

 Globeville Landing Outfall drainage project immediately adjacent to Central 70. As part of my

 regular duties, I keep apprised of other projects near Central 70, including the Globeville

 Landing Outfall project, which was analyzed in the ROD for Central 70. The Globeville

 Landing Outfall project included extensive earth moving and excavation in a Superfund site.


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  Just as CDOT will, Denver has engaged in continuous air-quality monitoring and published

  reports and data from the monitoring. I have reviewed the air-quality monitoring results and am

  including an example summary of this data as Attachment B to this Declaration.'

         10.    According to the air-quality monitoring results, during the course of the

 construction of the Globeville Landing Project, Denver has always been well below the

 Particulate Matter National Ambient Air Quality Standard and has never exceeded it. See, e.g.,

 Attachment B. The majority of particulate matter concentration peaks are at or below half of the

 standard; the single highest was below 80 percent of the standard. Denver also collected specific

 data regarding arsenic and lead air concentrations and found that they were a very small fraction

 of EPA allowable air concentrations for residential locations.

         11.     Compliance with all of the mitigation and construction measures will minimize

 emissions and keep concentrations below federal standards during construction. They reflect

 decades of practice, regulation, and experience.

         12.    Beyond the mitigation measures to minimize emissions, CDOT committed in the

 ROD to provide storm windows, portable air conditioners and furnace filters for the homes

 between 45th Avenue and 47th Avenue from Brighton Boulevard to Colorado Boulevard

 (corresponding with the areas of excavation and the viaduct replacement), along with utility bill

 assistance during the period of construction. These mitigation measures are unprecedented in

 Colorado. Since FHWA issued the ROD, this initiative has been enhanced with partners to



 ' All of the City's air quality monitoring results for the Globeville Landing Outfall are made
 public and are available at https://www.denvergov.org/content/denvergovien/environmental-
 health/environmental-quality/land-use-and-planning.html.



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 provide central air conditioning, ventilation and heating systems, positive pressure air

 ventilation, and window and door replacement for many of the homes in the program.

        13.      These home-improvement measures collectively will allow residents to keep

 homes closed during construction to reduce infiltration of outside air and also filter particulate

 matter, including any fugitive construction dust. Contractors have already started the process of

 providing the residential mitigation for homes along 1-70. So far, they have found that many of

 the homes inspected have serious health and safety issues, including carbon-monoxide leaks

 from defective heating systems, leaking hot water tanks, unsafe systems, hollow-core interior

 doors used as front doors, venting of moist air into attic spaces (potentially leading to mold and

 other issues), roofs with visible holes through the structure. These issues are being remediated

 for the homes in the program both for the health and welfare of the residents and workers

 providing the home improvements, as well as to meet code requirements for home

 improvements.

        I declare under penalty of perjury that the foregoing is true and correct.




                                                            ony R. DeVito, P.E.

        Executed this 6th day of December, 2017, at Denver, Colorado.




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                               Attachment A
                       KPM Agreement Schedule 17
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   Schedule 17 (Environmental Requirements)

                                                Schedule 17
                                         Environmental Requirements

   1.       GENERAL
   1.1.     General Requirements
   1.1.1.   To the extent allowed by Law, subject only to the express provisions of this Agreement (including
            of this Schedule 17) and without limiting the Developer’s own obligations to comply with all other
            Environmental Requirements applicable to the Project and the Work, the Department hereby
            delegates to the Developer, and the Developer hereby accepts, all the Department’s obligations,
            commitments and responsibilities for environmental management and environmental compliance
            in accordance with the requirements identified in this Agreement and all applicable
            Environmental Law and Environmental Approvals. The Developer shall be responsible for
            creating environmental awareness among all Project personnel, ensuring completion of
            environmental tasks and mitigation, and documenting that the environmental aspects of the
            Construction Work and the O&M Work are completed in accordance with the foregoing
            delegation and all other applicable Environmental Law, Environmental Approvals and provisions
            of this Agreement. The Developer shall also assist the Department to implement any and all non-
            delegable obligations, commitments and responsibilities regarding applicable Environmental Law
            and Environmental Approvals. Unless specifically noted otherwise herein, the requirements of
            this Schedule 17 apply to all aspects of the Work, throughout both the Construction Period and
            the Operating Period.
   1.1.2.   Except as provided otherwise in this Agreement (including in this Schedule 17), the Developer
            shall in performing the Work:
            a.      Comply with all Environmental Law;
            b.      Comply with all conditions and requirements imposed by all Environmental Approvals;
            c.      Comply with all conditions and requirements imposed by all other Governmental
                    Approvals (including all Department Provided Approvals) and Permits;
            d.      Perform all commitments and mitigation measures set out in all Environmental Approvals,
                    all other Governmental Approvals (including all Department Provided Approvals, other
                    than commitments and measures assigned to the Department in the Central 70 Mitigation
                    Measures Status as provided in the Reference Documents) and all Permits; and
            e.      Pursuant to Section 8.4 of the Project Agreement, prepare all information and
                    submissions required by, or necessary to maintain in full force and effect, all Department
                    Provided Approvals and all other Environmental Approvals.
   1.1.3.   For certainty, the provisions of this Schedule 17, including all obligations of the Developer
            hereunder, are (except to the extent otherwise expressly provided herein) without prejudice to the
            Developer’s rights and obligations arising as a result of the occurrence of any Supervening
            Event.
   2.       ENVIRONMENTAL COMPLIANCE WORK PLAN
   2.1.     General Requirements
   2.1.1.   The Developer shall prepare an Environmental Compliance Work Plan (“ECWP”) that specifically
            identifies all of the environmental goals and compliance requirements for the Project and the
            Developer’s detailed plan to meet or exceed those goals and requirements, and which is
            consistent with and expands upon the draft ECWP submitted with the Proposal. The ECWP shall
            be submitted to the Department for Approval (or, in the case of certain of the discipline specific
            management plans listed in Section 2.1.2 of this Schedule 17 and incorporated in the ECWP,
            Acceptance as specified in Table 17-5 (Deliverables)) prior to issuance of NTP2.
            At a minimum, the ECWP shall comply with this Schedule 17 and the requirements of Section 14
            of Schedule 10 (Design and Construction Requirements) and include the following:



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           a.      All environmental elements defined in Exhibit 14 (Central 70 Project Mitigation Measures)
                   of the ROD;
           b.      All elements assigned to the Developer in the Central 70 Mitigation Measures Status as
                   provided in the Reference Documents;
           c.      All elements required by Environmental Law and Environmental Approvals;
           d.      Description of the means and methods to meet all Environmental Requirements during
                   both the Construction Period and the Operating Period (to include, for example, detailed
                   procedures that the Developer shall utilize to meet Environmental Requirements for
                   dewatering in both the Construction Period and the Operating Period and any
                   Government Approvals for removal, management, and disposal of RHMs the Developer
                   shall seek);
           e.      Description of the process for tracking and documenting the progress and completion of
                   all Environmental Requirements throughout the Construction Period and the Operating
                   Period;
           f.      Description of how the Developer’s Process Control (“PC”) and Independent Quality
                   Control (“IQC”) programs shall function to assure compliance with Environmental
                   Requirements and this Agreement;
           g.      Description of how information related to progress, completion and compliance with
                   Environmental Requirements will be communicated to the Department and recorded in
                   the Developer’s DCS;
           h.      Description of the roles, responsibilities and qualifications for all members of the
                   Developer’s environmental management team, including the Environmental Manager
                   (“EM”);
           i.      All discipline specific management plans as required pursuant to Section 2.1.2 of this
                   Schedule 17;
           j.      Description of the frequency and purpose of environmental field reviews; and,
           k.      Description of how site specific construction activities will meet all Environmental
                   Requirements.
  2.1.2.   For certainty, specific Environmental Requirements (for example requirements related to air
           quality) will be addressed in the ECWP through discipline specific management plans, including
           those listed in this Section 2.1.2. The ECWP shall incorporate these discipline specific
           management plans by reference and they shall be considered part of the ECWP. The ECWP
           shall include details of how each discipline specific management plan will be incorporated into
           the overall environmental management program. The plans listed below shall be submitted to the
           Department for Approval or Acceptance as required by Table 17-5 (Deliverables).
           a.      Air Quality Monitoring, Maintenance, and Mitigation Plan;
           b.      Construction Noise Mitigation and Monitoring Plan;
           c.      Integrated Noxious Weed Management Plan;
           d.      Materials Management Plan;
           e.      Sampling and Analysis Plan;
           f.      Health and Safety Plan;
           g.      Spill Prevention Control and Countermeasures Plan; and
           h.      BTPD Management Plan.
  2.1.3.   The Developer shall monitor and improve the effectiveness of its ECWP and resubmit the ECWP
           annually for Approval (or, in the case of certain of the discipline specific management plans listed



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           in Section 2.1.2 of this Schedule 17 and incorporated in the ECWP, Acceptance as specified in
           Table 17-5 (Deliverables)) upon the anniversary of the ECWP’s initial Approval by the
           Department, or more frequently should any of the following conditions exist:
           a.     A plan or procedure no longer adequately addresses the matters it was originally
                  intended to address;
           b.     A plan or procedure does not conform with the Project Agreement;
           c.     An audit by the Developer or the Department identifies a deficiency in the ECWP
                  requiring an update;
           d.     Organizational structure changes require revision to the ECWP; or
           e.     The Developer is undertaking, or about to undertake, activities that are not covered within
                  the current ECWP.
  2.1.4.   For all ECWP updates submitted by the Developer to the Department (including updates to each
           discipline specific management plan) the Developer shall:
           a.     clearly identify in a cover sheet what changes were made in the plan update in order to
                  expedite the Department’s review; and
           b.     submit to the Department a comparison (“redline”) copy of the ECWP, or the relevant
                  parts thereof, together with an unmarked revised (“clean”) copy of the ECWP.
  3.       INDEPENDENT QUALITY CONTROL PROGRAM
           The Developer’s IQC program, as described in Schedule 8 (Project Administration), shall assure
           compliance with all Environmental Requirements. The Developer shall perform IQC inspections to
           assure that the Construction Work meets and is being performed in accordance with this
           Agreement and all Environmental Requirements.
  4.       ENVIRONMENTAL STATUS AND MITIGATION COMPLETION REPORTS
  4.1.1.   The Developer shall report on the status of activities undertaken in accordance with the
           Environmental Requirements on a regular basis. During the period beginning with NTP1 through
           the Substantial Completion Date, the EM shall submit an Environmental Status Report (“ESR”)
           monthly for Acceptance. During the Operating Period the Developer shall submit an ESR
           quarterly for Acceptance. The ESR shall be submitted no later than 10 Working Days following
           the end of the reporting period. The ESR shall:
           a.     Include the current status of compliance with the Environmental Requirements;
           b.     Include a section devoted specifically to water quality. This section shall summarize the
                  water quality protection activities that have occurred during the reporting period and shall
                  include a statement certifying that the Developer is in compliance with the CDPS-SCP,
                  CDOT’s MS4 Permit and the Construction Standards for Water Quality Control and
                  Erosion Control. During the period beginning with the issuance of NTP1 through the
                  second anniversary of Final Acceptance, the certification statement shall be signed by
                  the Environmental Manager. After the second anniversary of Final Acceptance through
                  the end of the Operating Period, the certification statement shall be signed by the Project
                  Manager. If the certification statement cannot be signed, a separate Corrective Action
                  Plan shall be submitted for Approval;
           c.     Document any pertinent environmental issues and include a narrative of the compliance
                  actions and environmental activities which have occurred during the reporting period;
           d.     Include a summary of any stakeholder communications and Governmental Authority
                  communications that have occurred during the reporting period;
           e.     Include a summary that lists the plan sets and submittals which have undergone
                  environmental cross-disciplinary review since the last ESR;



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           f.      Include dated photographs documenting environmental compliance and activities; and
           g.      Include any other content requirements specified in this Schedule 17 or other sections of
                   the Project Agreement.
  4.1.2.   All narratives shall include enough detail to fully document the environmental activities. If the
           Department requests additional information be included in an ESR, the Developer shall revise the
           ESR and resubmit the report for Acceptance.
  4.1.3.   When all Environmental Requirements and environmental activities associated with the
           Construction Work that have been assigned to the Developer are complete, the Developer shall
           provide a Mitigation Completion Report. The Mitigation Completion Report shall document and
           certify the completion of all Environmental Requirements including environmental mitigation. The
           Developer shall submit the Mitigation Completion Report to, and obtain Acceptance thereof from,
           the Department prior to Final Acceptance.
  5.       ENVIRONMENTAL MANAGER, PROFESSIONALS AND TASK FORCE MEETINGS
  5.1.     Environmental Manager
  5.1.1.   The Developer shall employ an Environmental Manager (“EM”) as and when required by
           Section 16.1 of the Project Agreement and Schedule 27 (Key Personnel), which EM shall
           (without limiting Developer’s obligations with respect to such compliance) be responsible for
           ensuring compliance with all Environmental Requirements and commitments. The Environmental
           Manager shall implement all the environmental design, construction and operational
           commitments, all Environmental Requirements, and all conditions of the Environmental
           Approvals for the Project. The EM shall have the authority to stop or redirect the Work at any
           time as needed. The EM shall be responsible for the following:
           a.      Be the primary liaison between the Developer and the Department on environmental
                   issues.
           b.      Be the lead responder to the Department for all NCNs and NCRs, each as defined in
                   Schedule 8 (Project Administration), issued for the Environmental Requirements.
           c.      Provide support to the Independent Quality Control Manager (“IQCM”) to ensure
                   compliance with Environmental Requirements is included in inspections.
           d.      Conduct a weekly field review of the entire Project. A summary of the field reviews shall
                   be included in the ESR.
           e.      Coordinate the implementation of procedures to meet all Environmental Requirements.
           f.      Ensure full compliance with all Environmental Requirements in the Work.
           g.      Ensure that environmental tasks are performed by qualified environmental professionals
                   and provide the resources to perform the Work needed to meet the Environmental
                   Requirements. Activities performed by environmental professionals shall be reported in
                   the ESR and include the resumes of the individuals performing the Work.
           h.      Lead environmental cross-disciplinary reviews of all design submittals in order to confirm
                   compliance with all Environmental Requirements and environmental design
                   commitments. A summary of these reviews shall be included in the ESR.
           i.      Perform reviews of proposed Developer Changes prior to submittal to the Department of
                   any related Developer Change Notice pursuant to Schedule 24 (Change Procedure). The
                   submittal of a proposed Developer Change Notice by the Developer to the Department
                   shall include documentation that the EM has performed due diligence and that the
                   proposed Developer Change complies with the Environmental Requirements. A summary
                   of these reviews shall be reported in the ESR.




                                                Schedule 17-4
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           j.      Perform reviews equivalent to those described in Section 5.1.1.i of this Schedule 17 with
                   respect to any Enterprise Change as required by the terms of an Enterprise Change
                   Notice.
           k.      Measure the number and severity of non-conformances with the Environmental
                   Requirements and include a summary of the findings in the ESR.
           l.      Implement improvement strategies to reduce the number and severity of non-
                   conformances with the Environmental Requirements and include a summary of the
                   findings in the ESR.
           m.      Monitor Work for conformance with Environmental Requirements and include a summary
                   of the findings in the ESR.
           n.      Plan and implement the Environmental Compliance and Mitigation Training Program
                   described in Section 6.1 of this Schedule 17.
           o.      Lead a field review with the Department to review the Project and environmental issues
                   every month. This field review can be counted as a substitute for the EM’s weekly field
                   review for the relevant week.
           p.      Coordinate the participation of the appropriate members of the Developer’s team for, and
                   lead, environmental task force meetings as such meetings shall otherwise be conducted
                   pursuant to Section 5.3 of this Schedule 17.
           q.      Attend all public and stakeholder meetings related to the Project and participate as
                   needed.
           r.      Provide Mitigation Completion Report documenting and certifying the completion of all
                   Environmental Requirements.
           s.      Develop site specific procedures/plans to meet the Environmental Requirements.
  5.1.2.   The EM’s responsibilities shall not be delegated to production staff or other Persons without
           Department Approval.
  5.2.     Other Environmental Professionals
  5.2.1.   Where this Agreement requires work to be performed by a qualified environmental professional
           (e.g., a qualified wildlife biologist or a qualified highway noise specialist) the individual performing
           the work shall have the appropriate educational credentials and a minimum of two years’
           professional experience in the specific discipline, unless higher standards are specified. The
           qualifications of the environmental professional(s) performing the work shall be submitted to the
           Department as part of the ESRs and Mitigation Completion Reports (for example, the resumes of
           the biologists used during the prior month for completing Migratory Bird Treaty Act (MBTA)
           surveys shall be submitted with the ESR).
  5.3.     Environmental Task Force
  5.3.1.   The Developer shall conduct environmental task force meetings pursuant to Section 9.2.1 of
           Schedule 8 (Project Administration) and this Section 5.3.
  5.3.2.   Environmental task force meetings shall be held on a weekly basis during the Construction
           Period. During the Operating Period, the Department may require such meetings on an as
           needed basis.
  5.3.3.   The EM shall coordinate and lead the environmental task force meetings pursuant to
           Section 5.1.1.p of this Schedule 17. During the Operating Period, and after the required term for
           appointment of the EM set out in Schedule 27 (Key Personnel) has ended, the Developer’s
           Project Manager (or, alternatively, an Approved designee) shall coordinate and lead such
           meetings.




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  6.       ENVIRONMENTAL COMPLIANCE AND MITIGATION TRAINING PROGRAM
  6.1.     General Requirements
  6.1.1.   The Developer shall develop and implement an Environmental Compliance and Mitigation
           Training Program (“ECMTP”) for the Developer’s personnel, including those of Subcontractors
           who will enter within the Site boundaries to perform Construction Work and Renewal Work. All
           such personnel shall complete this training prior to performing Construction Work and any
           Renewal Work on the Project. In addition, IQC inspectors, IQC supervisory staff, and the IQCM
           shall participate in the ECMTP. The ECMTP shall cover the Environmental Requirements for the
           Project and train personnel to stay in compliance with the Environmental Requirements.
  6.1.2.   The ECMTP shall include the following elements:
           a.      Water quality requirements;
           b.      Wetlands and waters of the U.S.;
           c.      Maintaining approved limits of disturbance;
           d.      Tree and shrub protection;
           e.      Avoidance and minimization of impact to waterways and stormwater conveyances;
           f.      Seasonal work restrictions – trees, waterways, and migratory birds;
           g.      Pumping and dewatering operations;
           h.      Discovery of archaeological material or human remains;
           i.      Discovery of paleontological resources;
           j.      Hazardous Substances;
           k.      Historic property protection requirements;
           l.      Construction noise mitigation;
           m.      Dust and construction emissions mitigation;
           n.      Site general housekeeping measures;
           o.      Concrete and asphalt waste material management;
           p.      Spill prevention, response, and cleanup;
           q.      Protection and access requirements for parks and maintenance of trail detours;
           r.      Impacts and consequences for departure from approved operating procedures;
           s.      Additional topics as     needed    to maintain compliance        with the     Environmental
                   Requirements; and
           t.      Responsibilities of production      supervisors   and    inspectors   in   connection   with
                   environmental compliance.
           The EM shall implement the ECMTP and submit it to the Department for Acceptance prior to
           issuance of NTP2. After NTP2 the Developer shall not allow any personnel to begin Work on the
           Site without completing the training required by the ECMTP. Construction Work conducted on the
           Site prior to the issuance of NTP2 shall be conducted under the environmental requirements of
           the CDOT Special Use Permit and otherwise subject to the early access and use provisions set
           out in Section 1.2 of Schedule 18 (Right-of-Way). The Developer shall revise the ECMTP
           regularly to reflect the most current policies, rules, and regulations and provide annual updates to
           the ECMTP to the Department for Acceptance 30 Calendar Days after the end of each Contract
           Year. The Developer shall keep records of the number of sessions and staff who has completed
           the ECMTP (for example, through the use of sign-in sheets, employee-specific identification
           numbers, hard hat decals etc.) and report this information monthly in the ESR.



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  7.       DEPARTMENT PROVIDED ENVIRONMENTAL APPROVALS
           The Environmental Approvals listed in Table 17-1 were obtained prior to the Agreement Date by
           the Department. These represent a portion of the Department Provided Approvals. Subject to
           Section 8.4 of the Project Agreement, Law, the terms of the applicable Department Provided
           Approvals and, with respect to the Programmatic Agreement only, Section 12.1.5 of this
           Schedule 17, the Department hereby delegates to the Developer responsibility to perform all
           conditions, commitments and requirements contained in or arising out of these and all other
           Department Provided Approvals.
  Table 17-1       Department Provided Approvals
               Environmental Approvals                          Permitting Agency/Approval Agency
  Record of Decision and Section 4(f) Evaluation          Federal Highway Administration (“FHWA”)
  Central 70 Reevaluation #1, dated
                                                          FHWA
  September 18, 2017
                                                          State Historic Preservation Office (“SHPO”),
  Programmatic Agreement
                                                          CDOT and FHWA

  8.       REQUIRED ENVIRONMENTAL APPROVALS
  8.1.1.   Pursuant to Section 8.4.2.a of the Project Agreement, the Developer shall be responsible for
           obtaining all Environmental Approvals (other than the Department Provided Approvals) required
           to perform its obligations under this Agreement. A non-exhaustive list of the Environmental
           Approvals that the Developer shall be required to obtain pursuant to Section 8.4.2.a of the
           Project Agreement is found in Table 17-2. Table 17-2 is provided for convenience only.
  8.1.2.   For certainty, the Developer shall also obtain any additional Environmental Approvals not listed in
           Tables 17-1 or 17-2 as and when required pursuant to its obligations under this Agreement.
  8.1.3.   The Developer shall provide copies of each Developer obtained Environmental Approval to the
           Department pursuant to Section 8.4.2.b of the Project Agreement and, in any event, prior to
           commencing any part of the Work that is regulated by such Environmental Approval. The
           Developer shall, subject to Section 49.1.1 of the Project Agreement, transmit the copies of each
           such Environmental Approval through the then current Document Control System.
  8.1.4.   Pursuant to Section 8.4.3.b of the Project Agreement, and without limiting Developer's rights
           under the Project Agreement (including with respect to any Supervening Event), the Developer
           shall also be responsible for performing all necessary actions and shall bear all risk of delay
           and/or all risk of increased cost, in either case, associated with Governmental Approvals
           (including, for certainty, Department Provided Approvals) and with Permits to the extent provided
           for in such Section, including in certain circumstances by obtaining new, or modifications,
           renewals and extensions of existing, Governmental Approvals (including, for certainty,
           Department Provided Approvals) and Permits.
  Table 17-2       Required Environmental Approvals
               Environmental Approvals                          Permitting Agency/Approval Agency
                                                          Colorado Division of Public Health and
  Air Pollutant Emission Notice (“APEN”)                  Environment (“CDPHE”) Air Pollution Control
                                                          Division (“APCD”)
  Stationary Source Air Quality Permit                    CDPHE APCD
  Fugitive Dust Permit                                    CDPHE APCD
  Asbestos Abatement Permit                               CDPHE APCD
                                                          CDPHE and all applicable Governmental
  Demolition permits
                                                          Authorities
                                                          City and County of Denver Landmark
  Historic Structures Demolition Permit
                                                          Preservation Commission


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                Environmental Approvals                        Permitting Agency/Approval Agency
  Construction Noise Permit                             All applicable Governmental Authorities
  Temporary Noise Variance                              All applicable Governmental Authorities
  Clean Water Act Section 402 Construction
                                                        CDPHE Water Quality Control Division (“WQCD”)
  Dewatering Permit
  Construction Activities Stormwater Discharge Permit   City and County of Denver (“CCD”) – Wastewater
  (“CASDP”)                                             Management
  Colorado Discharge Permit System (“CDPS”)
                                                        CDPHE WQCD
  Stormwater Construction Permit (“SCP”)
  Municipal Separate Storm Sewer System (MS4)
  Discharge Permit (CDOT MS4 discharge                  CDPHE WQCD
  requirements)
  Municipal Separate Storm Sewer System (MS4)
                                                        All applicable Governmental Authorities
  Discharge Permit (outside CDOT ROW)
  Subterranean Dewatering or Well Development
                                                        CDPHE WQCD
  Permit
  Construction Dewatering Permit                        CDPHE WQCD
  Remediation Activities Discharging to Surface
                                                        CDPHE WQCD
  Waters Permit
  Remediation Activities Discharging to Groundwater     CDPHE WQCD
  Individual Permit                                     CDPHE WQCD
  Substitute Water Supply Plan                          Colorado Division of Water Resources
  Notice of Intent to Construct Dewatering Wells        Colorado Division of Water Resources
  Well Construction and Test Reports                    Colorado Division of Water Resources
  Dewatering Systems Well Report                        Colorado Division of Water Resources
  Notification as Resource Conservation and
  Recovery Act (“RCRA”) Generator (when the
  Developer is the Generator as determined pursuant
                                                        CDPHE Hazardous Materials and Waste
  to Section 23.6 of this Schedule 17; if the
                                                        Management Division
  Department is the Generator as determined
  pursuant to Section 23.6 of this Schedule 17, the
  Department will submit this notification).
  Stormwater Quality Discharge Permit for
                                                        City of Aurora
  Construction Activities
  Sewer Use and Drainage Permit (“SUDP”)                CCD
  Well Abandonment Report (GWS-09)                      State of Colorado, Office of State Engineer
                                                        Colorado Parks and Wildlife (“CPW”) and City of
  Black Tailed Prairie Dog Removal Permit
                                                        Aurora
  SB40 Certification/Approval                           CPW
                                                        The United States Fish and Wildlife Service
  Nest Take Permit
                                                        (“USFWS”)
                                                        United States Army Corps of Engineers
  Clean Water Act Section 404 Permit
                                                        (“USACE”)
  Special Use Permit                                    Colorado Department of Transportation

  8.1.5.   The Developer shall not pursue any new Environmental Approval, or seek to modify, renew or
           extend any existing Environmental Approval:
           a.     that reflects any change to the Project not described in the Preferred Alternative and/or
                  the Reference Documents without Department Approval of the proposed new, modified,
                  renewed or extended Environmental Approval; and



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           b.     where the Environmental Approval or possible changed element of the Project is subject
                  to any agreements CDOT or the Enterprises has or have made with State and local
                  Governmental Authorities in connection with the Project (for example, the Programmatic
                  Agreement) without Department Approval of the proposed new, modified, renewed or
                  extended Environmental Approval.
  8.1.6.   The Department may, at its discretion, require the Developer to submit the Colorado Department
           of Transportation’s Reevaluation Form (CDOT Form No.1399) in connection with the Developer
           obtaining any Environmental Approval, including any modification, renewal or extension thereof,
           and in connection with any Change made pursuant to Schedule 24 (Change Procedure) and
           documented in a Change Order or a Directive Letter.
  9.       ENVIRONMENTAL REQUIREMENTS FOR SPECIFIC ENVIRONMENTAL RESOURCES
  9.1.     General
  9.1.1.   The Environmental Requirements for specific environmental resources are set out in
           Schedule 10A (Applicable Standards and Specifications), the Central 70 Mitigation Measures
           Status, the FEIS, and the ROD. In addition, the Environmental Approvals and this Schedule 17
           contain additional Environmental Requirements and/or clarifications of Environmental
           Requirements for specific individual environmental resources.
  9.1.2.   All environmental resources within and adjacent to the Site which are to be protected from
           disturbance during construction (for example wetlands and historic resources) shall be clearly
           shown on design Deliverables. The techniques and methods to be used for protection of the
           environmental resource (for example fencing and signage) shall be shown in the RFC
           Documents. The protective measures shall be put in place prior to work beginning in the area
           and maintained through the Construction Period.
  10.      AIR QUALITY
  10.1.    General Requirements
  10.1.1. The Developer shall comply with all applicable air quality regulations and shall prepare and
          submit an Air Quality Monitoring, Maintenance, and Mitigation Plan (“AQ3MP”), for Acceptance,
          prior to issuance of NTP2.
  10.1.2. The Developer shall be responsible for obtaining all air quality Permits necessary to complete the
          Work, including those listed in Table 17-2. The Developer shall have sole responsibility for
          compliance with all applicable air quality Environmental Approvals.
  10.1.3. Air Quality Monitoring, Maintenance, and Mitigation Plan
           a.     The Developer shall prepare and implement the AQ3MP using the CDOT Air Quality
                  Monitoring, Maintenance, and Mitigation Template, which is included in the Reference
                  Documents. All template section and subsection headings shall be used. If a Section or
                  subsection is not applicable, the reason it is not applicable shall be specified. New
                  sections or additional subsections shall be added as necessary to fully describe the
                  AQ3MP, identify personnel responsibilities, describe technical methodologies, list
                  assumptions, and present procedures and methods for documenting and reporting. The
                  AQ3MP will include the following:
                  i.      Fugitive Particulate Emission Control
                          The Developer shall implement Best Management Practices ("BMPs") to
                          effectively control fugitive particulate emissions at all times on the Site, including
                          during periods of inactivity. The Developer shall monitor Project fugitive
                          particulate emissions including those from construction equipment and stationary
                          sources. The Developer shall perform and document a daily visual inspection of
                          active Work sites within the construction site boundary with the goal of preventing
                          off-Site transport of fugitive particulate emissions. If off-Site transport of fugitive
                          particulate emissions occurs and is observed by the Developer or is reported to


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                        the Developer, the EM and the Construction Manager shall immediately be
                        informed. The Construction Manager, acting in consultation with the EM, shall
                        investigate and ensure the implementation of appropriate additional BMPs to
                        eliminate off-Site transport of fugitive particulate emissions.
                ii.     Opacity Measurements
                        The Developer shall perform and document daily opacity readings from all
                        stationary sources that are operated on the Site that are subject to opacity limits
                        in Section II.A of Air Quality Control Commission Regulation No. 1
                        (5 CCR § 1001-3) and any applicable Permit conditions. The Developer’s
                        personnel performing opacity readings shall be certified according to State and
                        Federal standards and the certification status maintained throughout the duration
                        of the Construction Work. The personnel performing the daily opacity readings on
                        stationary sources may be the same personnel inspecting the Site for fugitive
                        particulate emissions. If opacity readings exceed allowable limits, the inspector
                        shall immediately inform the EM and the Construction Manager. The
                        Construction Manager, acting in consultation with the EM, shall ensure the
                        implementation of effective BMPs as described in the Central 70 Mitigation
                        Measures Status to reduce opacity levels to allowable limits.
                iii.    PM-10 Monitoring
                        The Developer shall conduct continuous PM-10 monitoring during the
                        Construction Period in accordance with 40 C.F.R. Part 58 (Ambient Air Quality
                        Surveillance) adequate to characterize PM-10 concentrations along the active
                        construction corridor. The AQ3MP shall specify the number, type, and location of
                        PM-10 monitors that will make up the network and shall provide for hourly
                        logging. At each station a PM-10 sampler will be installed in a climate controlled
                        facility. The stations shall be designed to meet all applicable Federal, United
                        States Environmental Protection Agency (“EPA”), and Colorado APCD
                        standards. The Developer shall select PM-10 monitoring locations consistent with
                        EPA siting criteria for surface data collection and shall provide rationale for
                        location selection. Locations of the PM-10 monitors shall be adjusted during the
                        Construction Period to accommodate construction phasing. The Developer shall
                        calibrate the PM-10 monitors twice per week with no more than 4 Calendar Days
                        between calibrations. Proposed locations of the PM-10 monitors shall be
                        submitted to the Department for Acceptance at least two weeks prior to operating
                        the monitor at the proposed location.
                iv.     Meteorological Data Collection
                        The Developer shall continuously monitor meteorological conditions including on-
                        site wind-speed and wind gusts, wind azimuths, barometric pressure, relative
                        humidity, and temperature, to assist in making decisions regarding mitigation of
                        fugitive particulate emissions. This data may be collected at the PM-10 monitors
                        or the Developer may obtain data from existing local data sources. If data is
                        obtained from local sources, the sources being used shall be listed in the
                        AQ3MP.
                v.      Project Independent Air Monitoring Data from Swansea Elementary
                        Air quality will be monitored at Swansea Elementary School as part of an
                        independent research project that is not within the Developer’s scope of Work. It
                        is expected that the following criteria pollutants will be monitored: nitrogen
                        dioxide (NO2), PM-10, and PM-2.5 as part of such independent research project.
                        Additional pollutants may be added to the monitoring list. Monitoring results will
                        be made available to the Developer. The Developer shall review such data as it




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                          becomes available to identify trends to help determine if BMPs are being used
                          effectively.
                  vi.     Automated PM-10 Alert System
                          The Developer shall implement an automated PM-10 alert system that will
                          communicate via both text messaging and email when a PM-10 monitored level
                          reaches a running eight hour average concentration of 135 µg/m3. This alert
                          system will continuously monitor the real time data from the Project’s PM-10
                          monitors. The level of 135 µg/m3 is specified in order to allow corrective actions
                          to be implemented prior to exceeding the National Ambient Air Quality Standard
                          (“NAAQS”) of 150 µg/m3. The alert system shall inform the Construction
                          Manager, EM, designated Department staff, and designated CDPHE Air Pollution
                          Control Division staff of the PM-10 concentration and location of the alerting
                          monitor. Upon receiving an alert, the Construction Manager, in consultation with
                          the EM, shall respond immediately to identify the source of the PM-10 event and
                          implement effective BMPs for dust control. This mitigation will continue until the
                          next running eight hour PM-10 concentration from the alerting monitor is below
                          135 µg/m3. All actions associated with responding to a 135 µg/m3 or greater
                          reading shall be communicated with the EM, designated Department staff, and
                          designated CDPHE Air Pollution Control Division staff via email within one hour
                          of the event.
                  vii.    Posting of PM-10 and Meteorological Data
                          The Developer shall collect and submit PM-10 and meteorological data to the
                          Department in an electronic format. This data submittal is for the purpose of
                          posting on the Project website and is separate from the reporting requirements
                          under Section 10.1.4 of this Schedule 17. Data for each 24-hour period shall be
                          submitted to the Department prior to the end of the following Working Day. The
                          data shall be submitted in a format and manner specified by the Department that
                          allows the Department to review the data and post selected data. The PM-10
                          data shall be submitted in the following formats: (1) actual data for each
                          individual reading, (2) the eight hour running average, and (3) the average for
                          each 24-hour period. Meteorological data shall include temperature, humidity,
                          wind speed, and wind direction for each reading. The results of the PM-10
                          monitor calibration shall be included in the data submittal.
                  viii.   Air Quality BMPs
                          The Developer shall provide a list of air quality BMPs that the Developer will use
                          for Construction Work and a description of how each will be implemented. BMPs
                          are listed in the FEIS, ROD, and other Environmental Approvals.
                  ix.     Alternative Fuels
                          The Developer shall undertake Reasonable Efforts to use alternatives to diesel
                          engines and/or diesel fuels, such as biodiesel, liquefied natural gas, compressed
                          natural gas, fuel cells, and electric engines. The Developer shall include a
                          section in the AQ3MP describing the decision-making metric and results of the
                          alternative fuel evaluation. The Developer may select any metric or metrics that
                          meets the Project needs and requirements as determined by reference to this
                          this Schedule 17 and the Project Agreement.
  10.1.4. Air Quality Reporting
          a.      The Developer shall maintain a daily log of air quality observations and mitigation
                  measures during all phases of the Construction Work and shall provide a monthly report
                  and the monthly log of data collected to the Department in the ESR. The log shall include
                  a daily report of the following information:



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                 i.      A description and location of construction activities being conducted on that day
                         that could negatively impact air quality, including, for example, excavation,
                         clearing and grubbing, demolition, and utilizing unpaved staging areas and haul
                         roads.
                 ii.     A report on the daily visual inspection of the Site, including a description of any
                         visible emissions.
                 iii.    The results, time and location of all opacity readings.
                 iv.     A report on any observed or off-Site transport of visible emissions, and any
                         violation of any other emissions guideline in Regulation No. 1, Section III.D. The
                         report shall describe the duration of the event, the mitigation measures deployed
                         and actions taken, and the time it took to correct the problem.
                 v.      A report on any violation and compliance deficiency of the AQ3MP or
                         Environmental Approval relating to air quality. The report shall describe the
                         duration, time, and location of the event; the mitigation measures deployed and
                         actions taken; and the time it took to correct the problem.
         b.      All hourly PM-10 and meteorological monitoring data and hourly eight-hour running
                 average data from the PM-10 monitoring network and the meteorological monitoring
                 station shall be recorded in a digital data logging unit and transmitted by a cellular or
                 satellite system to an online data depository hourly managed by the Developer.
  10.1.5. Diesel Nonroad Construction Equipment
         a.      For the purposes of this Schedule 17, the term Diesel Nonroad Construction Equipment
                 (“DNRCE”) shall refer to large (>50 hp), stationary and mobile, nonroad equipment,
                 powered by compression-ignition (diesel) engines.
         b.      All DNRCE that is on Site for more than 10 total Calendar Days must either 1) have
                 engines meeting EPA Tier 4 standards or 2) be EPA rated Tier 2 or Tier 3 that have been
                 retrofitted with diesel particulate control technology, diesel oxidation catalysts, and/or
                 engine preheaters. Retrofit systems and technology shall be selected to bring Tier 2 and
                 Tier 3 DNRCE up to Tier 4 standards or as close to Tier 4 standards as practicable.
                 DNRCE with Tier 0 and Tier 1 engines are not allowed on the Site.
         c.      Emission control technology shall be operated, maintained, and serviced as
                 recommended by the emission control technology manufacturer.
         d.      All mobile DNRCE that is on Site shall comply with the idling restrictions and opacity
                 requirements of the City and County of Denver’s Code of Ordinances, including Chapter
                 4 Air Pollution Control, Article IV Mobile Sources.
         e.      The Developer shall ensure that all Subcontractors adhere to these requirements. The
                 Developer shall maintain records of all DNRCE on Site at all times. The Developer shall
                 submit a quarterly report to the Department summarizing the DNRCE present on the Site
                 during the reporting period. The report shall include a table which lists: Equipment Type,
                 Manufacturer, Model, Serial Number, Owner Information, Unique Identifier, Original Tier
                 Level, and Retrofit Tier Level, Date brought on Site, Date removed from Site, and
                 Number of Calendar Days on Site during the reporting period, and Total Number of
                 Calendar Days on Site. The report shall also include a statement of certification by the
                 Developer that all DNRCE on site during the reporting period have been listed in the
                 Table. The quarterly report shall also include a list of DNRCE that the Developer plans to
                 bring on to the Site during the next quarter.
  10.1.6. Construction Equipment Emissions Retrofit Program
         For information, the Developer should be aware that funding may be available from the Regional
         Air Quality Council (“RAQC”) to retrofit certain types of construction equipment to reduce
         emissions. The Developer may be eligible to participate in this program. The Developer shall use


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          Reasonable Efforts to participate in, and report to the Department the details of their participation
          in, any RAQC retrofit program(s). To the extent that the Developer becomes entitled to participate
          in such program, any funding provided to it thereunder shall be independent of any payment
          obligations under, or payment provisions of, this Agreement.
  10.2.   Vehicle Idling
          Without limiting the Developer’s obligation to comply with any higher standard as required by Law
          or otherwise under the Project Agreement, all vehicles and equipment owned, leased, rented, or
          otherwise under the Developer’s control shall not be allowed to idle for more than five
          consecutive minutes, except for idling:
          a.      when in operations queuing;
          b.      to verify safe operating condition;
          c.      for testing, servicing, repairing, or diagnostic purposes;
          d.      necessary to accomplish work for which the vehicle/equipment was designed (such as
                  operating a crane);
          e.      to reach operating temperatures required by manufacturers’ specifications; and
          f.      necessary to ensure safe operations of the vehicle/equipment.
  11.     NOISE
  11.1.   General Requirements
          The Department has performed a noise impact analysis with abatement recommendations as part
          of the preliminary design for the FEIS and the ROD. The Statement of Likelihood and
          recommendations of this analysis are included in Section 5.12 of the FEIS and in the Noise
          Technical Report (Attachment K) of the FEIS. The noise analysis was completed using the
          roadway geometry documented in the FEIS and updated where applicable in the ROD. The
          Developer shall perform all required noise modeling, analysis, reporting, and related work in
          accordance with this Schedule 17 and the CDOT Noise Analysis and Abatement Guidelines
          dated January 15, 2015. For the purposes of this Section 11 of this Schedule 17, the term “Noise
          Technical Report” includes all of the elements listed in Appendix B of the CDOT Noise Analysis
          and Abatement Guidelines.
  11.2.   Noise Technical Report
  11.2.1. The Developer shall perform a noise analysis based on its final design in the same locations of
          analysis that were included in the FEIS and the ROD. These locations include Globeville, Elyria
          and Swansea, Stapleton, Montbello, Aurora, and Peoria Street. Results of the noise analysis
          shall be documented in a preliminary and final Noise Technical Report for each such area and
          submitted to the Department for Acceptance. For information, the FHWA Traffic Noise models
          (“TNM”) used in the FEIS and the ROD analysis are available to the Developer as a Reference
          Document.
  11.2.2. The preliminary and final design noise analysis and Noise Technical Reports shall follow the
          format of the FEIS and the ROD analysis referenced above and include the same receiver
          locations as well as any new receivers that exist in the locations of analysis. The preliminary and
          final design noise analysis shall utilize the same model used in the FEIS and ROD.
  11.2.3. The Noise Technical Reports shall determine and document the noise effects of any changes
          from the Reference Design. The Noise Technical Reports shall include a detailed description of
          any changes to the horizontal layout and/or the vertical elevation from the Reference Design. The
          Noise Technical Reports shall document the locations where any changes from the Reference
          Design have removed or altered shielding (either natural or man-made) thereby changing the
          line-of-sight between the receptor and the traffic noise source. The noise analysis and Noise
          Technical Reports shall determine if any new neighborhoods have become eligible for noise
          abatement. If any new areas become eligible for noise abatement due to changes from the


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          Reference Design, the Developer shall include the analysis for recommended noise abatement in
          the noise analysis and report. The Developer shall assure proposed mitigation is consistent with
          mitigation standards identified in the FEIS and the ROD, as well as State and Federal guidelines.
          The Developer shall submit documentation with the noise analysis and Noise Technical Reports
          verifying that the analysis was performed by a qualified individual with expertise in the field of
          highway noise analysis in Colorado.
  11.2.4. Top of existing noise barrier elevations shall be documented before the removal of any existing
          structure. If final design noise analysis determines that top of barrier or structure elevations are
          lower than their existing elevations, the Developer shall demonstrate that no new visual sight
          lines are created.
  11.3.   New Noise Abatement
  11.3.1. New noise abatement is required in the Elyria area as identified in Exhibit 49 of the ROD and in
          the mitigation descriptions found in Section 9.10 (Noise) of the ROD. Noise abatement measures
          recommended by the ROD cannot be removed from the Project unless adequate replacement
          acoustic benefit is restored and the change in abatement is Approved by the Department. New
          noise abatement is required in any additional areas required by Section 11.3.4 of this
          Schedule 17. In all areas receiving new noise abatement the Developer shall optimize the design
          of the noise abatement infrastructure to maximize the number of receivers receiving a reduction
          of 5 dBA or greater per CDOT/FHWA guidelines.
  11.3.2. The Developer shall submit a preliminary Noise Technical Report which contains the optimized
          design of the proposed noise abatement in the affected neighborhood. Acceptance of the
          preliminary Noise Technical Report is required before the Benefited Receptor Preference Survey
          can be conducted.
  11.3.3. When the preliminary Noise Technical Report has been Accepted by the Department, the
          Developer shall conduct the Benefited Receptor Preference Survey as described in the CDOT
          Noise Analysis and Abatement Guidelines. The Developer shall provide all material necessary to
          conduct the survey including exhibits, flyers, door hangers, ballots and return mail envelopes.
          The Developer shall conduct a public meeting on the proposed noise abatement design. The
          Developer shall allow the Department the opportunity for ongoing over the shoulder review of all
          planning activities associated with the Benefited Receptor Preference Survey. The Developer
          shall submit for Approval the plan of the Benefited Receptor Survey, including the geographic
          limits of the survey, procedures for conducting the survey, and printed material and other media
          to be used for the survey at least 14 Calendar Days before beginning the survey.
  11.3.4. Additional new noise abatement shall be required if changes from the Reference Design, or any
          new Type I action, trigger eligibility in accordance with the CDOT Noise Analysis and Abatement
          Guidelines. New noise abatement infrastructure requirements triggered by design changes from
          the Reference Design, or any new Type 1 Action, shall be the responsibility of the Developer.
  11.3.5. After the Benefited Receptor Preference Survey is completed, a Final Noise Technical Report
          shall be completed to document the final design noise analysis, final geometry and details of the
          noise barriers. This report shall be submitted to the Department for Acceptance prior to the
          issuance of RFC Documents. If any design changes are made that may affect eligible receivers,
          the Final Noise Technical Report shall be updated and resubmitted for Acceptance.
  11.4.   Existing Noise Abatement
  11.4.1. All existing noise abatement structures that are removed, damaged, or otherwise impacted as a
          result of the Construction Work shall require full replacement. Replacement noise abatement
          structures shall be constructed to the structural and aesthetic requirements as set out in the
          Technical Requirements including Section 14 of Schedule 10 (Design and Construction
          Requirements). In the event that a noise abatement structure on the existing viaduct that is to
          remain in place (e.g. west of Washington Street) is damaged, the repair shall match the original
          design.




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  11.5.   Additional Noise Abatement Requirements
  11.5.1. Proposed noise walls shall be placed in locations that will accommodate the Ultimate
          configuration.
  11.5.2. Noise walls and other abatement measures shall follow the requirements set out in Section 14 of
          Schedule 10 (Design and Construction Requirements) and the Aesthetic Design Standards for
          Central 70 included in Schedule 10B (Contract Drawings).
  11.5.3. Noise walls shall be designed and constructed without open joints or gaps. Joints between noise
          wall Elements shall be minimized. Where joints are necessary, they will be designed is such a
          way that no light can pass through them. If a sealant is utilized to close any joint, it shall have a
          design life equal to or greater than the wall. Emergency access doors and hatches shall comply
          with the finish requirements of the Aesthetic Design Standards for Central 70 included in
          Schedule 10B (Contract Drawings). Proposed noise wall designs and location information shall
          be included in the Developer’s public information program.
  11.6.   Construction Noise Mitigation and Monitoring
  11.6.1. The Developer shall comply with all applicable local sound control and noise and vibration
          ordinances and regulations, including Chapter 36, Noise Control, of the Revised Municipal Code
          of the City of Denver. All required noise permits shall be acquired by the Developer prior to
          issuance of NTP2.
  11.6.2. Central 70 Mitigation Measures Status contains mitigation measures for construction noise and
          vibration. The Developer shall implement a Construction Noise Mitigation and Monitoring Plan
          (“CNMMP”) that incorporates the mitigation measures outlined in the FEIS, the ROD, and the
          procedures identified in the FHWA Construction Noise Handbook. The Developer shall submit
          the CNMMP to the Department for Acceptance prior to issuance of NTP2. The CNMMP shall be
          comprehensive and provide accurate and detailed information to minimize, monitor and mitigate
          construction-related noise and include the following compliance procedures with mitigation
          measures outlined in the FEIS and the ROD:
                  i.       Compliance procedures with applicable noise ordinances or variances granted
                           for the Project;
                  ii.      Methodology to establish baseline ambient conditions;
                  iii.     Identification of construction methods (for example, location of stationary
                           equipment, truck traffic through residential areas, use of vibratory equipment
                           such as pile driving, crusher plants etc.) for the Project;
                  iv.      Identification of sensitive receptors, for both day and night construction and other
                           Project-related activities;
                  v.       Procedures for monitoring and reporting noise levels for the Project;
                  vi.      Methodology to prevent, minimize and mitigate noise impacts related to
                           demolition, debris removal, hauling, construction equipment, and construction
                           activities.
                  vii.     Implementation plan to construct noise barriers prior to roadway construction;
                  viii.    Implementation plan to replace noise barriers as they are removed in locations
                           that have existing noise barriers; and
                  ix.      Implementation plan to meet construction noise minimization requirements
                           around the Swansea Elementary School.




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  12.     HISTORIC RESOURCES
  12.1.   General Requirements
  12.1.1. The Developer shall perform all mitigation measures assigned to the Developer in this
          Schedule 17, the Programmatic Agreement, and in the Central 70 Mitigation Measures Status.
  12.1.2. The Developer shall include the line work showing the Area of Potential Effect (“APE”) boundary
          on all design drawings.
  12.1.3. If the Developer’s Work results in any changes in effects to the historic resources described in the
           FEIS and the ROD or in changes to the APE, the Developer shall obtain all required
           Environmental Approvals. The Developer shall document those changes and provide the
           Department with all necessary information and reevaluations for coordination with SHPO under
           Section 106 of the National Historic Preservation Act and Section 4(f) of the Department of
           Transportation Act. This shall include the enlargement of existing easements (temporary or
           permanent), or any additional easements (temporary or permanent), property acquisitions, Utility
           Relocations or alterations from work that has obtained concurrence from SHPO as documented
           in the Reference Documents, or resources that were not previously cleared as part of the
           Section 106 consultation and Section 106 Determinations of Eligibility and Effects report
           (Attachment I to the FEIS). The Developer shall not impact historic resources until the
           Section 106 consultation process is complete and Approved by the Department, FHWA, and
           SHPO. The Developer shall also be responsible for updating the Section 4(f) evaluation and
           obtaining Approval for any modifications to the Section 4(f) evaluation. Additionally (and without
           limiting Developer’s obligations pursuant to the Project Agreement to obtain demolition permits
           as otherwise required from time to time to perform the Work), if the Developer purchases
           property in the Developer’s name, the Developer shall obtain any required demolition permits for
           historic structures within the City and County of Denver from the Denver Landmark Preservation
           Commission.
  12.1.4. The Developer shall protect in place all identified historic resources that are to remain through the
          Construction Period. Protection measures shall include fencing and additional measures
          referenced in Central 70 Mitigation Measures Status and/or the Programmatic Agreement. The
          Developer will maintain standard BMPs to minimize temporary impacts resulting in dust, debris,
          and auditory degradation.
  12.1.5. The Programmatic Agreement is included in the Reference Documents and applies to this Project
          pursuant to Section 7 of this Schedule 17 and Section 8.1.1.d of the Project Agreement. The
          following paragraphs reference the stipulations in the Programmatic Agreement and allocate
          obligations under such stipulations as between the Department and the Developer (provided that,
          for certainty, all obligations under the stipulations not expressly referenced herein as having been
          retained by the Department have been delegated to the Developer pursuant to Section 7 of this
          Schedule 17):
          a.      Stipulation I, Reduction of Impacts. The Developer shall commit to reduce impacts to
                  historic resources where feasible.
          b.      Stipulation II, Section 106 Consultation Process. If necessary the Department will consult
                  with the SHPO and other consulting parties as required pursuant to Section 8.4.4 of the
                  Project Agreement. The Developer shall provide all support required for Section 106
                  consultation in compliance with its obligations under Section 12.1.3 of this Schedule 17
                  and Section 8.4 of the Project Agreement.
          c.      Stipulation III, Mitigation; I. Archival Documentation. The Department will conduct the
                  required archival documentation for the specific historic resources documented in the
                  ROD. The Developer shall complete the required documentation for any remaining
                  resources, including those identified post-ROD. The Developer shall complete any
                  required archival documentation required due to changes to the APE or changes to the
                  Reference Design.




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          d.     Stipulation III, Mitigation; 2. Aesthetic Design. The Department will conduct the necessary
                 coordination with SHPO and the consulting parties during the development of the
                 Aesthetic Design Standards for Central 70 included in Schedule 10B (Contract Drawings)
                 as required pursuant to Section 8.4.4 of the Project Agreement. The Developer shall
                 design and construct the Project in accordance with the Aesthetic Design Standards, the
                 Contract Drawings and all relevant Reference Documents.
          e.     Stipulation III, Mitigation; 3. Brick-Lined Sewers. The Developer shall be responsible for
                 any mitigation requirements for impacts to brick-lined sewers outside those identified in
                 the FEIS and ROD.
          f.     Stipulation III, Mitigation; 4. Creative Mitigation. The Department has completed this
                 creative mitigation requirement.
          g.     Stipulation III, Mitigation; 5 Creative Mitigation. The Developer is not responsible for this
                 mitigation requirement.
          h.     Stipulation III, Mitigation; 6. Additional Projects. The Department shall consult with SHPO
                 and the Consulting Parties as required pursuant to Section 8.4.4 of the Project
                 Agreement if additional projects are required. The Developer shall provide all support
                 required for Section 106 consultation in compliance with its obligations under
                 Section 12.1.3 of this Schedule 17 and Section 8.4 of the Project Agreement.
          i.     Stipulation III, Mitigation; 7. Historic Preservation Standards and Professional
                 Qualifications. All work related to historic resources performed by Developer shall
                 conform to the Secretary of Interior’s Standards and Guidelines for Archaeology and
                 Historic Preservation (48 FR 190:44716-44742).
          j.     Stipulation IV, Coordination with the National Environmental Policy Act. The Developer’s
                 and the Department’s compliance with the Programmatic Agreement will fulfill this
                 requirement.
          k.     Stipulation V, Coordination with Section 4(f) of the Department of Transportation Act of
                 1966 (Section 4(f)). The Developer’s and the Department’s compliance with the
                 Programmatic Agreement will fulfill this requirement.
          l.     Stipulation VI, Construction Phase Post-Review Discoveries. If Unexpected Historically
                 Significant Remains are discovered, the Developer shall immediately stop work in the
                 vicinity of the discovery and inform the Department. The Developer shall protect the
                 Unexpected Historically Significant Remains from degradation. The Department will
                 consult with the SHPO and consulting parties as required pursuant to Section 8.4.4 of the
                 Project Agreement.
          m.     Stipulation VII, Emergency Situations. The Developer is not responsible for management
                 of this stipulation.
          n.     Stipulation VIII, Administrative Provisions. The Developer is not responsible for
                 management of this stipulation.
  13.     SWANSEA ELEMENTARY SCHOOL
  13.1.   General Requirements
  13.1.1. Prior to beginning Construction Work in the Swansea Elementary School area, the Developer
          shall construct the temporary wall as described in Section 14 of Schedule 10 (Design and
          Construction Requirements). The temporary wall shall remain in place until the Cover Planning
          Area 2 (as depicted in the I-70 Cover Plans) is open to the public.
  13.1.2. The Developer shall minimize construction activities and construction impacts around Swansea
          Elementary School during school hours. The Developer shall include mitigation activities
          associated with Swansea Elementary School in the CNMMP, the AQ3MP and all other applicable
          plans. The Developer shall include the Swansea Elementary School Principal and appropriate



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          Denver Public School District personnel in all relevant activities to be conducted by the
          Developer pursuant to Schedule 14 (Strategic Communications) and keep them fully informed of
          all activities adjacent to the school.
  13.1.3. Construction staging shall not occur within 500 feet of Swansea Elementary School except during
          the period of active construction of Cover Planning Area 1 (as depicted in the I-70 Cover Plans).
  14.     PALEONTOLOGY
  14.1.   General Requirements
  14.1.1. The Developer shall retain a professional paleontologist, permitted through the Office of the State
          Archaeologist. During the Construction Period when the Denver and Arapahoe Formations are
          not exposed, the Developer’s paleontologist shall spot check the Site weekly. During the
          Construction Period when bedrock of the Denver and Arapahoe Formations are exposed, the
          Developer’s paleontologist shall provide continuous paleontological monitoring.
  14.1.2. The Developer’s paleontologist shall communicate with the Department to provide seven
          Calendar Days’ notification to the Department’s paleontologist informing them when work in the
          Denver and Arapahoe Formations is scheduled.
  14.1.3. The Developer’s paleontologist shall provide all reports required by the terms of their permits to
          the appropriate Governmental Authority and submit copies to the Department. The Developer’s
          paleontologist shall provide a monthly summary of their activity on the Site to be included in the
          ESR. The Developer’s Paleontologist shall provide Paleontological Annual Reports to the
          Department for Acceptance detailing work completed and fossils collected and curated to the
          Department. When all earthwork is completed, the Developer’s paleontologist shall provide an
          end of Project Paleontological Summary Report to the Department for Acceptance.
  14.1.4. During the Construction Period, the Developer’s paleontologist shall communicate directly with
          the Department’s paleontologist and allow on going over the shoulder review of all field activities.
          The Developer shall immediately notify the Department in the event of any discovery.
  14.1.5. Upon discovery of any paleontological resources, the Developer shall immediately cease Work in
          the vicinity of the discovery, fence off the area, and allow the Developer’s paleontologist to
          conduct sampling or excavation of specimens by hand or with mechanized equipment. If the
          paleontologist collects any specimens, all materials shall be curated following guidance provided
          in 8 CCR § 1504-7 – Historical, Prehistorical, and Archaeological Rules and Procedures. The
          Developer shall not resume Construction Work in the area until receiving formal notification from
          the Developer’s paleontologist allowing Construction Work to resume.
  15.     PARKS AND RECREATION
  15.1.   General Requirements
  15.1.1. The Developer shall reconfigure the Swansea Elementary School site and replace all playground
          facilities as required by Section 14 of Schedule 10 (Design and Construction Requirements).
  15.1.2. During the Construction Period, segments of the South Platte River Greenway Trail and the Sand
          Creek Greenway Trail may be subject to temporary detours. Pursuant to Section 2.11.19 of
          Schedule 10 (Design and Construction Requirements) the Developer shall provide trail detours
          that comply with the Americans with Disabilities Act of 1990 (“ADA”). The Developer shall provide
          trail detour signage that complies with the ADA and Part 6F of the FHWA Manual on Uniform
          Traffic Control Devices.
  15.1.3. Any reconstructed trail segment shall be rebuilt at minimum to match the existing facility. Any
          reconstructed trail segment shall be built to the Local Agency’s current design and construction
          standards. Trail surfacing on any rebuilt trail segments will be constructed with new material and
          have smooth transitions to the undisturbed segments.




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  16.     VEGETATION
          The Developer shall minimize tree removal and disturbance to native plant communities,
          especially wetlands, prairie dog towns, riparian areas, and upland trees and shrubs. All native
          and non-native trees outside of Senate Bill 40 (“SB 40”) jurisdictional areas that are removed that
          are over four inches diameter at breast height shall be replaced with native trees on a 1:1 basis.
          All riparian shrubs outside of SB 40 jurisdictional areas that are removed shall be replaced with
          native shrubs based on areal coverage on a 1:1 basis. The riparian areas are shown in the
          Reference Documents. New and replacement vegetation shall conform to Section 14 of
          Schedule 10 (Design and Construction Requirements). Additional requirements to avoid,
          minimize, and mitigate for impacts to vegetation are found in the FEIS and the ROD.
  17.     SENATE BILL 40 WILDLIFE CERTIFICATION
  17.1.   General Requirements
  17.1.1. The Developer shall evaluate the final design to determine if and how the SB 40 Application
          Criteria apply as defined by CDOT’s Guidelines for Senate Bill 40 Wildlife Certification. The
          Developer shall not perform Construction Work within SB 40 jurisdictional areas until CPW issues
          a Programmatic or Formal SB 40 Certification.
  17.1.2. If a Programmatic SB 40 Certification is required pursuant to Law and CDOT’s Guidelines for
           Senate Bill 40 Wildlife Certification, the Developer shall prepare and submit to the Department
           the applicable SB 40 Certification application package for Approval, with all documentation
           required by the CPW Regional Wildlife Manager. Upon Approval, the Department will submit the
           application package to CPW. Approval of the application package by the Department does not
           constitute approval by CPW.
  17.1.3. If a Formal SB 40 Certification is required pursuant to Law and CDOT’s Guidelines for Senate Bill
           40 Wildlife Certification, the Developer shall prepare and submit to the Department the applicable
           SB 40 Certification application package for Approval, with all documentation required by the
           CPW Regional Wildlife Manager. Upon Approval, the Department will submit the application
           package to CPW. Approval of the application package by the Department does not constitute
           approval by CPW.
  17.1.4. In SB 40 jurisdictional areas, trees removed during construction, whether native or nonnative,
           shall be replaced with native trees at a 1:1 replacement ratio based on a stem count of all trees
           with a diameter at breast height of two inches or greater. Shrubs removed during construction,
           whether native or nonnative shall be replaced with native shrubs on a 1:1 ratio based on their
           pre-construction areal coverage.
  17.1.5. Tree and shrub mitigation for SB 40 impacts shall also conform to the requirements set out in
          Section 14 of Schedule 10 (Design and Construction Requirements).
  18.     INTEGRATED NOXIOUS WEED MANAGEMENT PLAN
  18.1.   General Requirements
  18.1.1. The Developer shall take actions as necessary to control all noxious weeds throughout the
          Construction Period and the Operating Period. The Developer shall implement proactive
          procedures to eradicate the occurrences of List A species on the Site. The Developer shall
          implement proactive procedures to eliminate the occurrences of List B species in areas of the
          Site where the ground has been disturbed by the Work, and reduce the occurrences of List B
          species on the remainder of the Site.
  18.1.2. The Developer shall submit an Integrated Noxious Weed Management Plan (“INWMP”) to the
          Department for Acceptance prior to the issuance of NTP2. The INWMP shall be implemented
          during the Construction Period and the Operating Period and will include identification of noxious
          weeds in the area, weed management goals and objectives (specific to levels of disturbance),
          and preventive and control methods. The INWMP shall convey that List A species are eradicated
          throughout the Project; management of List B species may vary based on disturbance activities



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          and Colorado Department of Agriculture and local requirements (for example, elimination of List
          B species in disturbed areas and management for suppression in areas with no ground disturbing
          activities).
  18.1.3. The INWMP shall also include a requirement for recurring noxious weed surveys. During the
          Construction Period the noxious weed survey shall be conducted monthly from March 1 through
          October 31. During the Operating Period the noxious weed survey shall be conducted three
          times per year spread evenly over the growing season. The Developer shall create a monthly
          Schedule of Planned Noxious Weed Management Activities based on the findings of the latest
          noxious weed survey that shall be submitted to the Department for Information.
  18.1.4. The Developer shall submit a Noxious Weed Survey and Summary of Treatment Activities Report
          to the Department for Acceptance for each month beginning with March and continuing through
          October during the Construction Period and three times per year during the Operating Period.
          The Noxious Weed Survey and Summary of Treatment Activities Report shall include the noxious
          weed survey that was completed during the reporting period and a summary of the treatment
          activities that were implemented.
  18.1.5. The INWMP shall address the control methods (chemical, biological, cultural, etc.) that will be put
          in place to identify control methods for List C species, stop the continued spread of List B species
          and to eradicate the occurrences of any List A species.
  18.1.6. The Developer shall assign a qualified representative to be responsible for implementing the
          INWMP. This representative shall be directly responsible for weed identification, mapping,
          scheduling herbicide application, noxious weed herbicide selection, and developing criteria for
          topsoil salvage (for example, topsoil inspection and/or sampling protocols). A résumé
          documenting the representative’s qualifications shall be included in the Noxious Weed Survey
          and Summary of Treatment Activities Report.
  18.1.7. The IQC program shall include monitoring of noxious weed management activities (such as
          treatment of stockpiles and collection of weed-free certifications of mulch and imported soil).
  18.1.8. Noxious weeds observed in and near the construction area at the start of construction will be
          treated with herbicides or physically removed to prevent seeds blowing into disturbed areas
          during construction. Noxious weeds identified during construction shall be identified and treated.
  18.1.9. Additional requirements of the INWMP shall include:
          a.      Initial identification and mapping of the baseline conditions for List A, List B, and List C
                  noxious weed species present on the Site prior to the issuance of NTP2;
          b.      Schedule and procedures for mechanical and chemical practices prior to topsoil salvage
                  and earthwork operations. Potential areas of topsoil salvage shall be assessed for
                  presence and abundance of noxious weeds prior to salvage. Topsoil from infested areas,
                  as defined in the INWMP, shall be treated by spraying, taking the topsoil off-Site, or by
                  burying the topsoil during construction;
          c.      Noxious weed management practices in sensitive areas (on-site wetlands and threatened
                  and endangered species habitat);
          d.      Procedures for the inspection and washing of the Developer’s vehicles before they are
                  used for construction to ensure they are free of soil and debris capable of transporting
                  noxious weed seeds or roots;
          e.      Areas of temporary disturbance shall be reclaimed in phases throughout the Project and
                  seeded using a permanent native seed mixture. If areas are complete and permanent
                  seeding cannot occur due to the time of year, mulch and mulch tackifier shall be used for
                  temporary erosion control and weed prevention until seeding can occur;
          f.      Only certified weed-free mulch and bales shall be used;




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          g.      Weed control will use the principles of integrated pest management to treat target weed
                  species efficiently and effectively by using a combination of two or more management
                  techniques (biological, chemical, mechanical and/or cultural). Weed-control methods
                  shall be selected based on the management goal for the species, the nature of the
                  existing environment and methods recommended by the Colorado Department of
                  Agriculture. The presence of important wildlife habitat or threatened or endangered
                  species habitat shall be considered when choosing control methods;
          h.      The Developer shall identify and delineate areas of noxious weed infestations and
                  include written instructions in the INWMP detailing herbicide or other appropriate weed
                  control measures required for weed infestations identified during the monitoring work;
          i.      Noxious weed management after earthwork operations and stabilizing has been
                  completed shall require chemical and mechanical methods that do not disturb native
                  seeding and mulching areas;
          j.      Weed-infested staging areas shall not be allowed. Staging areas shall be mowed and
                  cleared of noxious weeds and sprayed with the appropriate herbicide, or as referenced in
                  the Colorado Department of Agriculture species fact sheets;
          k.      Topsoil salvaged from the Site and stockpiled for reuse on the Site shall be treated in
                  accordance with the methodology described in the INWMP to eliminate noxious weeds
                  prior to salvage. The topsoil stockpiles shall be monitored during the monthly noxious
                  weed Surveys and treatment shall be implemented as needed; and
          l.      If imported topsoil is used for any part of the Project, the topsoil shall be inspected and
                  certified noxious weed free.
  19.     VISUAL
          The Developer shall comply with the aesthetic Element requirements of the Technical
          Requirements and Section 14 of Schedule 10 (Design and Construction Requirements).
  20.     WATER QUALITY CONTROL AND WATER RESOURCES
  20.1.   General Requirements
  20.1.1. The Developer shall retain and utilize a SWMP Administrator as required by the Project Special
          Provisions revision of Section 208 in Appendix A to this Schedule 17 (hereafter referred to as
          “Section 208”). The Developer’s Process Control (“PC”) program shall retain and utilize Erosion
          Control Inspector(s) as required by Section 208.
  20.1.2. Water quality activities shall be conducted in accordance with Section 208.
  20.1.3. The ECWP shall include an organization chart identifying the key personnel responsible for
          implementing the Developer’s water quality compliance activities. The plan shall specifically
          identify the individuals and positions who shall serve in the roles referenced in Section 208. The
          plan shall include a detailed description of the roles that the PC and the IQC programs shall be
          assigned in the quality control and quality assurance of water quality activities. The plan shall
          provide details of how the Developer shall respond in the event of recurring nonconformance
          events.
  20.1.4. The IQC program shall include compliance with water quality requirements as part of all
          inspection and field reviews and shall issue Nonconformance Reports (“NCRs”) if required to
          bring the Project into compliance with the CDPS-SCP, CDOT’s MS4 permit, and the Construction
          Standards for water quality and erosion control. The IQC program shall retain and utilize
          inspector(s) who have successfully completed the Transportation Erosion Control Supervisory
          Certificate Training (“TECS”) as provided by the Department. One TECS certified inspector shall
          be required for every 40 acres of total disturbed area, or portion thereof, which is at any time
          actively receiving temporary and interim stabilization measures as defined in Section 208.04(e) of
          Section 2.08.




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  20.1.5. The IQC program shall audit the SWMP Notebook monthly during the period from the issuance of
          NTP2 until Final Acceptance. The material to be audited includes CDOT Form No. 1388 and all
          items required in Section 208.03(d)1. As part of this audit, all such items required in Section
          208.03(d)1 (e.g. the Daily Inspection Forms (CDOT Form No. 1388), Form 1176 Inspection
          Reports, documentation of the corrective action for any findings, Form 105, all other
          correspondence relating to water quality, and any reports of reportable spills submitted to
          CDPHE) shall be scanned and entered into the DCS in electronic format. A summary of the audit,
          any audit findings, and the scanned material shall be submitted to the Department monthly.
  20.1.6. The Developer shall determine the specific Governmental Approvals and Permits required for the
          Work. The Developer will be responsible for obtaining and will be the designated entity under all
          of the water quality permits related to construction activities.
  20.1.7. The Developer shall immediately notify the Department of any suspected illicit or improper
          connections or discharges into any storm sewer system discovered during construction of the
          Project.
  20.1.8. The Developer shall design, construct, and maintain temporary and permanent water quality
          elements in a manner that prevents or, to the fullest extent practicable, minimizes the creation of
          mosquito breeding habitat.
  20.1.9. If during the Construction Period the Developer’s dewatering practices result in a Consumptive
           Use of the water, the Developer shall obtain all applicable Permits and Governmental Approvals
           for such Consumptive Use. If required, the Developer shall also obtain a Substitute Water Supply
           Plan from the Colorado Division of Water Resources for all temporary dewatering activities. The
           Developer shall document compliance with the foregoing requirements and submit such
           documentation with the ESR.
  20.1.10. If any dewatering activities are required during the Operating Period, the Developer shall design,
           operate, and maintain the dewatering system so that no Consumptive Use of the water occurs.
           The Developer shall document compliance with the foregoing requirement and submit such
           documentation information with the ESR.
  21.     WETLANDS/WATERS OF THE U.S. AND SECTION 404 PERMIT
  21.1.   General Requirements
  21.1.1. Impacts to jurisdictional wetlands shall not exceed those impacts described in the FEIS and the
           ROD and are shown in the Existing Wetland Delineation provided in the Reference Documents.
           The Developer shall further minimize impacts to wetlands as the design is finalized to the fullest
           practicable extent.
  21.1.2. The Developer shall obtain a Clean Water Act, Section 404 Permit for impacts to wetlands and
          waters of the U.S. The Developer shall be responsible for mitigating unavoidable impacts to such
          wetlands and waters. It is anticipated that a Nationwide Permit 14 (Linear Transportation
          Projects) will apply to this Project because impacts to jurisdictional wetlands based on the
          Preferred Alternative are less than the 0.5 acre threshold. The actual Permit requirements are
          subject to the Developer’s design and approval by the U.S. Army Corps of Engineers.
  21.1.3. Concurrent with any mitigation requirements mandated by the Section 404 Permit, the Developer
          shall mitigate for both jurisdictional and non-jurisdictional permanent wetland impacts at a 1:1
          ratio per CDOT policy. Mitigation in a wetland mitigation bank located in the South Platte River
          watershed is acceptable to the Department. The Developer shall comply with the requirements
          and special conditions outlined in the Section 404 Permit and 401 Certification.
  21.1.4. If wetland impacts exceed the thresholds identified in the 2006 Memorandum of Agreement
           between FHWA and CDOT Regarding the Programmatic Approval of Wetland Findings, the
           Developer shall submit a Wetland Finding Report for Approval prior to impacting wetlands. A
           CDOT Functional Assessment of Colorado Wetlands (“FACWet”) shall be performed if a Wetland
           Finding is required.




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  21.1.5. The Developer shall protect any wetlands within the Site or adjacent to it that are to remain
          undisturbed. Protected wetlands shall be fenced and marked with signs (and included on design
          drawings) to keep Project personnel and equipment out. Water quality BMPs shall be utilized to
          keep sediment out of any protected wetland. The Developer shall restore any wetlands that are
          temporarily impacted.
  22.     WILDLIFE
  22.1.   Black-tailed Prairie Dogs
  22.1.1. There are existing Black-tailed prairie dog (“BTPD”) colonies within the Site that could be
          impacted during the Construction Period. The CDOT Impacted Black-tailed Prairie Dog Policy
          applies if BTPD colonies are impacted. CPW also regulates certain activities associated with
          impacts to BTPD. Local Agencies for the Project may have regulating policies to address BTPD
          populations, as well. The Developer shall be responsible for complying with applicable Law
          associated with BTPD. When there are conflicting policies, the most stringent policy shall be
          followed.
  22.1.2. Prior to conducting any activities that could potentially impact BTPD, the Developer shall submit a
          BTPD Management Plan for Department Acceptance. This plan will be submitted to
          Governmental Authorities for approval, as required by their policies. At a minimum, the plan shall
          comport with the obligations identified in Section 5.13.5 of the FEIS, C.R.S. § 35-7-203, and the
          CDOT Impacted Black-Tailed Prairie Dog Policy.
  22.1.3. The plan shall outline the anticipated impacts and how the Developer shall comply with CDOT
          policies, Local Agency requirements and Environmental Requirements. If BTPDs are relocated or
          removed during the burrowing owl nesting season (March 15 through October 31), the affected
          habitat shall be surveyed by a qualified wildlife biologist for the presence of burrowing owls no
          more than seven Calendar Days prior to initiating relevant construction activities.
  22.2.   Migratory Bird Treaty Act
          The Developer shall comply with the Migratory Bird Treaty Act (“MBTA”) at all times. Protection of
          migratory birds under the MBTA shall be in accordance with the Project Special Provisions to this
          Schedule 17.
  22.3.   Colorado Butterfly Plant (Gaura neomexicana)
          Suitable habitat for the Federally threatened Colorado butterfly plant occurs along the South
          Platte River and Sand Creek. The Developer shall have a qualified botanist conduct surveys for
          this species during the flowering season within and adjacent to the areas of disturbance at the
          South Platte River and Sand Creek prior to the commencement of construction activities in these
          areas. If these areas remain undisturbed between the initial survey and subsequent flowering
          seasons, the areas shall be re-surveyed each flowering season. Impacts to these areas shall not
          occur until surveys are complete and it is confirmed that the species is not present. If Colorado
          butterfly plants are found, the Developer shall notify the Department immediately. Prior to
          impacting the Colorado butterfly plant, the Developer shall obtain all required Environmental
          Approval(s) as required pursuant to this Agreement.
  22.4.   Ute Ladies’-tresses Orchid (Spiranthes diluvialis)
          Suitable habitat for the Federally threatened Ute ladies’-tresses orchid may occur along the South
          Platte River and Sand Creek. The Developer shall have a qualified botanist conduct surveys for
          this species during the flowering season within and adjacent to the areas of disturbance at the
          South Platte River and Sand Creek prior to the commencement of construction activities in these
          areas. If these areas remain undisturbed between the initial survey and subsequent flowering
          seasons, the areas shall be re-surveyed each flowering season. Impacts to these areas shall not
          occur until surveys are complete and it is confirmed that the species is not present. If Ute ladies’-
          tresses orchid are found, the Developer shall notify the Department immediately. Prior to
          impacting the Colorado butterfly plant, the Developer shall obtain all required Environmental
          Approval(s) as required pursuant to this Agreement.


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  22.5.   Burrowing Owl (Athene cunicularia)
          High-quality habitat for the State-threatened burrowing owl occurs in association with BTPD
          colonies that are located throughout the Site area. The Developer shall have a qualified biologist
          perform burrowing owl surveys following CPW protocols no more than seven Calendar Days prior
          to the commencement of Construction activities. The survey shall occur during the burrowing owl
          nesting season (March 15 to October 31) prior to the removal of any BTPD within the Site. If
          nesting pairs are identified, the Developer shall notify the Department immediately and
          Construction Work shall not occur within 150 feet of an active nest site between March 15 and
          October 31, or as determined necessary by a Department wildlife biologist. If a nest becomes
          occupied after the start of construction activities in any part of the Site, a seasonal buffer zone
          shall be required during the burrowing owl nesting season to prevent violation of the Migratory
          Bird Treaty Act.
  23.     RECOGNIZED HAZARDOUS MATERIALS
  23.1.   General Requirements
  23.1.1. “Recognized Hazardous Materials” (RHMs) are any Hazardous Substances (including soil or
          water contaminated with Hazardous Substances) present on, in or under any part of the Site
          (including on or in any building or structure, including any bridge), at concentration levels or in
          quantities that are required to be investigated, removed, treated, stored, transported, managed
          and/or remediated:
          a.      pursuant to Law, provided that (for certainty) Developer’s responsibility shall not extend
                  to RHMs outside the Site except with respect to Developer Releases of Hazardous
                  Substances; or
          b.      pursuant to Developer’s obligations under this Agreement, including under Section 23.1.2
                  of this Schedule 17.
          For certainty, RHMs may be naturally occurring or man-made, exist on the surface or subsurface,
          in groundwater or surface water, or structures to be demolished or modified as part of the Work,
          and may be mixed with soil, water, building materials, and/or other waste materials. For certainty,
          RHMs include any materials contaminated with Hazardous Substances above the residential
          screening levels set forth in and defined as “RSL-R’s” in the BRMMP).
  23.1.2. Except as provided otherwise in this Agreement (including in this Schedule 17), and without
          prejudice to the Parties’ responsibilities under Section 23.6 of this Schedule 17, the Developer
          shall be responsible for the identification, investigation, removal, treatment, storage,
          transportation, management, and/or disposal of RHMs during the Term in compliance with
          Environmental Law, any applicable Governmental Approvals and Permits, the terms of this
          Agreement, and the Construction Standards, including Project Special Provisions revision of
          Section 250 in this Schedule 17 (hereafter referred to as “Section 250”). The Developer shall
          provide all qualified staff and equipment to respond to RHMs in accordance with and to the
          extent required by such requirements.
  23.1.3. For certainty, if Developer’s performance of its obligations pursuant to Section 23.1.2 of this
          Schedule 17 would entitle it to seek compensation or relief pursuant to Section 15 of the Project
          Agreement as the result of the occurrence of a Supervening Event, the Department may,
          pursuant to Section 14 of the Project Agreement and Schedule 24 (Change Procedure), require
          an Enterprise Change, to be documented in a Change Order or a Directive Letter, to the effect
          that the Department (or its designee) shall assume responsibility, in whole or in part, for the
          identification, management, removal and/or disposal of RHMs in connection with such
          Supervening Event.
  23.2.   Background Information
  23.2.1. The Department has completed environmental surveys within the Right-of-Way that have
          identified RHMs and potential RHMs. Information regarding RHMs are identified in a variety of
          documents, including the following:


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          a.      The Hazardous Materials section of the FEIS and the Hazardous Materials Technical
                  Report within Attachment H of the FEIS describes the results of an environmental records
                  search for Hazardous Substances that was conducted by the Department;
          b.      The Limited Subsurface and Groundwater Investigation Report that summarizes the
                  limited subsurface and groundwater investigations focused on the Preferred Alternative
                  ground disturbance areas provided in the Reference Documents;
          c.      The Asbestos and Limited Lead-Based Paint Inspection reports provided in the
                  Reference Documents, which reports document sampling for asbestos containing
                  building materials and lead-based paint on bridges;;
          d.      Certain Phase I Environmental Site Assessments (“ESAs”) as described in Section 2.2.5
                  of Schedule 18 (Right-of-Way).
          e.      City and County of Denver Limited Phase II Environmental Site Assessment for the
                  National Western Center Redevelopment Project; and
          f.      EPA Record of Decision for the Vazquez Boulevard/Interstate 70 Superfund Site.
  23.2.2. Without limiting its obligations under any other provision of this Agreement or its rights under this
          Agreement arising as a result of the occurrence of any Developer Change documented in a
          Change Order or any Supervening Event, the Developer shall read, conduct diligence of and be
          deemed to have knowledge of, all environmental due diligence materials referenced in
          Section 23.2.1.d of this Schedule 17 as and when available to it.
  23.3.   Supplemental RHM Diligence
          If the Developer deems it prudent for planning, scheduling, regulatory or other purposes, the
          Developer may conduct investigations to identify and evaluate RHMs. Subject to the express
          terms of this Agreement, such additional investigations shall be at the sole cost and responsibility
          of the Developer.
  23.4.   Groundwater
  23.4.1. The substances identified in the column headed “Chemical Name” in Appendix C to this
          Schedule 17 include substances documented in the Reference Documents as existing in the
          groundwater prior to the Setting Date. For certainty, Appendix C, including the concentration
          levels of such substances included in the “Value” Column of Appendix C:
          a.      has been provided only for purposes of the definition of Unexpected Groundwater
                  Contamination Conditions in Part A of Annex A (Definitions and Abbreviations) to the
                  Project Agreement, Section 8.4.4.f of Schedule 10 (Design and Construction
                  Requirements) and Section 23.4.4.b.i of this Schedule 17; and
          b.      shall otherwise be treated as Project Information, including for purposes of Section 3.1 of
                  the Project Agreement and Schedule 2 (Representations and Warranties).
  23.4.2. The Developer is responsible for the identification, investigation, removal, treatment, storage,
          transportation, management and/or disposal of RHMs in the groundwater during the Term
          (whether or not any such RHM involves a substance identified in Appendix C) as and to the
          extent provided pursuant to Section 23.1.2 of this Schedule 17.
  23.4.3. Developer shall maintain records of all costs and expenses incurred in connection with its and its
          Subcontractors’ performance of the obligations described in Section 23.4.2, including records of
                                                                            -
          all costs and expenses of the types specified in Paragraphs a., b. and c. of the definition of
          Excess Groundwater Costs in Part A of Annex A (Definitions and Abbreviations) to the Project
          Agreement (whether or not such costs and expenses are incurred in connection with any
          Unexpected Groundwater Contamination Condition).
  23.4.4. In order for Developer to establish the existence of any Unexpected Groundwater Contamination
           Condition, the following conditions must be satisfied:



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          a.      Developer shall have provided notice to the Department of any such suspected
                  Unexpected Groundwater Contamination Condition. In order to be valid, such notice shall
                  include effluent sampling results from a groundwater discharge point that indicate one or
                  more RHMs exceed the discharge limits applicable to such discharge point under the
                  applicable dewatering permit (referred to in this Section 23.4.4 as the “Exceedance
                  Chemicals”).
          b.      Developer shall promptly supplement its initial notice pursuant to Section 23.4.4.a of this
                  Schedule 17 with the following additional information:
                  i.      sample results that indicate, at the time of such exceedance, the Exceedance
                          Chemicals at the pre-treatment effluent sample location (defined as the point in
                          the treatment process after which solids have been removed or at the initial
                          dewatering point if total suspended solids (“TSS”) at such initial point are less
                          than 30 milligrams per liter (“mg/L”) for such discharge point also:
                          A.      exceeded the applicable value set out in Appendix C to this Schedule 17
                                  with respect to any RHM listed in such Appendix; or
                          B.      indicated the presence of an RHM that is not listed in Appendix C to this
                                  Schedule 17; and
                  ii.     sample results that indicate TSS at the pre-treatment effluent sample location for
                          such discharge point (collected at the same time as the pre-treatment sample)
                          were less than 30 mg/L.
                  For purposes of this Section 23.4.4.b, TSS may be determined by laboratory analysis or
                  by an alternative method, so long as the Developer provides proof of concept and obtains
                  Department Approval of such alternative method in advance of submitting such data.
          c.      After the Department’s receipt of any Developer notice (and supplemental information)
                  that complies with Section 23.4.4.a and 23.4.4.b of this Schedule 17, the Department
                  shall collect contamination confirmation samples from the same location as the pre-
                  treatment effluent sample reported in such notice as follows. The Department shall
                  collect:
                  i.      an initial sample within 24 hours of receipt of Developer’s notice; and
                  ii.     follow-up samples every seven Calendar Days thereafter (or, at Department’s
                          discretion, more frequently) until the condition is determined to not exist or to
                          have ended pursuant to Section 23.4.5 of this Schedule 17.
                  In order to confirm the existence or continuation, as applicable, of either the condition set
                  out in Section 23.4.4.b.i.A of this Schedule 17 or the condition set out in
                  Section 23.4.4.b.i.B of this Schedule 17, any sample collected by the Department
                  pursuant to this Section 23.4.4.c must meet the standards for a valid sample set out in
                  Sections 23.4.4.a of this Schedule 17 (but only with respect to establishing the initial
                  existence of a condition) and 23.4.4.b.ii of this Schedule 17.
                  During the Department’s sampling process, the Department shall in all cases provide
                  Developer an opportunity to collect split samples upon written request by Developer
                  provided a reasonable period of time in advance of such sampling.
  23.4.5. If the conditions in either Section 23.4.4.b.i.A or Section 23.4.4.b.i.B of this Schedule 17 have
           been satisfied as confirmed by at least an initial Department sample collected pursuant to
           Section 23.4.4.c.i of this Schedule 17, such Unexpected Groundwater Contamination Condition
           shall be considered to exist and be continuing from the date on which Developer first collected
           the effluent sampling that was the basis for the results referenced in Section 23.4.4.a. of this
           Schedule 17 to, and ending on, the earlier of:
          a.      the date of the second consecutive sample collected pursuant to Section 23.4.4.c.ii of this
                  Schedule 17 that fails to demonstrates the satisfaction of either the condition set out in


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                  Section 23.4.4.b.i.A or the condition set out in Section 23.4.4.b.i.B (other than due to a
                  failure to meet the standard for a valid sample set out in Section 23.4.4.b.ii of this
                  Schedule 17); and
          b.      the date of the first sample collected pursuant to Section 23.4.4.c.ii of this Schedule 17
                  that fails to meet the standard for a valid sample set out in Section 23.4.4.b.ii of this
                  Schedule 17.
  23.4.6. If, as a result of such sample collection and analysis, no Unexpected Groundwater Contamination
           Event is found to have occurred, the Developer shall reimburse the Department for all costs and
           expenses incurred by the Department in performing sample collection and analysis pursuant to
           Section 23.4.4.c of this Schedule 17, provided that the Department may at any time, in its
           discretion, delegate the performance of all or any such activities to the Developer.
  23.5.   Coordination with Governmental Authorities
  23.5.1. State and Federally regulated facilities (e.g., sites listed on the National Priorities List, or
          otherwise under EPA order or agreement, leaking underground storage tanks, and other facilities
          under State or Federal regulatory jurisdiction) are located within the Project. The Developer is
          responsible for any notification and coordination with appropriate Governmental Authorities,
          including CDPHE, EPA, CCD Department of Environmental Health, Colorado Department of
          Labor and Employment, Division of Oil and Public Safety, Colorado Division of Water Resources,
          and Tri-County Health Department and for obtaining any Governmental Approvals and Permits
          required for the management and/or disposal of RHMs within or associated with such facilities.
  23.5.2. The Department shall be invited to all meetings with and copied in all communications to
          Government Authorities regarding the management or disposal of RHMs associated with the
          Project.
  23.6.   Generator Status and Hazardous Substance Liability and Cost Recovery
  23.6.1. As between the Department and the Developer:
          a.      the Developer shall be deemed the sole generator under 40 C.F.R. Part 262 and the
                  arranger under CERCLA Section 107(a) with respect to any Developer Release of
                  Hazardous Substances; and
          b.      the Department shall be deemed the sole generator under 40 C.F.R. Part 262 and the
                  arranger under CERCLA Section 107(a) with respect to any Hazardous Substances for
                  which the Developer is not identified as the generator and arranger pursuant to
                  Section 23.6.1.a of this Schedule 17; provided that, to the extent that the Developer fails
                  to utilize disposal sites or transporters of such Hazardous Substances in accordance with
                  the MMP, or to otherwise follow the requirements of the MMP pursuant to Section 23.8.2
                  of this Schedule 17 necessary to preserve the Department's generator and arranger
                  status, the Developer shall be deemed to be the generator and arranger of such
                  Hazardous Materials, notwithstanding this Section 23.6.1.b.
  23.6.2. Notwithstanding Section 23.6.1 of this Schedule 17, and subject always to the Developer’s rights
          arising as a result of the occurrence of a Supervening Event or of any Developer Change
          documented in a Change Order, and to the Enterprises’ responsibilities under Section 23.6.1.b of
          this Schedule 17, the Developer shall remain responsible for:
          a.      RHM manifests (including generator signature only to the extent of the Developer’s
                  responsibilities under Section 23.6.1.a of this Schedule 17), transport, recordkeeping,
                  handling and remediation pursuant to this Agreement, including Section 23.1.2 of this
                  Schedule 17 and the MMP; and
          b.      complying with all Environmental Requirements, including provisions set out in the
                  BRMMP and in each of the MMP, SAP, HASP, CDOT’s Procedures for Hazardous
                  Materials Spills That Occur on State and Federal Highways Within Colorado as a Result
                  of a Highway Transportation Incident for traffic incidents and the SPCC Plan, including in



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                  each case by maintaining documentation of all pertinent certifications required thereunder
                  for all Subcontractors (which certifications shall be made available to the Department
                  upon request).
  23.6.3. To the extent the Department:
          a.      assumes responsibility, in whole or in part, for the identification, management, removal
                  and/or disposal of RHMs pursuant to Section 23.1.3 of this Schedule 17; or
          b.      is otherwise liable for costs associated with RHMs in connection with a Supervening
                  Event in accordance with Section 15 of the Project Agreement,
          the Department may take such actions necessary to preserve its claims against other potentially
          responsible parties for any such costs, including actions necessary to assure that any such costs
          are directly or indirectly incurred by the Department consistent with the National Contingency
          Plan, 40 C.F.R. Part 300, provided such actions do not adversely affect the Project Schedule or
          increase Developer’s costs or liability (except to the extent such adverse effects, costs or liability
          are taken into account in connection with the resolution of such Supervening Event).
  23.7.   Traffic Incident and Construction-related Spills
          The Developer shall comply with:
          a.      the CDOT Procedures for Hazardous Materials Spills that Occur on State and Federal
                  Highways Within Colorado as a Result of a Highway Transportation Incident with respect
                  to spills resulting from vehicle traffic incidents; and
          b.      the SPCC Plan with respect to construction-related spills.
  23.8.   Materials Management Plan
  23.8.1. The Developer shall prepare, implement and comply with a Materials Management Plan (“MMP”)
          for applicable handling, storage and suitable disposal of RHMs during the Term. The MMP shall
          be written to assure compliance with all Environment Requirements and shall incorporate the
          Beneficial Reuse and Materials Management Plan provided in the Reference Documents (the
          “BRMMP”). Any changes proposed to the BRMMP (as it is incorporated in the MMP) shall, to the
          extent initiated by the Developer and not made as a result of any Change made pursuant to
          Schedule 24 (Change Procedure) and documented in a Change Order or a Directive Letter, be
          submitted to the Department for Approval in advance and shall also require subsequent approval
          by CDPHE. All RHMs shall be tracked from identification to final disposition. Subject to
          Section 23.1.3 of this Schedule 17, the Developer shall identify, manage, remove and dispose of
          RHMs in accordance with Section 23.1.2 of this Schedule 17. Notwithstanding any standards for
          reuse of soils set forth in BRMMP, the MMP shall not allow the reuse of any soils contaminated
          with concentrations of chemical constituents above standards for unrestricted reuse (as defined
          in the BRMMP) in any portion of the Site located west of Colorado Boulevard.
  23.8.2. The MMP shall identify potential RHMs, their locations (including locations of RHMs on plan
          sheets), the extent of impact, proposed corrective actions, waste management procedures,
          avoidance measures, investigation measures, and a contingency plan for addressing unforeseen
          conditions. In addition, the MMP shall define the method for abating RHMs (e.g., lead-based
          paint, lead-containing paint, asbestos and universal wastes) in structures. The plan shall outline
          the approach to implementing the MMP and identify the qualifications of personnel required to
          perform activities required under the plan and shall incorporate the information regarding RHMs
          in structures documented in the SSAR’s prepared under Section 23.13 of this Schedule 17. In
          addition to meeting the requirements of Section 250, the MMP shall demonstrate that the
          Developer shall manage all RHMs, including soils, groundwater, surface water, and other
          contaminated substances, in a manner to prevent exposure to proposed Project personnel, the
          public, the Environment and Improvements, to prevent any contamination of non-contaminated
          areas, and in compliance with the Environmental Requirements. The Department shall:




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          a.      be responsible for designating off-Site disposal sites for RHMs that are to be removed
                  from the Site (except in respect of RHMs that are the subject of a Developer Release of
                  Hazardous Substances, in relation to which the Developer shall be so responsible);
          b.      provide a list of such sites Developer may use for disposal or treatment of, and of
                  transporters the Developer may use for transport for disposal or treatment of, such
                  RHMs, which list shall be incorporated into the MMP; and
          c.      provide for execution by Department representatives of, or provide appropriate
                  authorization to Developer to act as the Department's agent with respect to execution of,
                  manifests and other documentation as necessary to maintain the Department’s status as
                  sole generator and arranger with respect to such RHMs pursuant to Section 23.6.1 of this
                  Schedule 17.
          Once disposal sites are located and selected (whether by the Department or, with respect to
          Developer Releases of Hazardous Substances, by the Developer), the Developer shall ensure
          that all requirements of the transporter and the receiving disposal facility and all Environmental
          Requirements are complied with and are properly documented.
  23.8.3. In the MMP, the Developer shall provide provisions to characterize and classify RHM into
           categories as appropriate for the Project, including:
          a.      Solid waste (hazardous and non-hazardous as defined under the RCRA) requiring off-
                  Site disposal and/or treatment;
          b.      Contaminated soils requiring off-Site disposal;
          c.      Soils to be stockpiled for further characterization;
          d.      Soils with concentrations of waste constituents below regulatory action levels set forth in
                  the BRMMP that can be reused with or without restriction;
          e.      Soils that can be reused for CCD projects in accordance with Section 4D of the Denver
                  IGA and the Guidance for Central 70 Project Reuse of Excess Soil on City and County of
                  Denver Owned Properties as provided in the Reference Documents;
          f.      Wastewater requiring off-Site disposal and/or treatment;
          g.      Impacted water to be held for further characterization;
          h.      ACM discovered during construction or demolition;
          i.      Lead-based paint associated with structures, signage, light posts, etc;
          j.      Waste material to be contained for further characterization;
          k.      Contaminated groundwater requiring on-site treatment or off-Site disposal;
          l.      Circumstances in which a separate comprehensive plan for the long-term cleanup and
                  monitoring of RHMs may be required in accordance with Section 23.9.1 of this
                  Schedule 17;
          m.      Identification of the location and method selected for any treatment or disposal of RHMs
                  pursuant to this Schedule 17; and
          n.      Conditions requiring Developer personnel to call the MT to screen for RHM.
  23.8.4. The MMP shall include a standard template to be used for the Monthly Statement of Recognized
          Hazardous Materials Management (see Section 23.15 of this Schedule 17) and the Recognized
          Hazardous Materials Management Completion Report (see Section 23.16 of this Schedule 17).
          These reports shall include a narrative description of all RHM-related activities conducted by the
          Developer (excluding those items for which the Department has retained responsibility under
          Section 23.1.3 of this Schedule 17) and tracking of all such RHMs including their point of
          origination, remediation activities, location of disposal (on or off-Site) and completed waste
          profiles, manifest forms, and bill-of-lading forms for proper transportation and disposal of


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          materials off-Site, including the items required in Section 5 (Reporting) of the BRMMP. The work
          to complete the Monthly Statement of Recognized Hazardous Materials Management and the
          Recognized Hazardous Materials Management Completion Report shall be considered incidental
          and therefore shall not be included in any Supervening Event Submission. This information shall
          be available at all times for review by the Department. Without limiting the foregoing, the
          following information shall be included for all RHMs (e.g., soil, groundwater):
          a.     GPS or survey information mapped on plan sheets identifying the point of origination of
                 the RHM, the applicable vertical horizon (as defined in the BRMMP) and all sampling
                 locations;
          b.     Field screening/monitoring results;
          c.     Laboratory analytical results;
          d.     Disposition including temporary stockpiling, use on-site, use off-Site, disposal, etc.;
          e.     GPS, survey, or other locational data that meets the requirements of the BRMMP and is
                 mapped on plan sheets showing the location of soils contaminated with Hazardous
                 Substances above RSL-R’s that have in been reused on site in accordance with the
                 BRMMP;
          f.     Management practices;
          g.     Transportation methods;
          h.     Disposal information, including manifests (hazardous and non-hazardous);
          i.     Permits or Governmental Approvals;
          j.     Required submittals to Governmental Authorities, Railroads and Utility Owners for
                 Permits and Government Approvals;
          k.     Import material source and sampling documentation;
          l.     HSO daily diary, as required in Section 250;-
          m.     In the Monthly Statement of Recognized Hazardous Materials Management, the
                 identification of any separate comprehensive plans for the long-term cleanup and
                 monitoring of RHMs submitted for Acceptance in accordance with Section 23.9.1 of this
                 Schedule 17 during the preceding month or under which response actions are being
                 conducted during such month, and
          n.     In the Recognized Hazardous Materials Management Completion Report, identification of
                 all separate comprehensive plans for the long-term cleanup and monitoring of RHMs
                 under which such RHMs were addressed
  23.8.5. The MMP shall be submitted for Approval by the Department prior to issuance of NTP2.
  23.8.6. The Developer is responsible for all requirements associated with development and
          implementation (including administration, monitoring, sampling and reporting) of the MMP.
  23.9.   Long-Term Clean Up Plans
  23.9.1. To the extent that the MMP (as amended and supplemented from time to time) does not address
          long-term cleanup and/or monitoring of any RHMs for which the Developer is responsible, the
          Developer shall develop and submit to the Department for Acceptance a comprehensive plan
          (including a completion schedule) for the long-term cleanup and monitoring of such RHMs
          through the end of the Operating Period.
  23.9.2. Upon Acceptance of such a comprehensive plan, the Developer shall be responsible for
          completing any and all remediation, monitoring and/or related responsibilities related to the
          relevant RHMs in compliance with such plan through the end of the Operating Period.




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  23.10. Sampling and Analysis Plan
  23.10.1. The Developer shall prepare a Sampling and Analysis Plan (“SAP”) to identify and characterize
           potential RHMs that may be encountered during the Term, and to outline processes for
           monitoring/screening of RHM for storage, handling, and disposal during the Term. In addition to
           complying with Section 250, the SAP shall include, at a minimum:
          a.      Data quality objectives;
          b.      Sample collection procedures for all RHMs (e.g., soil, water, asbestos, paint, universal
                  wastes), including field screening, borehole drilling, monitoring well construction, soil
                  sampling and/or groundwater sampling methods, and decontamination;
          c.      Quality control;
          d.      Field equipment calibration procedures/frequency;
          e.      Quality assurance objectives (data); and
          f.      Provisions for corrective action, if needed.
  23.10.2. The SAP shall be submitted for Approval by the Department prior to issuance of NTP2.
  23.11. Health and Safety Plan
  23.11.1. The Developer shall designate a Health and Safety Officer (HSO) to prepare and implement a
           Health and Safety Plan (“HASP”) in compliance with 29 C.F.R. Parts 1910 and 1926. Since
           RHMs have been identified within the Right-of-Way, the HASP shall comply with the
           requirements of 29 C.F.R. § 1910.120 or 29 C.F.R. § 1926.65, paragraph (b)(4). The Developer
           shall in the HASP furnish documentation to the Department that the requirements for the HSO
           specified in Section 23.21.2 of this Schedule 17 have been met. The HASP shall be submitted to
           the Department for Acceptance and distributed to all employees who are required pursuant to
           Law to have access to the HASP. The HASP shall be displayed or made available on-site at all
           times. The Developer shall develop and maintain on-site all industrial hygiene information,
           including “right-to-know” information. In addition to meeting the requirements of Section 250, the
           Developer shall maintain documentation and promptly provide information to the Department, as
           requested, regarding potential or actual exposure to workers and/or the public. The Developer
           shall maintain records of all related incidents and notify the Department and appropriate
           Governmental Authorities immediately. The HASP shall be considered a “living document” and,
           as such, be amended as construction and operation of the Project progresses during the Term.
           The HSO who prepares and implements the HASP shall at all times meet the requirements
           specified in Section 23.21.2 of this Schedule 17.
  23.11.2. Due to the presence of solid waste landfills with the potential for asbestos containing building
           materials, all workers involved in soil disturbing activities shall complete the 2-Hour Asbestos
           Awareness Training in accordance with OSHA and 29 C.F.R. § 1926.1101. The Developer shall
           be responsible for completing and documenting OSHA training and implementing OSHA
           requirements for the Work.
  23.11.3. The HASP shall be submitted for Acceptance by the Department prior to issuance of NTP2.
  23.12. Spill Prevention Control Countermeasure Plan
  23.12.1. The Developer shall prepare a SPCC Plan for Acceptance by the Department according to
           40 C.F.R. Part 112, and Section 208.06 to this Schedule 17. The SPCC Plan shall be considered
           a “living document” and, as such, be amended as construction and operation of the Project
           progresses during the Term.
  23.12.2. The SPCC Plan shall be submitted for Acceptance by the Department prior to issuance of NTP2.
  23.13. Structure Surveys
  23.13.1. Asbestos containing building materials (“ACBM”s), lead-containing paint (“LCP”), lead-based
           paint (“LBP”), and universal wastes or regulated materials that could not be disposed at a Subtitle


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          D landfill (e.g., Hazardous Waste as defined by the Resource Conservation and Recovery Act;
          Universal Wastes as defined by the EPA and 6 CCR Part 273 of the Colorado Hazardous Waste
          Regulations; chlorofluorocarbons as defined by the Clean Air Act; and polychlorinated biphenyls
          as defined by the Toxic Substances Control Act) may be present on various components of the
          Project (e.g., residential and commercial building improvements, bridge girders, railings, light
          poles, abutments). Prior to performing any demolition or rehabilitation activities on any part of the
          Site of any structures, bridges, removal of Utility Service Lines or any other features that may
          contain these materials, the Developer shall submit to the Department for Acceptance a Site-
          wide Structure Survey Assessment Plan (“SSAP”). The SSAP shall be developed in accordance
          with Section 250.04, CDPHE Air Pollution Control Commission’s Regulation 8 Part B, OSHA and
          other requirements of Environmental Law. The SSAP shall define the Developer’s approach and
          methodology for completing the survey to document the presence of ACBMs, LBP, LCP,
          universal waste and regulated materials. In addition, the SSAP shall define the required
          qualifications for personnel who will implement the assessment plan including the Certified
          Asbestos Building Inspector. The Developer shall implement the SSAP prior to conducting any
          Work that could disturb ACBMs, LBP, LCP, universal waste and regulated materials.
  23.13.2. Upon completion of each structure survey, and prior to the initiation of abatement or demolition
           activities, the Developer shall submit to the Department for Acceptance a Structure Survey
           Assessment Report (“SSAR”) in respect of each survey that was completed (e.g., one report for
           each parcel or bridge). Each SSAR shall detail the methodology, results and conclusions of the
           relevant survey, including the abatement requirements, and at a minimum shall contain:
          a.      Tables summarizing the quantitates, friability and locations of ACBM; materials that do
                  not contain asbestos; OSHA-regulated materials (from trace amounts up to one percent
                  asbestos-containing materials); LBP and LCP quantities and locations and locations and
                  quantities of universal waste or regulated materials;
          b.      Figures depicting the asbestos and paint sampling locations; locations of ACBM and
                  OSHA-regulated materials; locations of LBP and LCP; and locations of universal waste or
                  regulated materials; and
          c.      Appropriate supporting materials such as photographic logs, scaled drawings, laboratory
                  reports, and personnel and laboratory accreditations.
  23.13.3. The Developer is responsible for the development of the SSAP, completion of the survey and
           development of the SSAR. These activities shall be considered incidental and therefore shall not
           be included in any Supervening Event Submission.
  23.13.4. Subject to Section 23.1.3 of this Schedule 17 and Section 2 of Schedule 18 (Right-of-Way), the
           Developer shall, in accordance with the Environmental Requirements, properly remove, abate,
           segregate according to disposal requirements, and dispose of all waste generated as part of
           demolition of any buildings or other structures in accordance with Environmental Law. All
           abatement of ACBM shall be completed by a Certified General Abatement Contactor.
  23.13.5. The Developer shall avoid sanding, cutting, burning, or otherwise causing the release of lead
           from paint on selected painted components. OSHA Regulation 1926.62 (29 C.F.R. § 1926.62)
           shall be consulted for worker protection prior to removal of painted components.
  23.13.6. If painted metal components are to be removed and recycled, they must be recycled in
           accordance with Section 250.04. The recycling facility shall be notified of the potential presence
           of LCP/LBP.
  23.13.7. The Developer shall comply with all requirements for containing flaked-off paint material and
           other residue and waste materials that may be generated during removal and transportation of
           painted structures, including wastewater from power washing operations. At no time will
           wastewater from power washing operations be allowed to discharge to the surface or any water
           body. Any encapsulate used to treat the lead-based paint shall render the coated paint non-
           leachable by not exceeding the threshold of 5 milligrams per liter as confirmed by the Toxicity
           Characteristic Leaching Procedure (“TCLP”) for lead.


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  23.13.8. The Developer shall be responsible for the removal and disposal of OSHA-regulated materials as
           identified in 29 C.F.R. § 1926.1101. These activities shall be considered incidental and therefore
           shall not be included in any Supervening Event Submission.
  23.13.9. Within 30 Calendar Days of completion of abatement activities the Developer shall submit to the
           Department for Acceptance a Structure Survey Completion Report (SSCR) for each parcel or
           structure (e.g., one report for each parcel or bridge). The SSCR shall include documentation
           detailing what abatement was completed including material types and quantities, clearance tests,
           disposal manifests for all material that was disposed at a permitted facility and any other relevant
           documentation.
  23.14. Asbestos in Soils
          A number of solid waste landfills, which have the potential to contain asbestos containing building
          materials, were identified at the Right-of-Way in the EIS. In addition, when any discarded material
          is encountered that contains or consists of any of the following: construction, renovation and
          demolition debris (regardless of how it was generated), building or facility components,
          components of building systems (HVAC, plumbing, electrical, control, fire protection, roofing),
          components of pavement or drainage systems, industrial or machinery components, and/or
          mechanical components from motorized vehicles, or where asbestos-contaminated soil is
          discovered, the Developer shall conduct inspections and/or abatement in accordance with
          CDPHE Section 5.5 of the Solid Waste Regulations, CDOT Regulated Asbestos Contaminated
          Soil Management Standard Operating Procedure (provided in the Reference Documents),
          Section 250, and relevant OSHA, and other Environmental Requirements. For certainty, the
          document CDOT Regulated Asbestos Contaminated Soil Management Standard Operating
          Procedure incorporates current CDPHE guidance, and as such shall take precedence over
          Section 250 if the two documents conflict.
  23.15. Monthly Statement of Recognized Hazardous Materials Management
          The Developer shall submit Monthly Statements of Recognized Hazardous Materials
          Management to the Department for Acceptance summarizing all Developer activities associated
          with the management, removal and disposal of RHMs during the Construction Period, including
          applicable documentation from the Health and Safety Officer’s daily diary as required in
          Section 250. The reports shall include the requirements in Section 23.8.4 of this Schedule 17 and
          the reporting requirements included in Section 5 (Reporting) of the BRMMP. During the Operating
          Period, the Monthly Statement of Recognized Hazardous Materials Management shall be
          submitted monthly, but only if RHMs were handled during that month. After CDOT’s Acceptance
          each submittal shall be submitted to CDPHE for review.
  23.16. Recognized Hazardous Materials Management Completion Report and Environmental
         Covenant/Notice of Environmental Use Restriction
          Within 60 Calendar Days following Substantial Completion, the Developer shall submit a
          Recognized Hazardous Materials Management Completion Report for Approval documenting
          how the MMP, BRMMP, and any plans prepared pursuant to Section 23.9 of this Schedule 17
          were implemented and detailing how RHMs were identified, handled and disposed by the
          Developer. Such Report shall also include all necessary information for the Department to record
          an environmental covenant or notice of environmental use restriction against the Site pursuant to
          the requirements of the BRMMP and plan sheets mapping the location of soils contaminated with
          Hazardous Substances above the RSL-R’s (as defined in the BRMMP) reused within the Site. For
          certainty, the Developer’s coordination with the Department and CDPHE on the preparation and
          submittal of all required documents to record an environmental covenant or notice of
          environmental use restriction is a condition for the Approval of the Recognized Hazardous
          Materials Management Completion Report. For clarity, the recording of any such environmental
          covenant or notice of environmental use restriction is considered a Governmental Approval for
          which the Developer is responsible under this Agreement.




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  23.17. Unexpected Hazardous Substances
  23.17.1. In the event that any Unexpected Hazardous Substances are encountered or discovered, the
           Developer shall submit a remedial plan as part of any Detailed Supervening Event Submission.
           The remedial plan shall describe the Developer’s approach including a sampling plan; means
           and methods of management, and the disposal facility; the required personnel for remediating
           the Unexpected Hazardous Substance; the estimated cost of implementing the remedial plan;
           and the required coordination with Governmental Authorities and associated Governmental
           Approvals and Permits. The remedial plan shall be subject to Department Acceptance and may,
           upon such Acceptance, be used to satisfy the Developer’s applicable obligations under
           Section 23.9 of this Schedule 17. For certainty, the Department’s Acceptance of a remedial plan
           shall not in any way bind or commit the Department with respect to the subject matter of the
           Detailed Supervening Event Submission.
  23.17.2. Any Supervening Event Submission made with respect to any Unexpected Hazardous
           Substances Event shall be made pursuant to Section 15.1.2 of the Project Agreement and shall
           be subject to Developer, on and prior to the date of such submission, having complied with the
           remedial plan Accepted by the Department pursuant to Section 23.17.1 of this Schedule 17 in all
           material respects.
  23.17.3. Notwithstanding the foregoing, for certainty, the Developer shall at all times be responsible for
           the field monitoring, sampling, tracking, and reporting of RHMs. These activities shall be
           considered incidental and therefore shall not be included in any remedial plan or Supervening
           Event Submission, whether or not such RHMs are considered Unexpected Hazardous
           Substances.
  23.18. Residential Properties Sampling Plan
          To document that adjacent residential properties are not re-contaminated with heavy metals due
          to construction activities, the Developer shall prepare and implement a Residential Properties
          Sampling Plan that outlines the procedures for pre, during and post-construction lead and arsenic
          sampling at four residential properties. The Developer shall identify the properties to be sampled
          in coordination with the USEPA, obtain permission to complete the sampling from the property
          owner, and shall submit the plan to the Department for Acceptance and USEPA and the CCOD
          for approval prior to issuance of NTP2.
  23.19. Import Materials
  23.19.1. For each source of imported fill material, the Developer shall obtain the Department’s
           Acceptance prior to bringing the material on site and the identification of, and the screening and
           sampling for, the following constituents shall be considered incidental and therefore shall not be
           included in any Supervening Event Submission, provided that any such Acceptance shall not, for
           certainty, constitute an Acceptance of any resulting Developer Release of Hazardous
           Substances. The Developer is responsible for the sampling and testing of import materials and
           shall test the material at a minimum frequency of one sample for every 2,000 cubic yards from
           each source area for the following constituents:
          a.      Volatile organic compounds (EPA Method 8260b);
          b.      Semi-volatile organic compounds (EPA Method 8270);
          c.      Total petroleum hydrocarbons (EPA Method 8015);
          d.      RCRA 8 metals (EPA Method 6010 and 7471);
          e.      Pesticides (EPA Method 8081);
          f.      Polychlorinated biphenyls (EPA Method 8082); and
          g.      Asbestos (PLM).




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  23.20. Other Requirements
  23.20.1. The Developer is responsible for any reporting or notification with respect to RHMs required by
           Governmental Authorities, including CDPHE, EPA, CCD Department of Environmental Health,
           Colorado Department of Labor and Employment, Division of Oil and Public Safety, and Tri-
           County Health Department.
  23.20.2. The Developer is responsible for contacting the Colorado Division of Water Resources, CDPHE
           or the Colorado Department of Labor and Employment, Division of Oil and Public Safety, if
           groundwater monitoring or supply wells will be disturbed by the Construction Work in order to
           determine the status and any requirements for well protection, replacement or abandonment.
           Non-operational monitoring and supply wells shall be abandoned in accordance with Colorado
           Division of Water Resources well-abandonment requirements. The discovery of and
           abandonment or replacement (at the existing or new location) of a well is considered incidental
           and therefore shall not be included in any Supervening Event Submission.
  23.20.3. The Developer shall conduct a preliminary survey of any private property or buildings that may be
           affected by dewatering to establish existing conditions and then shall monitor roadways for any
           settlement caused by dewatering. The Developer shall repair any damage to roadways, private
           property, or buildings caused by dewatering operations.
  23.20.4. Except as provided otherwise in this Agreement (including in this Schedule 17), the Developer
           shall be responsible for all removal or management of RHMs encountered or discovered, and
           any backfill screening and placement required, in connection with Utility Work conducted
           pursuant to any URA or with another part of the Work conducted in connection with any other
           access or use agreement with a Utility Owner.
  23.21. Required Personnel
  23.21.1. The Developer shall designate a RHM Manager from the Agreement Date to the end of the
           Construction Period who has at least 10 years of experience managing RHMs and who shall
           report to the EM. The individual who is the RHM Manager can also fill the role of the Compliance
           Manager (during the Construction and Operating Periods, as applicable), defined in the BRMMP,
           if the individual satisfies both the RHM Manager and Compliance Manager qualifications. The
           RHM Manager is responsible for:
          a.      Implementing the MMP;
          b.      Ensuring the Developer follows all Environmental Requirements applicable to RHM:
          c.      Leading bi-weekly (every two weeks) meetings with the Department to review the status
                  of RHMs; and,
          d.      Notifying the Department in writing within 8 hours of any encountering or discovery of
                  RHM (including Releases thereof) affecting the Site or the Work.
  23.21.2. The Developer shall designate a Health and Safety Officer (“HSO”) in accordance with the
           requirements below and shall staff such position from the Agreement Date to the end of the
           Term. The HSO who prepares and implements the HASP shall possess the following minimum
           qualifications:
          a.      Be a Certified Industrial Hygienist;
          b.      Completed OSHA training in accordance with 29 C.F.R. § 1910.120(e) including 40-hour
                  ( § 1910.120(e)(3)(i)) and management and supervisor training ( § 1910.120(e)(4);
          c.      Completed the minimum training and medical surveillance requirements established by
                  the Occupational Safety and Health Administration (OSHA) and the Environmental
                  Protection Agency (EPA) for a supervisory Site Safety Official per 29 C.F.R. § 1962.65;
          d.      Completed training and certification in accordance with the Air Quality Control
                  Commission Regulation No. 8 Part B (State and EPA-Certified Asbestos Building
                  Inspector (“CABI”));


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          e.       Have a thorough knowledge of all applicable OSHA, EPA, State, and local regulations as
                   they pertain to the protection of the environment and the safety and health of the workers
                   and public; and
          f.       Have at least 10-years of experience working on and developing health and safety
                   programs for projects that require the handling, treatment, storage and disposal of RHMs.
  23.21.3. In addition, in accordance with Section 250.03(b) of this Schedule 17, the Developer shall
           designate a Monitoring Technician(s) (“MT”) who has completed the 40 hour HAZWOPER and
           eight hour OSHA Supervisory training. The MT shall be responsible for the identification and
           monitoring of Hazardous Substances during the Term. The MT shall also be a State and EPA-
           CABI and meet the requirements of a Qualified Project Monitor as defined in the Colorado Solid
           Waste Regulation Section 5.5.3 and shall meet the requirements outlined in the MMP. In
           accordance with the BRMMP, the MT is required to be on-site during all soil-disturbing activities
           west of Colorado Boulevard. East of Colorado Boulevard, the MT is not required to be onsite at
           each soil disturbing face if the BRMMP Compliance Manager (CM) determines no impacted
           materials will likely be encountered; if impacted materials are encountered during construction,
           work shall stop until a CM or MT is onsite to complete the appropriate screening and sampling in
           accordance with the BRMMP. The designated MT can delegate activities to other MTs, who meet
           the qualifications of the MT.
  23.21.4. The Developer shall certify that the procedures, health and safety precautions, and methods
           described in the MMP, SAP and HASP are in accordance with the OSHA, CDPHE, OPS and
           EPA standards and all other Environmental Requirements.
  24.     ENERGY
          The Developer shall implement the energy mitigation measures referenced in the ROD to the
          fullest extent practicable. The Developer shall submit an update quarterly as part of the ECWP
          update which documents the Developer’s procedures and programs to save energy.
  25.     DELIVERABLES
          At a minimum, the Developer shall submit the following Deliverables to the Department for
          Information, Acceptance, or Approval in accordance with the specified timeframes:
  Table 17-5       Deliverables
                                         Information, Acceptance or
               Deliverable                                                            Schedule
                                                  Approval
   Environmental Compliance             Approval (or Acceptance, but      Prior to issuance of NTP2 and
   Work Plan (“ECWP”)                      only with respect to any       annually thereafter in
                                       discipline specific management     accordance with Section 2.1.3 of
                                        plan incorporated therein that    this Schedule 17
                                        requires Acceptance and not
                                       Approval in accordance with this
                                                  Table 17-5)
   Environmental Status Report                   Acceptance               10 Working Days following the
   (“ESR”)                                                                end of the reporting period
                                                                          (monthly during the Construction
                                                                          Periods; quarterly during the
                                                                          Operating Period)
   Mitigation Completion Report                  Acceptance               Prior to Final Acceptance
   Environmental Compliance and                  Acceptance               Prior to issuance of NTP2
   Mitigation Training Program




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                                     Information, Acceptance or
             Deliverable                                                      Schedule
                                              Approval
   Environmental Compliance and               Acceptance          Annually, 30 Calendar Days
   Mitigation Training Program                                    after the end of the Contract
   Annual Update and Report                                       Year


   Air Quality Monitoring,                    Acceptance          Prior to issuance of NTP2,
   Maintenance, and Mitigation                                    updated annually
   Plan (“AQ3MP”)
   Proposed Locations of PM-10                Acceptance          Two weeks prior to operating the
   Monitors                                                       monitor
   Environmental Approvals (all)              Information         Per the requirements of
                                                                  Environmental Law and this
                                                                  Agreement
   Migratory Bird Nest Survey                 Information         Prior to impacting existing
                                                                  structures or vegetation that
                                                                  may contain active bird nests
                                                                  and prior to specific activities
                                                                  (e.g., clearing), consistent with
                                                                  CDOT and CPW guidance and
                                                                  policy
   Preliminary Noise Technical                Acceptance          Prior to conducting Benefited
   Reports                                                        Receptor Preference Survey
   Benefited Receptor Preference                Approval          14 Calendar Days prior to
   Survey supporting material                                     conducting Benefited Receptor
                                                                  Preference Survey
   Final Noise Technical Reports              Acceptance          Prior to issuance of RFC
                                                                  Documents and at the time of
                                                                  any update required pursuant to
                                                                  Section 11.3.5 of this
                                                                  Schedule 17
   Construction Noise Mitigation              Acceptance          Prior to issuance of NTP2,
   and Monitoring Plan (“CNMMP”)                                  updated annually
   Paleontological Annual Reports             Acceptance          Annually, 60 Calendar Days
                                                                  after the end of the reporting
                                                                  period
   Paleontological Summary                    Acceptance          60 Calendar Days after
   Report                                                         earthwork is completed
   SB 40 Certification Application              Approval          Prior to construction work in SB
   Package                                                        40 area
   Integrated Noxious Weed                    Acceptance          Prior to issuance of NTP2,
   Management Plan (“INWMP”)                                      updated annually
   Wetland Finding Report (if                   Approval          Prior to impacting wetlands
   required)
   BTPD Management Plan                       Acceptance          Prior to impacting BTPD




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                                      Information, Acceptance or
             Deliverable                                                      Schedule
                                               Approval
   Materials Management Plan                    Approval           Prior to issuance of NTP2,
   (“MMP”), including any changes                                  updated annually
   relative to the Beneficial Reuse
   and Materials Management Plan
   (“BRMMP”)
   Long-Term Clean Up Plan(s)                 Acceptance           As and when required pursuant
                                                                   to Section 23.9 of this
                                                                   Schedule 17
   Sampling and Analysis Plan                   Approval           Prior to issuance of NTP2,
   (“SAP”)                                                         updated annually
   Residential Soils Sampling Plan            Acceptance           Prior to issuance of NTP2,
                                                                   updated annually
   Health and Safety Plan                     Acceptance           Prior to issuance of NTP2,
   (“HASP”)                                                        updated annually
   Spill Prevention Control and               Acceptance           Prior to issuance of NTP2,
   Countermeasures Plan (“SPCC                                     updated annually
   Plan”)
   Structure Survey Assessment                Acceptance           Prior to the demolition of any
   Plan (“SSAP”) (Project-wide                                     structure or other relevant
   document)                                                       components of the Project
   Structure Survey Assessment                Acceptance           Prior to the demolition of any
   Report (“SSAR”) (per parcel or                                  structure
   structure)
   Structure Survey Completion                Acceptance           Within 30 Calendar Days after
   Report (“SSCR”) (per parcel or                                  completion of abatement
   structure)                                                      activities.
   Import Materials Documentation             Acceptance           Prior to bringing the materials
                                                                   onto the Site
   Remedial Plan                              Acceptance           As part of Schedule 21 (Form of
                                                                   Supervening Event Submission)
   Environmental Approval                       Approval           Prior to conducting Work where
                                                                   an Environmental Approval is
                                                                   required, including any Work
                                                                   that has not been approved in
                                                                   the ROD
   Monthly Statement of                       Acceptance           10 Working Days after the end
   Recognized Hazardous                                            of each month as per
   Materials Management                                            Section 23.15 of this
                                                                   Schedule 17, followed by
                                                                   submittal to CDPHE
   Recognized Hazardous                         Approval           60 Calendar Days after
   Materials Management                                            Substantial Completion
   Completion Report
   Schedule of Planned Noxious                Information          Monthly, five Calendar Days
   Weed Management Activities                                      prior to the beginning of each
                                                                   month (March through October)




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                                       Information, Acceptance or
             Deliverable                                                        Schedule
                                                Approval
   Noxious Weed Survey and                    Acceptance            Monthly, within 10 Working Days
   Summary of Treatment Activities                                  of the end of each month (March
   Report                                                           through October) during the
                                                                    Construction Period. Three
                                                                    times per year during the
                                                                    Operating Period.
   Protected Environmental                    Acceptance            To be included with each plan
   Resources shown in all Plan                                      set submittal
   Sets
   Asbestos, Lead-Based Paint                 Acceptance            15 Working Days prior to
   and Regulated Materials Survey                                   demolition
   Report
   Dewatering or Remediation Plan             Acceptance            Prior to discharge as required by
                                                                    the permit
   Summary Report of IQC Water                 Information          Monthly, within 7 Calendar Days
   Quality Documentation Audit                                      of the end of the month.
   Diesel Nonroad Construction                 Information          Quarterly, within 10 Working
   Equipment (“DNRCE”) Report                                       Days of the end of the reporting
                                                                    period.
   BTPD Management Plan                       Acceptance            Prior to conducting activities that
                                                                    could potentially impact BTPD,
                                                                    updated annually.
   Level II Historic Archival                 Acceptance            10 Working Days prior to
   Photographs and Measured                                         demolition or construction
   Drawings (One submission per                                     activities on affected parcels.
   resource)
   Level II Historic Documentation            Acceptance            Within 6 months of demolition of
   for Submittal to SHPO (One                                       the resource.
   submission per resource)

  26.    APPENDICES
         Appendix A        Project Special Provisions
         Appendix B        Known Hazardous Substances Parcels
         Appendix C        Groundwater Benchmark Concentrations




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                                              Appendix A
                                       Project Special Provisions

  The following specifications modify and take precedence over the Standard Specifications. The
  requirements of Schedule 10A (Applicable Standards and Specifications) apply to these Project Special
  Provisions.
                                 PROJECT SPECIAL PROVISIONS
                                                                                                 Pages
  Index                                                                                          17-40
  Revision of Section 208 – Erosion Control                                             17-41 to 17-65
  Revision of Section 240 – Protection of Migratory Birds                               17-66 to 17-68
                Biological Work Performed by the Contractor’s Biologist
  Revision of Section 250 – Environmental, Health, and Safety Management                17-69 to 17-81




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                                       REVISION OF SECTION 208
                                         EROSION CONTROL

  Section 208 is hereby deleted from the Standard Specifications for this project and replaced with the
  following:

                                               DESCRIPTION

  208.01 This work consists of constructing, installing, maintaining, and removing when required, Best
  Management Practices (BMPs) during the life of the Contract, including the period during which final
  stabilization is achieved, to prevent or minimize erosion, sedimentation, and pollution of any State waters
  as defined in subsection 107.25, including wetlands.

  The Contractor shall coordinate the construction of temporary BMPs with the construction of permanent
  BMPs to assure effective and continuous erosion and sediment control throughout the Construction
  Period.

  When a condition of this Project Special Provision 208 or a Noncompliance Notice or Noncompliance
  Report by the Department or the Contractor requires that an action be immediate or taken immediately, it
  shall be understood that the Contractor shall at once begin effecting completion of the action and pursue it
  to completion in a manner acceptable to the Department, and in accordance with the Colorado Discharge
  Permit System Stormwater Construction Permit (CDPS-SCP) requirements.

                                                MATERIALS

  208.02 Erosion control materials are subject to acceptance in accordance with subsection 106.01. The
  IQC program shall verify and document that erosion control materials installed on Site have met the
  required acceptance criteria, including Certificates of Compliance (COC) and are on the Approved
  Products List (APL). Erosion control materials shall be subject to the following approval process:

                                               Approval
                   Material                                                      Notes:
                                                Process
                                                            The Contractor shall provide a transit certificate
   Erosion Bales (Weed Free)                     COC        number or a copy of the transit certificate as
                                                            supplied from the producer.
   Silt Fence                                    COC
   Silt Berm                                     APL
   Erosion Log (Type 1 and 2)                    COC
   Silt Dikes                                    COC
   Pre-fabricated Concrete Washout
                                                 APL
   Structures (above ground)
   Pre-fabricated Vehicle Tracking Pad           APL
   Aggregate Bag                                 COC
   Storm Drain Inlet Protection (Type I, II
                                                 APL
   and III)




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  The material for BMPs shall conform to the following:

  (a)   Erosion Bales. Material for erosion bales shall consist of Certified Weed Free hay or straw. The hay
        or straw shall be certified under the Colorado Department of Agriculture Weed Free Forage
        Certification Program and inspected as regulated by the Weed Free Forage Act, Title 35, Article
        27.5, CRS. Each certified weed free erosion bale shall be identified by blue and orange twine
        binding the bales.

        The Contractor shall not place certified weed free erosion bales or remove their identifying twine
        until the IQC has inspected and accepted them.

        The Contractor may obtain a current list of Colorado Weed Free Forage Crop Producers who have
        completed certification by contacting the Colorado Department of Agriculture, Weed Free Forage
        Program, 305 Interlocken Pkwy, Broomfield, CO 80021, Contact: Weed Free Forage Coordinator
        at (303) 869-9038. Also available at www.colorado.gov/ag/csd.-

        Bales shall be approximately 5 cubic feet of material and weigh at least 35 pounds. Stakes shall be
        wood and shall be 2 inch by 2 inch nominal.

  (b)   Silt Fence. Silt fence posts shall be wood with a minimum length of 42 inches. Wood posts shall be
        1.5 inch by 1.5 inch nominal. Geotextile shall be attached to wood posts with three or more staples
        per post.

        Silt fence geotextile shall conform to the following requirements:

                              Physical Requirements for Silt Fence Geotextiles
                                                          Self-Supported
                                        Wire Fence        Requirements
                     Property           Supported           Geotextile         Test Method
                                       Requirements         Elongation
                                                               <50%
                Grab Strength, lbs      90 minimum         124 minimum        ASTM D 4632
                Permittivity sec-1          0.05                0.05          ASTM D 4491
                                       Minimum 70%        Minimum 70%
                Ultraviolet
                                          Strength            Strength        ASTM D 4355
                Stability
                                          Retained            Retained


        Silt Fence (Reinforced). Silt fence posts shall be metal "studded tee" T-post with a minimum length
        of 66 inches. Metal posts shall be “studded tee” with .095 inch minimum wall thickness. Wire
        fabric reinforcement for the silt fence geotextile shall be a minimum of 14 gauge, with a maximum
        mesh spacing of 6 inches. Geotextile shall be attached to welded wire fabric with ties or nylon cable




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        ties 12 inch O.C. at top, mid and bottom wire. Welded wire fabric shall be attached to the post with
        a minimum three 12 gauge wire ties per post. Vinyl or rubber safety caps shall be installed on all T-
        post.
  (c)   Temporary Berms. Temporary berms shall be constructed of compacted soil.

  (d)   Temporary Slope Drains. Temporary slope drains shall consist of fiber mats, plastic sheets, stone,
        concrete or asphalt gutters, half round pipe, metal or plastic pipe, wood flume, flexible rubber or
        other materials suitable to carry accumulated water down the slopes. Outlet protection riprap shall
        conform to Section 506. Erosion control geotextile shall be a minimum Class 2, conforming to
        subsection 712.08.

  (e)   Silt Berm. Silt berm shall consist of an ultraviolet (UV) stabilized high-density polyethylene, shall
        be triangular in shape, and shall have the following dimensions:

                                        Width                6 – 11 inches
                                       Height                6 – 10 inches
                                       Weight             0.3 – 1.4 lbs./sq. ft.
                                  Percent Open Area            30 – 50%


        Securing spikes shall be 10 to12 inch x 0.375 inch diameter (minimum).
  (f)   Rock Check Dam. Rock Check dams shall be constructed of stone. Stone shall meet the
        requirements of Section 506.

  (g)   Sediment Trap. In constructing an excavated Sediment Trap, excavated soil may be used to
        construct the dam embankment, provided the soil meets the requirements of subsection 203.03.
        Outlet protection riprap shall be the size specified in the Contract and shall conform to Section 506.
        Erosion control geotextile shall be a minimum Class 1, conforming to subsection 712.08.

  (h)   Erosion log. Shall be one of the following types unless otherwise shown on the plans:

        (1)   Erosion Log (Type 1) shall be curled aspen wood excelsior with a consistent width of fibers
              evenly distributed throughout the log. The casing shall be seamless, photo-degradable tube
              netting and shall have minimum dimensions as shown in Table 208-1, based on the diameter
              of the log called for on the plans. The curled aspen wood excelsior shall be fungus free, resin
              free, and free of growth or germination inhibiting substances.

        (2)   Erosion Log (Type 2) shall consist of a blend of 30-40 percent weed free compost and 60-70
              percent wood chips. The compost/wood blend material shall pass a 50 mm (2 inch) sieve with
              a minimum of 70 percent retained on the 9.5 mm (3/8 inch) sieve and comply to subsection
              212.02 for the remaining compost physical properties. The compost/wood chip blend may be
              pneumatically shot into a geotextile cylindrical bag or be pre-manufactured. The geotextile
              bag shall consist of material with openings of 1/8 to 3/8 inches of HDPE or polypropylene
              mesh (knitted, not extruded), and contain the compost/wood chip material while not limiting
              water infiltration.



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        Erosion log (Type 1 and Type 2) shall have minimum dimensions as shown in Table 208-1, based
        on the diameter of the log.
                                                 Table 208-1
                                NOMINAL DIMENSIONS OF EROSION LOGS

    Diameter     Diameter          Length (feet)        Weight (minimum)               Stake Dimensions
     Type 1       Type 2
                                  Min.        Max.        (pounds/foot)                    (Inches)
    (Inches)     (Inches)
        9           8             10          180                1.6              1.5 by 1.5 (nominal) by 18
       12           12            10          180                2.5              1.5 by 1.5(nominal) by 24
       20           18            10          100                4.0              2 by 2 (nominal) by 30

        Stakes to secure erosion logs shall consist of pinewood or hardwood.

  (i)   Silt Dikes. Silt dikes shall be pre-manufactured triangular shaped urethane foam covered with a
        woven geotextile fabric. The fabric aprons shall extend a minimum of two feet beyond each side of
        the triangle.

        Each silt dike shall have the following dimensions:
        Dimension                                                Length
        Center height                                            8 to 10 inches
        Base      16 to 21 inches
        Section length                                           3 to 7 feet
        Section width including fabric extensions                5.6 feet
        Staples shall be 6 gauge and at least 8 inches long.
  (j)   Concrete Washout Structure. The Contractor shall construct a washout structure that will contain
        washout from concrete placement and construction equipment cleaning operations. Embankment
        required for the concrete washout structure may be excavated material, provided that this material
        meets the requirements of Section 203 for embankment.

        A pre-fabricated concrete washout structure can be used in lieu of the above specified concrete
        washout. It shall consist of a watertight container designed to contain liquid and solid waste from
        concrete washout. It shall not be placed in an area where a spill would reach a surface water or
        other drainage structure.
  (k)   Vehicle Tracking Pad. Aggregate for the vehicle tracking pad shall be crushed natural aggregate
        with at least two fractured faces that meets the following gradation requirements:

        Sieve sizePercent by weight          Passing Square Mesh Sieves
        75 mm (3 inch)                                  100
        50 mm (2 inch)                                  0-25
        19.0 mm (¾ inch)                                0-15




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        Recycled crushed concrete or asphalt shall not be used for vehicle tracking pads.
        Erosion Control Geotextile shall be Class 2 and conform to the requirements of subsection 712.08.
        Pre-fabricated vehicle tracking pads can be used and shall have the following properties.
        Minimum overall dimensions of the modular systems shall be:
                                        Width of pad           14 feet
                                        along edge of
                                           roadway
                                        Length of pad          30 feet


                                        Weight (min.)             8
                                         (lbs./sq. ft.)
                                        Crush strength           400
                                         (min.) (psi)

  (l)   Aggregate Bag. Aggregate bags shall consist of crushed stone or recycled rubber filled fabric with
        the following properties:

                                                          Weight (minimum)
                                  Diameter (inches)
                                                          (pounds per foot)
                                          6-8                     6
                                          10                      10
                                          12                      15

        Rubber used in bags shall be clean, 95 percent free of metal and particulates.

        Crushed stone contained in the aggregate bags shall conform to subsection 703.09, Table 703-7 for
        Class C.

        The aggregate bag shall consist of a woven geotextile fabric with the following properties:

                                  Property         Requirement Test Method
                            Grab Tensile Strength 90 lbs. min. ASTM D 4632
                           Trapezoid Tear Strength 25 lbs. min. ASTM D 4533
                                Mullen Burst         300 psi    ASTM D 3786
                            Ultraviolet Resistance     70%      ASTM D 4355

  (m)   Storm Drain Inlet Protection. Storm drain inlet protection shall consist of aggregate filled fabric
        with the following dimensions:




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     Storm Drain Inlet                                      Protection Types
    Protection Properties               1
                                           Type I                 2
                                                                    Type II                  3
                                                                                             Type III
  Diameter                                  4 in.                    4 in.                     N/A
  Minimum Section Length                    7 ft.                    5 ft.                     5 ft.
  Apron Insert                               ---           30 in. or sized to grate   30 in or sized to grate
  1
    Type I protection shall be used with Inlet Type R.
  2
    Type II protection shall be used with Combination Inlet. Option A or B
  3
    Type III protection Inlet Vane Grate only. Option A or B

        The storm drain inlet protection (Type I, II and III) shall consist of a woven geotextile fabric with
        the following properties:

                 Property               Test Method             Unit              Requirement
         Grab tensile strength         ASTM D 4632               lbs.          minimum 350X280
         Mullen Burst Strength         ASTM D 3786               lbs.                  600
         Trapezoid Tear Strength       ASTM D 4533               lbs.           minimum 110X95
         Percent Open Area             COE-22125-86               %                     28
         Water Flow Rate               ASTM D 4491         gal./min./sq. ft.           250
         Ultraviolet Resistance        ASTM D 4355                %                     70


        Curb roll for storm drain inlet protection (Type I and II) shall have an approximate weight of 7 to
        10 pounds per linear foot of device. The device shall be capable of conforming to the shape of the
        curb. Aggregate contained in the storm drain inlet device shall consist of gravel or crushed stone
        conforming to Table 703-7 for Class C.

        Storm drain inlet protection (Type III) shall have insert containment (option A) or insert without
        storage capacity (option B).

                                   CONSTRUCTION REQUIREMENTS

  208.03 Project Review, Schedule, and Transportation Erosion Control Supervisor. Prior to NTP2 and
  following approval of SWMP RFC documents, an on-site Environmental Pre-Construction Conference
  shall be held. The conference shall led by the Contractors Environmental Manager and SWMP
  Administrator. In addition the following people shall attend:

        (1)   Independent Quality Control Manager (IQCM),

        (2)   Independent Quality Control (IQC)program Inspector(s),




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        (3)   The Superintendent,

        (4)   Supervisors or Foremen of subcontractors working on the project,

        (5)   The Department’s Region Water Pollution Control Manager (RWPCM),

        (6)   The Department Project Environmental Representative(s),

        (7)   Local Governmental representatives as designated by the Department.

        (8)   Additional personnel as designated by the Department.

  At this conference, the attendees shall discuss the SWMP, CDPS-SCP, CDOT and local Municipal
  Separate Storm Sewer (MS4) requirements, sensitive habitats on site, wetlands, other vegetation to be
  protected, and the enforcement mechanisms for not meeting the requirements of the Project Agreement.

  Prior to beginning construction the Contractor shall evaluate the project site for storm water draining into
  or through the site. When such drainage is identified, BMPs (i.e., Control Measures) shall be used if
  possible to divert stormwater from running on-site and becoming contaminated with sediment or other
  pollutants. The diversion may be accomplished with a temporary pipe or other conveyance to prevent
  water contamination or contact with pollutants. Run-on water that cannot be diverted shall be treated as
  construction runoff and adequate BMPs shall be employed.

  The SWMP Administrator shall evaluate all non-stormwater coming onto the site, such as springs, seeps,
  and landscape irrigation return flow. If such flow is identified, BMPs shall be used to protect off-Site
  water from becoming contaminated with sediment or other pollutants.
  The SWMP Administrator shall review existing inlets and culverts to determine if inlet protection is
  needed due to water flow patterns. Prior to beginning construction, inlets and culverts needing protection
  shall be protected and the location of the implemented BMP added to the SWMP site map.

  Prior to construction, the Contractor shall implement appropriate BMPs for protection of wetlands,
  sensitive habitat and existing vegetation from ground disturbance and other pollutant sources, in
  accordance with the approved project schedule as described in subsection 208.03(b).

  When additional BMPs are required and approved by the SWMP Administrator, the Contractor shall
  implement the additional BMPs and the SWMP Administrator shall record and describe them on the
  SWMP site map.

  (a)   Erosion and Sediment Control Activities. The erosion and sediment control activities shall be
        included in the weekly meeting update. The project schedule shall specifically indicate the
        sequence of clearing and grubbing, earthwork operations, and construction of temporary and
        permanent erosion control features and stabilization. Project schedule shall include erosion and
        sediment control work for haul roads, borrow pits, storage and asphalt or concrete batch sites, and




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        all areas within the project limits. If necessary, the SWMP Administrator shall update proposed
        sequencing of major activities in the SWMP.

  (b)   Erosion Control Management (ECM). Erosion Control Management for this project shall consist of
        Erosion Control Inspection and the Administration of the Stormwater Management Plan (SWMP).
        All ECM staff shall have working knowledge and experience in construction, and shall have
        successfully completed the TECS as provided by the Department. The Superintendent will not be
        permitted to serve in an ECM role. The Contractors Erosion Control Inspector and the SWMP
        Administrator may be the same person in projects involving less than 40 acres of disturbed area.

        1.   Stormwater Management Plan (SWMP) Administration. The SWMP shall be maintained by a
             SWMP Administrator. The SWMP Administrator shall have completed the TECS
             certification training as provided by the Department. In the case of a project requiring only
             one TECS, the SWMP Administrator may also be the Erosion Control Inspector for the
             project. The name of the SWMP Administrator shall be recorded on SWMP Plan Section 3.B.
             The SWMP Administrator shall have full responsibility to maintain and update the SWMP
             Plan and identify to the Superintendent critical action items needed to conform to the CDPS-
             SCP as follows:

             (1)   Complete the SWMP Notebook as described in subsection 208.03 (d).

             (2)   Participate in the Environmental Pre-construction Conference

             (3)   Attend Weekly Water Quality Meetings (WWQM)

             (4)   Attend all Department water quality control inspections. The Contractor and the
                   Contractor’s SWMP Administrator will be notified a minimum of five days in advance
                   of each inspection by the Department water quality staff.

             (5)   Coordinate with the Superintendent to implement necessary actions to reduce
                   anticipated or presently existing water quality or erosion problems resulting from
                   construction activities.

             (6)   Coordinate with the Superintendent to ensure that all labor, material, and equipment
                   needed to install, maintain, and remove BMPs are available as needed.

             (7)   During construction, update and record the following items on the SWMP site map as
                   changes occur:

                   (i)    Limits of Construction (LOC)

                   (ii)   Areas of Disturbance (AD)

                   (iii) Limits of Disturbance (LDA)

                   (iv)   Limits of cut and fill.



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                   (v)    Areas used for storage of construction materials, equipment, soils, or wastes.

                   (vi)   Location of any dedicated asphalt or concrete batch plants.

                   (vii) Location of construction offices and staging areas.

                   (viii) Location of work access routes during construction.

                   (ix)   Location of borrow and waste.

                   (x)    Location of temporary, interim and permanent stabilization.

                   (xi)   Location of outfall(s)

                   (xii) Arrows showing direction of surface flow

                   (xiii) Structural and non-structural BMPs

                   (xiv) LDA and LOC lines as defined in subsection 107.25

             (8)   Amend the SWMP whenever there are: additions, deletions, or changes to BMPs.
                   SWMP revisions shall be recorded immediately. Items shall be dated and initialed by
                   the SWMP Administrator. Specifically, amendments shall include the following:

                   (i)    A change in design, construction, operation, or maintenance of the site which
                          would require the implementation of new or revised BMPs; or

                   (ii)   Changes when the SWMP proves to be ineffective in achieving the general
                          objectives of controlling pollutants in stormwater discharges associated with
                          construction activity.

                   (iii) Changes when BMPs are no longer necessary and are removed.

             (9)   Complete vegetative survey transects as required in accordance with CDOT Erosion
                   Control and Stormwater Quality Guide.

             (10) Start a new site map before the current one becomes illegible. All site maps shall
                  remain in the SWMP notebook.

             (11) Document all inspection and maintenance activities. The SWMP and documentation
                  shall be kept on the project site.

             (12) When adding or revising BMPs on the SWMP, add a narrative explaining what, when,
                  where, why, and how the BMP is being used, and add a detail to the SWMP notebook.

                   (i)    How to install and inspect the BMP




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                   (ii)   Where to install the BMP

                   (iii) When to maintain the BMP

             (13) If using existing topography, vegetation, etc. as a BMP, label it as such on the SWMP
                  site map; add a narrative as to when, where, why, and how the BMP is being used.

             (14) Indicate BMPS in use or not in use by recording on Standard Plans M-208-1, M-216-1,
                  and M-615-1 in the SWMP notebook.

             (15) Record on the SWMP, the approved Method Statement for Containing Pollutant
                  Byproducts.

             (16) Update the potential pollutants list in the SWMP notebook and Spill Response Plan
                  throughout construction.

       2.    Erosion Control Inspection.

             Erosion control inspection shall be performed by TECS certified staff assigned as Erosion
             Control Inspector (ECI) to the project. One ECI is required for every 40 acres of total
             disturbed area which is currently receiving temporary and interim stabilization measures as
             defined in subsection 208.04 (e). An ECI shall not be responsible for more than 40 acres in
             the project. Accepted permanent stabilization methods as defined in subsection 208.04 (e)
             will not be included in the 40 acres.

             ECI duties shall be as follows:

             (1)   Coordinate with the SWMP Administrator on reporting the results of inspections.

             (2)   Review the construction site for compliance with the Stormwater Construction Permit.

                   Inspect with the Superintendent and the IQC Manager (or their designated
                   representatives) the stormwater management system at least every seven calendar days.
                   Post storm event inspections shall be conducted within 24 hours after the end of any
                   precipitation or snow melt event that may cause surface erosion. If no construction
                   activities will occur following a storm event, post-storm event inspections shall be
                   conducted prior to commencing construction activities, but no later than 72 hours
                   following the storm event. The occurrence of delay in inspections shall be documented
                   in the inspection report. Form 1176 shall be used for all 7 day inspections and
                   inspections following storm events. The Contractor shall notify the Erosion Control
                   Inspector when a storm event occurs. The Contractor shall notify the EM and the
                   Department when post-storm event inspections and 7-day inspections are scheduled.
                   The Department and the EM may attend at their discretion. The Contractor shall
                   communicate findings to the Independent Quality Control (IQC) team and EM. Failure
                   to perform inspections on time will result in non-compliance points in accordance with
                   subsection 208.09.


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                   Inspections are not required at sites when construction activities are temporarily halted,
                   when snow cover exists over the entire site and melting conditions do not pose a risk of
                   surface erosion. This exception shall be applicable only during the period where
                   melting conditions do not exist, and applies to the routine 7 day inspections and the
                   post-storm event inspections. The following information shall be documented on Form
                   1176 for use of this exclusion: dates when snow cover occurred, date when
                   construction activities ceased, and date melting conditions began.

                   The order of precedence for required inspections shall be as follows:

                   (i)     Headquarter water quality inspections

                   (ii)    Region water quality inspections

                   (iii)   Post-storm event inspections

                   (iv)    7 day inspections

                   When one of the listed inspections is performed, the inspections listed below it need not
                   be performed on that day if the required personnel participated in the inspection.

                   For example: A 7 day inspection is not required on the same day a headquarters or
                   Region inspection is conducted. A sheet shall be placed in the inspections area of the
                   SWMP Notebook to refer to the date inspection performed.

             (3)   Follow all other agency Stormwater requirements and inspections unless a waiver or
                   other agreement has been made.

             (4)   The ECI shall immediately report to the Contractor’s Superintendent and the SWMP
                   Administrator the following instances of noncompliance:

                   (i)     Noncompliance which may endanger health or the environment.

                   (ii)    Spills or discharge of hazardous substance or oil which may cause pollution of
                           waters of the State.

                   (iii)   Discharge of stormwater which may cause an exceedance of a water quality
                           standard.

                   (iv)    Upset conditions that occur on site.

             (5)   Spills, leaks, or overflows that result in the discharge of pollutants shall be documented
                   on the Form 1176 by the ECI. The ECI shall record the time and date, weather
                   conditions, reasons for spill, and how it was remediated.

  (d)   Documentation Available on the Project. The following Contract documents and references will be
        made available for reference at the project field office during construction:


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       1.    SWMP Notebook. The Contractor will provide a SWMP Notebook at the Preconstruction
             Conference, which is and shall become and remain the property of the Department. The
             Contractor shall provide the contents required for the entire notebook, as detailed below. The
             notebook shall be stored in the Contractor’s field office or at another on-site location
             approved by the Department. The SWMP Administrator shall modify and update the
             notebook when changes occur in site conditions to reflect current conditions; except when
             changes to the notebook cannot be reasonably achieved at the time of field condition changes,
             such as when obtaining specifications from the manufacturer or engineering design for a
             retention structure. In such cases, the Contractor will make revisions as soon as practicable,
             but in no case more than 72 hours after the change(s) in control measure installation and/or
             implementation occur at the site. In such cases, a notation must also be included with the
             SMWP that includes the date, type and location of the change(s) in the field. The following
             Contract documents and reports shall be kept, maintained, and updated in the notebook under
             the appropriate items by the SWMP Administrator:

             (1)   SWMP Plan Sheets - Notes, tabulation, sequence of major activities, area of
                   disturbance, existing soil data, existing vegetation percent cover, potential pollutant
                   sources, receiving water, non-stormwater discharges and environmental impacts.

             (2)   Site Map and Plan Title Sheet -Construction site boundaries, ground surface
                   disturbance, limits of cut and fill, flow arrows, structural BMPs, non-structural BMPs,
                   Springs, Streams, Wetlands and surface water. Also included on the sheets is the
                   protection of trees, shrubs and cultural resources.

             (3)   Specifications - Standard and Project special provisions related to Stormwater and
                   Erosion Control.

             (4)   Standard Plans M-208-1, M-216-1 and M-615-1.

             (5)   BMP Details not in Standard Plan M-208-1 - Non-standard details.

             (6)   Weekly meeting sign in sheet.

             (7)   Calendar of Inspections -Calendar of inspections marking when all inspections take
                   place.

             (8)   Form 1176 – Weekly meeting notes and inspection report.

             (9)   Region and Headquarter Water Quality Reports, Non-conformance Notice (NCNs)
                   Non-conformance Records (NCRs) relating to Water Quality.

             (10) Description of Inspection and Maintenance Methods - Description of inspection and
                  maintenance methods implemented at the site to maintain all BMPs identified in the
                  SWMP and Items not addressed in the design.

             (11) Spill Response Plan - Reports of reportable spills submitted to CDPHE



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              (12) List and Evaluation of Potential Pollutants - List of potential pollutants as described in
                   subsection 107.25 and approved Method Statement for Containing Pollutant
                   Byproducts.

              (13) Other Correspondence e.g., agreements with other MS4s, approved deferral request,
                   CDPHE audit documentation, and other miscellaneous documentation.

              (14) TECS Certifications of the SWMP Administrator and all of the Contractor’s ECIs, keep
                   current through the life of the project.

              (15) Environmental Pre-construction Conference – Conference agenda with a certification
                   of understanding of the terms and conditions of the CDPS-SCP and SWMP. The
                   certification shall be signed by all attendees. A certification shall also be signed by all
                   attendees of meetings held for new subcontractors beginning work on the project that
                   could adversely affect water quality after the Environmental Pre-construction
                   Conference has been held.

              (16) All Project Environmental Permits - All project environmental permits and associated
                   applications and certifications, including, CDPS-SCP, Senate Bill 40, USACE
                   404,temporary stream crossings, dewatering, biological opinions and all other permits
                   applicable to the project, including any separate CDPS-SCP obtained by the Contractor
                   for staging area on private property, asphalt or concrete plant, etc.

              (17) Photographs Documenting Existing Vegetation – Project photographs shall be time
                   stamped on paper with a maximum of four colored images per 8 ½ inch by 11 inch
                   sheet and/or a digital copy of all photographs on CD-ROM/Flash Drive in (JPG
                   format), documenting existing vegetation prior to construction commencing. On the
                   bottom of each photograph shall be a description using Station Number or Mile Post of
                   where the photograph was taken.

              (18) Permanent Water Quality Plan Sheets - Plan sheets and specifications for permanent
                   water quality structures, riprap.

  The Contractor will provide and insert permanent water quality plan sheets once released for construction.
  The Contractor shall also provide and insert all other documents and reports as they become available
  during construction.

  The Contractor shall submit a complete electronic copy of the SWMP notebook to the Department prior
  to commencement of construction and monthly SWMP notebook electronic updates throughout the
  duration of construction.

  The SWMP Administrator shall finalize the SWMP for delivery to the Department within 30 days of close
  out of the CDPS-SCP. SWMP completeness shall be approved by the Department, corrections to the
  SWMP shall be at the Contractor’s expense. The following Reference materials shall be used:

        (1)   CDOT Erosion Control and Stormwater Quality Guide.



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        (2)   CDOT Erosion Control and Stormwater Quality Field Guide.

        (3)   CDOT Specifications and Standards.

  (e)   Weekly Meetings. The Environmental Manager and SWMP Administrator shall conduct a Weekly
        Water Quality Review (“WWQR”) meeting. The Superintendent and IQC water quality staff shall
        attend and participate. Supervisors involved in construction activities that could adversely affect
        water quality shall attend. The Department shall be notified in advance of this meeting and may
        attend at their discretion. The meeting shall follow an agenda prepared by the SWMP Administrator
        and have a sign in sheet on which the names of all attendees shall be recorded. The Developer shall
        take minutes of the meeting including notes of water quality comments and action items at each
        weekly meeting. Meeting minutes shall be provided to the Department. The agenda and sign in
        sheets shall be placed in the SWMP notebook. The Department and IQC staff may add items to the
        agenda at their discretion. At this meeting the following shall be discussed and documented on
        Form 1176:

        (1)   Requirements of the SWMP.

        (2)   Problems that may have arisen in implementing the site specific SWMP or maintaining
              BMPs.

        (3)   Unresolved issues from inspections and concerns from last inspection

        (4)   BMPS that are to be installed, removed, modified, or maintained.

        (5)   Planned activities that will effect stormwater in order to proactively phase BMPs.

        (6)   Recalcitrant inspection findings

        All subcontractors who were not in attendance at the Environment Pre-construction conference
        shall be briefed on the project by the Engineer, Superintendent, and the SWMP Administrator prior
        to start of work. The SWMP Administrator shall record the names of these subcontractors as an
        addendum to the list of attendees, and added the SWMP Notebook.

  (f)   Items to Be Completed Prior to SW Permit Close Out.

        (1)   Reclamation of Washout Areas. After concrete operations are complete, washout areas shall
              be reclaimed in accordance with subsection 208.05(n).

        (2)   Upon completion of final stabilization the Department will perform a final site inspection of
              the project area to confirm final stabilization requirements have been met. The Department
              will issue approval in writing to the Contractor. The Contractor shall not close-out the CDPS-
              SCP until receipt of this approval.




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  208.04 Best Management Practices (BMPs) for Stormwater.

  The SWMP Administrator shall modify the SWMP to clearly describe and locate all BMPs implemented
  at the site to control potential sediment discharges.

  Vehicle tracking control shall be used at all vehicle and equipment exit points from the site to prevent
  sediment exiting the Limits of Construction (LOC) of the project site. The SWMP Administrator shall
  record vehicle tracking control pad locations on the SWMP site map.

  New inlets and culverts shall be protected during their construction. Appropriate protection of each
  culvert and inlet shall be installed immediately. When riprap is called for at the outlet of a culvert, it shall
  be installed within 24 hours of completion of each pipe. The Contractor shall remove sediment, millings,
  debris, and other pollutants from within the newly constructed drainage system in accordance with the
  CDPS-SCP, prior to use, at the Contractor’s expense. All removed sediment shall be disposed of outside
  the project limits in accordance with all applicable regulations.

  Concrete products wasted on the ground during construction shall include, but shall not be limited to:
  excess concrete removed from forms, spills, slop, and all other unused concrete are potential pollutants
  that shall be contained or protected by an approved BMP at a pre-approved containment area. The
  concrete shall be picked up and recycled in accordance with 6 CCR 1007-2 (CDPHE Regulations
  Pertaining to Solid Waste Sites and Facilities) at regular intervals, as directed. The uses of recycled
  concrete from approved recycling facilities shall be in accordance with Section 203.

  (a)   Unforeseen Conditions. The Contractor shall design and implement erosion and sediment BMPs for
        correcting conditions unforeseen during the design of the project, or for emergency situations, that
        develop during construction. The Department’s "Erosion Control and Stormwater Quality Guide"
        shall be used as a reference document for the purpose of designing erosion and sediment BMPs.
        The Contractor may install non-standard BMPs or BMPs with non-standard measures and methods
        without prior approval. The ICQM and EM shall review all non-standard BMPs. The Contractor
        shall modify and/or replace the non-standard measures and methods if found unsuitable or
        ineffective by the IQCM, EM, or the Department. All non-standard BMPs shall be documented in
        Section 5 of the SWMP Notebook.

  (b)   Other Agencies. If City and County of Denver, City of Aurora, CDPHE, US Army Corps of
        Engineers (USACE), or the Environmental Protection Agency (EPA) reviews the project site and
        requires additional measures to prevent and control erosion, sediment, or pollutants, the Contractor
        shall cease and desist activities resulting in pollutant discharge and immediately implement these
        measures. If the work may negatively affect another MS4, the Contractor shall cease and desist
        activities resulting in the discharge and shall implement appropriate measures to protect the
        neighboring MS4, including installing additional measures.

  (c)   Work Outside the Right of Way. Disturbed areas, including staging areas, which are outside CDOT
        ROW and outside easements acquired by CDOT for construction, are the responsibility of the
        Contractor. These areas may be subject to a separate CDPS-SCP, additional environmental
        clearance and/or other permits. The Contractor shall acquire these permits and submit copies to the



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        Department prior to any disturbance. These permits, shall be acquired and all erosion and sediment
        control work performed at the Contractor's expense. These areas are subject to inspections by
        CDOT or any other agency, as agreed upon in writing.

  (d)   Construction Implementation. The Contractor shall incorporate BMPs into the project as outlined in
        the accepted schedule.

  (e)   Stabilization. Once earthwork has started, the Contractor shall continue erosion BMPs until
        permanent stabilization of the area has been completed and accepted. Clearing, grubbing and slope
        stabilization measures shall be performed regularly to ensure final stabilization. Failure to properly
        maintain erosion control and stabilization methods, either through improper phasing or sequencing
        will require the Contractor to repair or replace sections of earthwork. The Contractor shall schedule
        and implement the following stabilization measures during the course of the project:

        (1)   Temporary Stabilization. At the end of each day, the Contractor shall stabilize disturbed areas
              by surface roughening, vertical tracking, or a combination thereof. Disturbed areas are
              locations where actions have been taken to alter the existing vegetation and/or underlying soil
              of a site, such as clearing, grading, road bed preparation, soil compaction, and movement and
              stockpiling of top soils. Other stabilization measures may be implemented, as approved. The
              maximum area of temporary stabilization shall not exceed 34 acres.

        (2)   Interim Stabilization. Stockpiles and disturbed areas as soon as known with reasonable
              certainty that work will be temporarily halted for 14 days or more shall be stabilized using
              one or more of the specified following methods:

              (i)    Application of 1.5 tons of mechanically crimped certified weed free hay or straw in
                     combination with an approved organic mulch tackifier.

              (ii)   Placement of bonded fiber matrix in accordance with Section 213.

              (iii) Placement of mulching (hydraulic) wood cellulose fiber mulch with tackifier, in
                    accordance with Section 213.

              (iv)   Application of spray-on mulch blanket in accordance with Section 213. Magnesium
                     Chloride, Potassium Chloride and Sodium Chloride, or other salt products, will not be
                     permitted as a stabilization method.

              Protection of the interim stabilization method is required. Reapplication may be required as
              approved.

        (3)   Summer and Winter Stabilization. Summer and winter stabilization is defined as months
              when seeding will not be permitted. As soon as the Contractor knows shutdown is to occur,
              interim stabilization shall be applied to the disturbed area. Protection of the interim
              stabilization method is required. Reapplication of interim stabilization may be required as
              directed.




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        (4)   Permanent Stabilization. Permanent stabilization is defined as the covering of disturbed areas
              with seeding, mulching with tackifier, soil retention coverings, and such non-erodible
              methods such riprap, road shouldering, etc., or a combination thereof as required by the
              Contract. Other permanent stabilization techniques may be proposed by the Contractor, in
              writing, and shall be used when approved in writing by the Department. Permanent
              stabilization shall begin within 48 hours after topsoil placement, soil conditioning, or
              combination thereof starts and shall be pursued to completion.

        (5)   Final Stabilization. Final stabilization is defined as when all ground disturbing activities at
              the site have been completed, and uniform vegetative cover has been established with an
              individual plant density of at least 70 percent of pre-disturbance levels, or equivalent
              permanent physical erosion reduction methods have been employed. The Department will
              perform a final site inspection of the project area to confirm final stabilization has been met.
              The Department will issue approval in writing to the Contractor. The Contractor shall not
              close-out the CDPS-SCP until receipt of this approval.

  (f)   Maintenance. Erosion and sediment control practices and other protective measures identified in the
        SWMP as BMPs for stormwater pollution prevention shall be maintained in effective operating
        condition until the CDPS-SCP has been closed-out. BMPs shall be continuously maintained in
        accordance with good engineering, hydrologic and pollution control practices, including removal of
        collected sediment when silt depth is 50 percent or more of the height of the erosion control device.
        When possible, the Contractor shall use equipment with an operator rather than labor alone to
        remove the sediment.

        Maintenance of erosion and sediment control devices shall include replacement of such devices
        upon the end of their useful service life as recommended by the Contractor. Maintenance of rock
        check dams and vehicle tracking pads shall be limited to removal and disposal of sediment or
        addition of aggregate. Damages resulting from failure to maintain BMPs shall be paid at the
        contactors expense.

        Complete site assessment shall be performed as part of comprehensive inspection and maintenance
        procedures, to assess the adequacy of BMPs at the site and the necessity of changes to those BMPs
        to ensure continued effective performance. Where site assessment results in the determination that
        new or replacement BMPs are necessary, the BMPs shall be installed to ensure continuous
        effectiveness. When identified, BMPs shall be maintained, added, modified or replaced as soon as
        possible, immediately in most cases.

        New or replaced BMPs will be paid for by the Contractor. Devices damaged due to the Contractor's
        negligence shall be replaced at Contractor’s expense.

        From the time seeding and mulching work begins until the date the Contract work is accepted, the
        Contractor shall maintain all seeded areas. Damage to seeded areas or to mulch materials shall be
        immediately restored. Damage to seeded areas or to mulch materials due to Contractor negligence
        shall be immediately restored at the Contractor’s expense. Restoration of other damaged areas will
        be paid for by the Contractor.


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        Temporary BMPs may be removed upon completion of the project, as determined by the Water
        Quality Partial Acceptance walk-through. If removed, the area in which these BMPs were
        constructed shall be returned to a condition similar to that which existed prior to its disturbance.
        Removed BMPs shall become the property of the Contractor.

        If a project delay occurs, the Contractor shall be responsible to continue erosion and sediment
        control operations beyond the original contract time.

        Sediment removed during maintenance of BMPs and material from street sweeping may be used in
        or on embankment, provided it meets conditions of Section 203 and is distributed evenly across the
        embankment.

        Whenever sediment collects on the paved surface, the surface shall be cleaned. Street washing will
        not be allowed. Storm drain inlet protection shall be in place prior to shoveling, sweeping, or
        vacuuming. Sweeping shall be completed with a pickup broom or equipment capable of collecting
        sediment. Sweeping with a kick broom will not be allowed.

        Material from pavement saw cutting operations shall be cleaned from the roadway surface during
        operations using a vacuum. A BMP, such as a berm, shall be placed to contain slurry from joint
        flushing operations until the residue can be removed from the soil surface. Aggregate bags, erosion

        logs or other permeable BMPs shall not be used. Residue shall not flow into driving lanes. It shall
        be removed and disposed of in accordance with subsection 107.25(b) 13. Material containment and
        removal will not be paid for separately, but shall be included in the work.

  208.05 Construction of BMPs. BMPs shall be constructed in accordance with Standard Plans M-208-1,
  M-216-1 and with the following.

  (a)   Seeding, Mulching, Sodding, Soil Retention Blanket. Seeding, mulching, sodding, and soil retention
        blanket shall be performed in accordance with Sections 212, 213, and 216.

  (b)   Erosion Bales. The bales shall be anchored securely to the ground with wood stakes.

  (c)   Silt Fence. Silt fence shall be installed in locations specified in the Contract prior to any grubbing
        or grading activity.

  (d)   Temporary Berms. Berms shall be constructed to the dimensions shown in the Contract, and
        sufficiently compacted to prevent erosion or failure. If the berm erodes or fails, it shall be
        immediately repaired or replaced at the Contractor's expense.

  (e)   Temporary Diversion. Diversions shall be constructed to the dimensions shown in the Contract, and
        graded to drain to a designated outlet. The berm shall be sufficiently compacted to prevent erosion
        or failure. If the diversion erodes or fails, it shall be immediately repaired or replaced at the
        Contractor's expense.




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  (f)   Temporary Slope Drains. Temporary slope drains shall be installed prior to installation of
        permanent facilities or growth of adequate ground cover on the slopes. All temporary slope drains
        shall be securely anchored to the slope. The inlets and outlets of temporary slope drains shall be
        protected to prevent erosion.

  (g)   Silt Berm. Prior to installation of silt berms, the Contractor shall prepare the surface of the areas in
        which the berms are to be installed such that are they free of materials greater than 2 inches in
        diameter and are suitably smooth for the installation of the silt berms, as approved. Silt berms shall
        be secured with spikes. The Contractor shall install the silt berm in a manner that will prevent water
        from going around or under the silt berm. Silt berms shall be installed on top of soil retention
        blanket.

  (h)   Rock Check Dam. Rock shall be installed at locations shown on the plans. Rock check dams shall
        conform to the dimensions shown on the plans.

  (i)   Riprap Outlet Protection. Geotextile used shall be protected from cutting or tearing. Overlaps
        between two pieces of geotextile shall be 1 foot minimum. Riprap size shall be as shown on the
        plans.

  (j)   Storm Drain Inlet Protection. Prior to installation, the Contractor shall sweep the surface of the area
        in which the storm drain inlet protection devices are to be installed such that the pavement is free of
        sediment and debris. The ends of the inlet protection Type 1 and Type 2 shall extend a minimum of
        1 foot past each end of the inlet.

        The Contractor shall remove all accumulated sediment and debris from the surface surrounding all
        storm drain inlet protection devices after each rain event or as directed. The Contractor shall
        remove accumulated sediment from Type II and III containment area when it is more than a
        maximum one third full of sediment, or as directed.

        The Contractor shall protect storm drain facilities adjacent to locations where pavement cutting
        operations involving wheel cutting, saw cutting, sand blasting, or abrasive water jet blasting are to
        take place.

  (k)   Sediment Trap. Sediment traps shall be installed to collect sediment laden water and to minimize
        the potential of pollutants leaving the project site. Locations shall be as shown on the plans or as
        directed.

        Sediment traps shall be constructed prior to disturbance of upslope areas and shall be placed in
        locations where runoff from disturbed area can be diverted into the trap.

        The area under the embankment shall be cleared, grubbed and stripped of any vegetation and roots.

        Fill material for the embankment shall be free of roots or other vegetation, organic material, large
        stones, and other objectionable material.




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        Sediment shall be removed from the trap when it has accumulated to one half of the wet storage
        depth of the trap and shall be disposed of in accordance with subsection 208.04(f).

  (l)   Erosion Logs. Erosion logs shall be embedded 2 inches into the soil. Stakes shall be embedded to a
        minimum depth of 12 inches. A shallower depth may be permitted if rock is encountered, however
        non-standard installation methods are subject to the requirements of 208.04 (a) Unforeseen
        Conditions.

        The Contractor shall maintain the erosion logs during construction to prevent sediment from
        passing over or under the logs.

  (m)   Silt Dikes. Prior to installation of silt dikes, the Contractor shall prepare the surface of the areas in
        which the silt dikes are to be installed such that they are free of materials greater than two inches in
        diameter and are suitably smooth for the installation of the silt dikes.

  (n)   Concrete Washout Structure. The concrete washout structure shall meet or exceed the dimensions
        shown on the plans or be used in accordance with manufacturer’s recommendations.

        Concrete washout structure shall conform to standard plan M-208-1 and shall meet the following
        requirements:

        (1)   Structure shall contain all washout water.

        (2)   Stormwater shall not carry wastes from washout and disposal locations.

        (3)   The site shall be located a minimum of 50 horizontal feet from State waters and shall meet all
              requirements for containment and disposal as defined in subsection 107.25.

        (4)   The site shall be signed as “Concrete Washout”.

        (5)   The site shall be accessible to appropriate vehicles.

        (6)   Freeboard capacity shall be included into structure design to reasonably ensure the structure
              will not overtop during or because of a precipitation events.

        (7)   The Contractor shall prevent tracking of washout material out of the washout structure.

        (8)   Solvents, flocculents, and acid shall not be added to wash water.

        (9)   The structure shall be surrounded on three sides by a compacted berm.

        (10) The structure shall be fenced with orange plastic construction fencing to provide a barrier to
             construction equipment and to aid in identification of the concrete washout area.

        (11) Concrete waste, liquid and solid, shall not exceed 2/3 the storage capacity of the washout
             structure.




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        Pre-fabricated concrete washout structures shall meet the following requirements:

        (1)   Structure shall contain all washout water.

        (2)   Structure shall be located 50 horizontal feet away from State waters, and shall be confined so
              that no potential pollutants will enter State waters and other sensitive areas are as defined in
              the Contract. The site shall be delineated with orange plastic fence or other means and signed
              as “Concrete Washout”.

        (3)   The site shall be accessible to appropriate vehicles.

        (4)   Freeboard capacity shall be included into structure design to reasonably ensure the structure
              will not overtop during or because of a precipitation event.

        (5)   Solvents, flocculants, and acid shall not be added to wash water.

        (6)   Concrete waste, liquid and solid, shall not exceed 2/3 the storage capacity of the washout
              structure.

        (7)   Prefabricated structures cannot be moved when they contain liquid, unless otherwise
              approved.

        (8)   The concrete washout structure shall be completed and ready for use prior to concrete
              placement operations.

        (9)   Washout areas shall be checked and maintained as required. On site permanent disposal of
              concrete washout waste is not allowed.

              All liquid and solid wastes, including contaminated sediment and soils generated from
              concrete washout shall be hauled away from the site and disposed of properly at the
              Contractor's expense.

  (o)   Vehicle Tracking Pad (VTP). Vehicle tracking pads shall be constructed to the minimum dimensions
        shown in the Contract. Dimensions of the VTP may be modified to meet site conditions, however
        non-standard dimensions are subject to the requirements of 208.04 (a) Unforeseen Conditions.
        Construction of approved vehicle tracking pads shall be completed before any disturbance of the
        area.

        The Contractor shall maintain each vehicle tracking pad during the entire time that it is in use for
        the project. The vehicle tracking pad shall be removed at the completion of the project unless
        otherwise directed by the Department. Additional aggregate may be required for maintenance and
        will be paid for by the Contractor.

  (p)   Detention Pond. Permanent detention ponds shown on the construction plans may be used as
        temporary BMPs if all the following conditions are met:




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        (1)   The pond is designated as a construction BMP in the SWMP.

        (2)   The pond outfall and outlet are designed and implemented for use as a BMP during
              construction in accordance with good engineering, hydrologic, and pollution control
              practices. The stormwater discharges from the outfall shall not cause degradation or pollution
              of State waters, and shall have BMPs, as appropriate.

        (3)   All silt shall be removed and the pond returned to the design grade and contour prior to
              project acceptance

  (q)   Aggregate Bag. Aggregate bags shall be placed on a stable surface, consisting of pavement, grass or
        gravel. Aggregate bags shall be placed to conform to the surface without gaps. Discharge water
        shall not cause erosion.

  (r)   Surface Roughening. Surface roughening creates horizontal grooves along the contour of the slope.
        Roughening may be accomplished by furrowing, scarifying, ripping or disking the soil surface to
        create a 2 to 4 inch minimum variation in soil surface. Surface roughening will not be paid for
        separately, but shall be included in the work.

  (s)   Vertical Tracking. Vertical tracking involves driving a tracked vehicle up and down the soil surface
        and creating horizontal grooves and ridges along the contour of the slope. Sandy soils or soils that
        are primarily rock need not be tracked. Vertical tracking will not be paid for separately, but shall be
        included in the work.

  208.06 Materials Handling and Spill Prevention. The SWMP Administrator shall clearly describe and
  record on the SWMP, all practices implemented at the site to minimize impacts from procedures or
  significant material that could contribute pollutants to runoff. Areas or procedures where potential spills
  can occur shall have a Spill Response Plan in place as specified in subsections 107.25(b) 6 or 208.06(c).
  Construction equipment, fuels, lubricants, and other petroleum distillates shall not be stored or stockpiled
  within 50 horizontal feet of any State waters or more if the Contractor determines necessary. Equipment
  fueling and servicing shall occur only within approved designated areas.

  (a)   Bulk Storage Structures. Bulk storage structures for petroleum products and other chemicals shall
        have impervious secondary containment or equivalent adequate protection so as to contain all spills
        and prevent any spilled material from entering State waters. Secondary containment shall be
        capable of containing the combined volume of all the storage containers plus at least 10 percent
        freeboard. For secondary containment that is used and may result in accumulation of stormwater
        within the containment, a plan shall be implemented to properly manage and dispose of all
        accumulated stormwater which is deemed to be contaminated (e.g., has an unusual odor or sheen).

  (b)   Lubricant Leaks. The Contractor shall inspect equipment, vehicles, and repair areas daily to ensure
        petroleum, oils, and lubricants (POL) are not leaking onto the soil or pavement. Absorbent material
        or containers shall be used to prevent leaking POL from reaching the soil or pavement. The
        Contractor shall have onsite approved absorbent material or containers of sufficient capacity to
        contain any POL leak that can reasonably be foreseen. The Contractor shall inform all Spill




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        Response Coordinators in accordance with the Spill Response Plan if unforeseen leakage is
        encountered. All materials resulting from POL leakage control and cleanup shall become the
        property of the Contractor and shall be removed from the site. Control, cleanup, and removal of by-
        products resulting from POL leaks shall be performed at the Contractor's expense.

  (c)   Spill Response Plan. A spill Response Plan shall be developed and implemented to establish
        operating procedures for handling potential pollutants and preventing spills.

        The Response Plan shall contain the following information:

        (1)   Identification and contact information of each Spill Response Coordinator

        (2)    Locations of areas on project site where equipment fueling and servicing operations are
              permitted.

        (3)   Location of cleanup kits.

        (4)   Quantities of chemicals and locations stored on site.

        (5)   Label system for chemicals and Safety Data Sheets (SDS) for products.

        (6)   Clean up procedures to be implemented in the event of a spill that does not enter State waters
              or ground water.

        (7)   Procedures for spills of any size that enter surface waters or ground water, or have the
              potential to do so. CDOT’s Erosion Control and Stormwater Quality Guide contains Spill
              notification contacts and phone numbers required in the Spill Response Plan.

        (8)   A summary of the employee training provided.

        Information in items (1) through (8) shall be updated in the SWMP Notebook when they change.

  208.07 Stockpile Management. Material stockpiles shall be located 50 horizontal feet away from State
  waters, and shall be confined so that no potential pollutants will enter State waters and other sensitive
  areas as defined in the Contract

  Erodible stockpiles (including topsoil) shall be contained with acceptable BMPs at the toe (or within 20
  feet of the toe) throughout construction. The SWMP Administrator shall describe, detail, and record the
  sediment control devices on the SWMP.

  208.08 Limits of Disturbance. The Contractor shall limit construction activities to those areas within the
  limits of disturbance shown on the plans and cross-sections. Construction activities, in addition to the
  Contract work, shall include the on-site parking of vehicles or equipment, on-site staging, on-site batch
  plants, haul roads or work access, and all other action which would disturb existing soil conditions.




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  Construction activities beyond the limits of disturbance due to Contractor negligence shall be restored to
  the original condition by the Contractor at the Contractor’s expense. The SWMP Administrator shall
  tabulate additional disturbances not identified in the CDPS-SCP application and indicate changes to
  locations and quantities on the SWMP. The Contractor shall report the changes and additional
  disturbances to the IQC, EM, the Department, Water Quality Control Division of CDPHE and all other
  involved agencies.

  The Contractor shall pursue and stabilize all disturbances to completion.

  208.09 Failure to Perform Erosion Control. Failure to implement the Stormwater Management Plan is
  a violation of the CDPS–SCP and CDOT specifications. The Department is obligated to implement
  enforcement mechanisms in accordance with CDOT’s MS4 Permit COS000005 for Stormwater
  Management and erosion control Best Management Practices. Penalties may be assessed to the Contractor
  by the appropriate agencies. Penalties will be assessed by the Department as Noncompliance Points in
  accordance with Schedule 6 (Performance Mechanism). All fines assessed to the Department for the
  Contractor’s failure to implement the SWMP will be deducted from moneys due the Contractor in
  accordance with Schedule 6 (Performance Mechanism).

  Noncompliance Points will be applied for failure to comply with the CDPS-SCP and the Construction
  Standards, including the following:

  (1)   Failure to include erosion control in the project schedule or failure to include erosion control in
        each schedule update as specified in subsection 208.03(b).

  (2)   Failure of the Contractor to perform the inspections required by subsection 208.03(c) 2.

  (3)   Failure of the Contractor to implement necessary actions required by the Engineer as required by
        subsection 208.03(c).

  (4)   Failure to amend the SWMP and implement BMPs as required by subsection 208.04.

  (5)   Failure to keep documentation and records current.

  (6)   Failure to construct or implement erosion control or spill containment measures required by the
        Contract, or failure to construct or implement them in accordance with the Contractor’s approved
        schedule as required by subsection 208.06(c).

  (7)   Failure to limit temporary stabilization to 34 or fewer acres as required by subsection 208.04 (e).

  (8)   Failure to replace or perform maintenance on an erosion control feature after notice from the
        Department or from a water quality inspection as required by subsection 208.04(f).

  (9)   Failure to remove and dispose of sediment from BMPs as required.




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  (10) Failure to install and properly utilize a concrete washout structure for containing washout from
       concrete placement operations.

  (11) Failure to perform stabilization as required by subsection 208.04 (e).

  (12) Failure of the Superintendent or designated representative to attend inspections as required by
       subsection 208.03(c) and record findings in the appropriate form.

  (13) Failure to prevent discharges not composed entirely of stormwater from leaving the Construction
       Site.

  (14) Failure to provide the survey of Permanent Water Quality BMPs when required on the project in
       accordance with 208.10.

  If systemic Nonconforming Work associated with failure to perform erosion control is identified by the
  Developer or identified by the Department by the issuance of a corrective action request (CAR) notice to
  the Developer, the Developer shall submit a Corrective Action Plan for Approval to the Department as
  required by Schedule 8 (Project Administration).




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                              REVISION OF SECTION 240
                          PROTECTION OF MIGRATORY BIRDS
               BIOLOGICAL WORK PERFORMED BY THE CONTRACTOR’S BIOLOGIST
  Section 240 is hereby added to the Standard Specifications as follows:
                                               DESCRIPTION
  240.01 The Contractor shall schedule clearing and grubbing operations and Work on structures to avoid
  taking (pursue, hunt, take, capture or kill; attempt to take, capture, kill or possess) migratory birds
  protected by the Migratory Bird Treaty Act (“MBTA”). The Contractor shall retain a qualified wildlife
  biologist for this Project. The wildlife biologist shall have a minimum of three years of experience
  conducting migratory bird surveys and implementing the requirements of the MBTA. The Contractor
  shall submit documentation of the biologist’s education and experience.
  The wildlife biologist shall survey the location of each protected nest, bird species, the protection method
  used, and the date installed. A copy of these records shall be submitted to the Department for acceptance.
  (a)   Vegetation Removal.
        When possible, vegetation shall be cleared prior to the time when active nests are present.
        Vegetation removal activities shall be timed to avoid the migratory bird breeding season which
        begins on April 1 and runs to August 31. All areas scheduled for clearing and grubbing between
        April 1 and August 31 shall first be surveyed within the Work limits for active migratory bird nests.
        The Contractor’s wildlife biologist shall also survey for active migratory bird nests within 50 feet
        outside work limits. The Contractor’s personnel shall enter areas outside the Right-of-Way in
        accordance with (e) Permission to Enter Property. The Contractor shall avoid all active migratory
        bird nests. The Contractor shall avoid the area within 50 feet of the active nests or the area within
        the distance recommended by the wildlife biologist until all nests within that area have become
        inactive. Inactive nest removal and other necessary measures shall be incorporated into the Work as
        follows:
        1.    Tree and Shrub Removal or Trimming. Tree and shrub removal or trimming shall occur
              before April 1 or after August 31 if possible. If tree and shrub removal or trimming must
              occur between April 1 and August 31, a survey for active nests shall be conducted by the
              wildlife biologist within the seven Calendar Days immediately prior to the beginning of Work
              in each area of tree and shrub removal or trimming. The survey shall be conducted for each
              phase of tree and shrub removal or trimming.
        2.    If an active nest containing eggs or young birds is found, the tree or shrub containing the
              active nest shall remain undisturbed and protected until the nest becomes inactive. The nest
              shall be protected by placing fence (plastic) a minimum distance of 50 feet from each nest to
              be undisturbed. This buffer dimension may be changed if determined appropriate by the
              wildlife biologist and Approved by the Department. Work shall not proceed within the fenced
              buffer area until the young have fledged or the nests have become inactive. If the fence is
              knocked down or destroyed by the Contractor, the Department will suspend the Work, wholly
              or in part, until the fence is satisfactorily repaired at the Contractor’s expense. Time lost due
              to such suspension will not be considered a basis for adjustment of time charges, but will be
              charged as contract time.




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  (b)   Surveys
        1.    Due to the potential for encountering ground nesting birds’ habitat, if Work occurs between
              April 1 and August 31, the area shall be surveyed by the Contractor’s wildlife biologist
              within the seven Calendar Days immediately prior to ground disturbing activities.
        2.    The wildlife biologist shall conduct dusk and dawn surveys of Bald Eagle roosts within seven
              Calendar Days prior to the start of any Construction during the winter season, November 15
              to March15. If a Bald Eagle roost is identified, Construction activity shall not proceed within
              0.25 mile of active nocturnal roost sites between November 15 and March 15.
        3.    The wildlife biologist shall conduct raptor nest surveys within 0.5 mile of the Site prior to the
              start of Construction and annually during the appropriate season. This survey can be done
              with binoculars. If Construction activities are located within the CPW recommended buffer
              zone for specific raptors, “NO WORK” zones shall be established around active sites during
              Construction according to the CPW standards or as recommended by the wildlife biologist in
              consultation with the CPW. The “NO WORK” zone shall be marked with either fencing or
              signing. Work shall not proceed within a “NO WORK” zone until the wildlife biologist has
              determined that the young have fledged or the nest is unoccupied.
  (c)   Work on structures
        1.    The Contractor shall prosecute Work on structures in a manner that does not result in a taking
              of migratory birds protected by the Migratory Bird Treaty Act (“MBTA”). The Contractor
              shall not prosecute the Work on structures during the primary breeding season, April 1
              through August 31, unless he takes the following actions:
              A.    The Contractor shall remove existing nests after August 31 and prior to April 1 of the
                    following year.
              B.    During the time that the birds are trying to build or occupy their nests, between April 1
                    and August 31, the Contractor shall monitor the structures at least once every three
                    Calendar Days for any nesting activity.
              C.    If the birds have started to build any nests, they shall be removed before the nest is
                    completed. Water shall not be used to remove the nests if nests are located within 50
                    feet of any surface waters.
              D.    Installation of netting may be used to prevent nest building. The netting shall be
                    monitored and repaired or replaced as needed. Netting shall consist of a mesh with
                    openings that are ¾ inch by ¾ inch or less.
        2.    If an active nest become established, i.e., there are eggs or young in the nest, all Work that
              could result in abandonment or destruction of the nest shall be avoided until the young have
              fledged or the nest is unoccupied as determined by the wildlife biologist and Approved by the




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                          PROTECTION OF MIGRATORY BIRDS
             BIOLOGICAL WORK PERFORMED BY THE CONTRACTOR’S BIOLOGIST
              Department. The Contractor shall prevent construction activity from displacing birds after
              they have laid their eggs and before the young have fledged.
        3.    If the Project continues into the following spring, this cycle shall be repeated. When Work on
              the structure is complete, the Contractor shall remove and properly dispose of netting used on
              the structure.
  (d)   Taking of a Migratory Bird
        The taking of a migratory bird shall be reported to the USFWS and the Department. The Contractor
        shall be responsible for all penalties levied by the USFWS for the taking of a migratory bird.
  (e)   Permission to Enter Property
        CDOT Form 730, Permission to Enter Property, shall be obtained by the Contractor to facilitate the
        wildlife biologist’s ground surveys within adjacent property within 50 ft. of Work limits, where the
        Contractor’s wildlife biologist has determined ground nesting bird habitat may be present. If
        Permission to Enter Property is denied by a property owner, the Contractor shall record the denial
        and place the record in the Project file to document that due diligence was pursued.




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                                    SECTION 250
                   ENVIRONMENTAL, HEALTH AND SAFETY MANAGEMENT

  Section 250 of the Standard Specifications is hereby deleted for this project and replaced with the
  following:

                                              DESCRIPTION

  250.01 This work consists of protection of the environment, persons, and property from contaminants
  that may be encountered on the Project. This includes monitoring the work for encounters with
  contaminants or suspected soil and groundwater contaminants; the management of solid, special, and
  hazardous waste; and management of visual emissions associated with hazardous waste, when
  encountered on the project.

  250.02 The Contractor shall furnish all personnel, materials, equipment, laboratory services and traffic
  control necessary to perform the contamination monitoring, testing, and site remediation when required.
  Traffic control shall be in accordance with the requirements of Section 630.

  Monitoring equipment used to detect flammable gas, oxygen level, and toxic gas shall be capable of
  detection to meet the following standards:

                                           Instrument Detection
           Constituent                       Threshold Limit                         Increments
          Flammable Gas                          1% LEL                                  1%
              Oxygen                               19%                                  0.1%
             Toxic Gas                            1 PPM                                1 PPM
  LEL = lower explosive limit
  PPM = parts per million


                                  CONSTRUCTION REQUIREMENTS
  250.03 General. Prospective bidders, including subcontractors, are required to review the environmental
  documents available for this project included in Schedule 29 (Reference Documents).

  This project is in the vicinity of property associated with petroleum products, heavy metal based paint,
  landfill, buried foundations, abandoned utility lines, industrial area or other sites which can yield
  Hazardous Substances or produce dangerous gases. These Hazardous Substances or gases can migrate
  within or into the construction area and could create hazardous conditions. The Contractor shall use
  appropriate methods to reduce and control known landfill materials, industrial gases, and visible
  emissions from asbestos encounters and hazardous substances which exist or migrate into the construction
  area. The Contractor shall follow CDOT’s Regulated Asbestos Contaminated Soil Management Standard
  Operating Procedure, dated October 20, 2016 for proper handling of asbestos-contaminated soil, and
  follow all applicable Solid and Hazardous Waste Regulations for proper handling of soils encountered
  that contain any other substance mentioned above.

  Encountering suspected contaminated material, including groundwater, old foundations, building
  materials, demolition debris, or utility lines that may contain asbestos or be contaminated by asbestos, is
  possible at some point during the construction of this project. When suspected contaminated material,
  including groundwater, is encountered or brought to the surface, the procedures under subsection
  250.03(d) and 250.05 shall be followed.


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  Transportation of waste materials on public highways, streets and roadways shall be done in accordance
  with Title 49, Code of Federal Regulations (C.F.R.). All labeling, manifesting, transportation, etc. of
  waste materials generated on this project shall be coordinated with the Department. All hazardous waste
  manifests for waste materials generated on this project shall list the Colorado Department of
  Transportation as the generator of the waste materials except as otherwise noted. If the Contractor
  contaminates the site, the Contractor shall be listed as the generator on the hazardous waste manifests,
  permits, and other documents for such material.

  If waste materials must be handled in a permitted treatment, storage and disposal (TSD) facility, the
  facility shall be coordinated with the Department. The hazardous waste transportation phase of the work
  involves insurance required by law and regulations. If the waste materials are determined to be hazardous,
  the Contractor must submit proof that the transportation company is covered by the appropriate type and
  amount of insurance required by laws and regulations governing the transportation of hazardous waste.

  The Contractor alone bears the responsibility for determining that the work is accomplished in strict
  accordance with all applicable federal, state and local laws, regulations, standards, and codes
  governing special waste, petroleum and hazardous substance encounters and releases.

  A Health and Safety Officer, Monitoring Technician, and Health and Safety Plan (HASP) are
  required in accordance with Section 23.21.2, 23.21.3 and 23.11 of Schedule 17, respectively.

  (a)   Health and Safety Officer (HSO). The Contractor shall designate a HSO in accordance with Section
        23.21.2 of Schedule 17. The HSO can delegate task to their designee as long as the designee meets
        the training and certification requirements stated above for the HSO.

        The HSO shall be equipped with the following:

        1.    Communication equipment as required in subsection 250.03(d)2.A. and a vehicle.

        2.    Monitoring and detection equipment for flammable gas, oxygen sufficiency, toxic gas,
              radiological screening and other hazards. This includes, as required, a combustible gas
              indicator, flame ionization or photo ionization detector, oxygen meter, radiation monitor with
              Geiger Mueller detector and other foreseeable equipment.

        3.    Depth gauging equipment, sampling equipment and sampling containers.

        4.    Personal protective equipment (PPE), when required. PPE must be selected which will
              provide protection from the specific hazards which are likely to be encountered during work
              on the project.

        The HSO shall recommend and supervise those actions which will minimize the risk of Hazardous
        Substance related injury to the workers, Department personnel, the general public, property and the
        environment. The HSO shall prepare written procedures for the monitoring of confined space entry
        and working in or near excavations, including but not limited to trenches and drill holes associated
        with this project. The HSO shall ensure that all hazardous substance and solid waste related testing,
        sampling, monitoring and handling for this project to ensure compliance with applicable statutes




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        and regulations, and other applicable environmental requirements under subsections 107.01 and
        107.02.

        The HSO shall be available for consultation and assistance with contaminated materials related
        testing, sampling, and field monitoring as required on the project.

        The HSO shall prepare a daily diary which shall be submitted to the Department on a monthly
        basis in the Monthly Statement of Recognized Hazardous Materials Management. The diary shall
        contain a chronological log of activities on the project including: dates and times on site,
        equipment used and calibrations, field monitoring results, visual observations, conversations,
        directives both given and received related to health and safety.

  (b)   Monitoring Technician (MT). The Contractor shall designate monitoring technicians to be
        responsible for monitoring of Hazardous Substances during work on the project in accordance
        with Section 23.21.3 of Schedule 17. The MT shall have a minimum of two years of actual field
        experience in assessment and remediation of hazardous substances that may be encountered
        during highway construction projects. The MT shall be experienced in the operation of monitoring
        devices, identifying substances based upon experience and observation, and field sampling (for
        testing) of all media that may be found on the site. Completion of the 40 hour hazardous waste and
        8 hour supervisory training required by OSHA and U.S. EPA rules and regulations, which
        complies with the accreditation criteria under the provisions of the proposed 29 C.F.R. 1910.121 is
        required prior to beginning work. The Contractor shall furnish documentation at the
        Preconstruction Conference that demonstrates these requirements have been met.

        The MT shall be equipped with the following:

        1.    Communication equipment as required in subsection 250.03(d)2.A. and a vehicle.

        2.    Monitoring and detection equipment for flammable gas, oxygen sufficiency, toxic gas,
              radiological screening and other hazards. This includes, as required, a combustible gas
              indicator, flame ionization or photo ionization detector, oxygen meter, radiation monitor with
              Geiger Mueller detector and other foreseeable equipment.

        3.    Personal protective equipment, when required. PPE must be selected which will provide
              protection from the specific hazards which are likely to be encountered during work on the
              project.

        The MT shall be present on site and perform monitoring as required by 250.03(d) when work is
        being performed in areas of known or suspected Hazardous Substances.

        The MT shall monitor for compliance with regulations, the project Health and Safety Plan and the
        Materials Management Plan, the Contract, and the environmental documents for the project. The
        MT shall immediately notify the Environmental Manager and the HSO of any hazardous condition.

  (c)   Health and Safety Plan (HASP). The HSO shall prepare a written HASP for the project focused
        on Hazardous Substances, formatted as shown in Appendix B, Occupational Safety and Health
        Guidance Manual for Hazardous Waste Site Activities, DHHS (NIOSH) Publication Number 85-


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        115, available from the Superintendent of Documents, U.S. Government Printing Office,
        including all applicable sections from 29 C.F.R. 1910 and 29 C.F.R. 1926.

        Within five calendar days after Acceptance by the Department, the HSO shall distribute signed
        and stamped (or sealed) copies of the accepted HASP to each emergency response agency
        servicing the project area and the HASP designated emergency hospital. Earth or demolition work

        shall not occur until after the HASP is accepted and the HASP has been distributed. The HASP
        shall also be available to the Contractor’s employees, their representatives, and officials of OSHA,
        EPA, Colorado Department of Public Health and Environment (CDPHE), local government health
        department, Federal Highway Administration, and other appropriate agencies, as requested. The
        Contractor will distribute the accepted HASP to appropriate Department personnel. The HASP
        shall be kept current and shall be revised by the HSO as warranted by changes in the field
        conditions.

        All on-site workers (Contractor’s, Department’s, Utilities’, and others) shall be briefed by the
        HSO on the contents of the HASP and any revisions thereof. The HSO shall conduct briefings
        (group or individual) to inform all new employees, subcontractors, utility companies and other on-
        site workers of the HASP contents prior to their entry on site. All personnel involved in
        excavation or other soil disturbing activities shall receive the required two-hour Asbestos
        Awareness training by a Certified Asbestos Inspector, when asbestos discoveries are anticipated,
        or discoveries are made.

        A signature log of all briefing attendees shall be kept and provided in the Environmental Status
        Report (see Schedule 17, Section 4).

        The Contractor shall provide, as required, eye wash equipment and stations, emergency showers,
        hand and face washing facilities and first aid equipment.

        The Contractor shall provide, as required, decontamination facilities for personnel and equipment
        employed in the work. The exact procedure for decontamination and frequency shall be included
        in the accepted HASP. Decontamination facilities shall meet the criteria set forth in the Code of
        Federal Regulations (29 C.F.R. and 40 C.F.R.).

  (d)   Precautions and Procedures. The following minimum precautions and procedures shall be
        followed during the construction of the project:

        1.       General construction precautions:

             A. All monitoring and piezometer wells and test borings shall be established or abandoned by
                the Contractor as regulated by the State Engineer’s Office. Copies of all required permits,
                notification, and abandonment documents shall be submitted to the Department as part of the
                Monthly Statement of Recognized Hazardous Materials Management.

             B. The Contractor shall properly handle all investigation derived waste generated by this
                project. Documentation shall be submitted to the Department as part of the Monthly
                Statement of Recognized Hazardous Materials Management of all tests performed for


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             TSD determination; classification of waste; hauling records; TSD acceptance; manifest
             (if required); etc. in accordance with applicable laws and regulations.

       2.    For construction on a known or potentially contaminated site, the following conditions shall
             apply, in addition to those listed in subsection 250.03(d)1:

             A.   The HSO, or their designee identified in the HASP, shall be on site or readily available
                  by radio, telephone or pager at all times during the work. When on site, the HSO, or
                  their designee identified in the HASP, shall have an operational portable or mobile


                  cellular telephone available for immediate use in areas where such service is available.
                  When on site in cellular telephone non-service areas, the HSO, or their designee
                  identified in the HASP, shall have available, for immediate use, radio access to a site
                  with telephone service. The HSO shall be notified at least 24 hours prior to the start of
                  confined space entry, storage tank removal, drilling, excavation, trenching, or
                  dewatering operations.

             B.   The HSO shall designate the onsite monitoring equipment for flammable gases, oxygen
                  deficient or enriched atmosphere, and toxic gases, such as but not limited to, a flame
                  ionization detector, photoionization detector, combustible gas indicator, and oxygen
                  meter. This designated equipment shall be on site during all construction operations
                  and be utilized during trenching, drilling, excavating, confined space entry,
                  underground storage tank removal, and other appropriate construction operations. The
                  exact equipment to fulfill this requirement shall be specified in the accepted HASP.
                  The HSO, or their designee identified in the HASP, shall conduct or supervise the
                  monitoring. The monitoring equipment shall be calibrated as recommended by the
                  manufacturer.

             C.   When drilling, trenching, or excavating in the presence of detectable concentrations of
                  explosive gases, the soil shall be wetted and the operating equipment shall be provided
                  with spark proof exhausts.

             D.   The Contractor, through the HSO, is responsible for ensuring that 29 C.F.R. 1926 is
                  fully complied with during the construction of the project.

             E.   Affected excavation operations shall be discontinued and personnel shall be removed
                  from the affected excavation sites where any of the following levels are detected:

                  (1)   20.0 percent or more LEL flammable gas, or 10.0 percent in an underground or
                        confined space,

                  (2)   Permissible Exposure Limit (PEL) of any toxic gas,

                  (3)   19.5 percent or less oxygen,

                  (4)   25.0 percent or more oxygen,


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                  (5)   Greater than 2 mrem/hr. (Beta particle & photon radioactivity),

                  (6)   Greater than 15 pCi/L (Gross alpha particle activity), or

                  (7)   Other action levels as determined by the HSO.

                  (8)   Uncovering of suspect Asbestos Containing Material (ACM), including but not
                        limited to, buried facility components, active or abandoned utility lines, buried
                        foundations and demolition debris, or miscellaneous ACM dispersed in the soil.
                        The Contractor shall follow the procedures outlined in the CDOT’s Regulated
                        Asbestos Contaminated Soil Management Standard Operating Procedure, dated
                        October 20, 2016, HASP and 29 C.F.R. 1926 to address these conditions.

             F.   Personnel shall be issued and utilize appropriate Health and Safety equipment as
                  determined by the HSO.

             G.   Personnel shall avoid the area immediately downwind of any excavation unless the
                  excavation is monitored and declared safe.

             H.   The operators of excavating, trenching, or drilling equipment shall wear appropriate
                  PPE as required in the HASP.

             I.   Exhaust blowers shall be present at the location where required in the accepted HASP.

             J.   The Contractor shall accomplish the work with employees who have been trained and
                  equipped as required by the HASP and applicable provisions of 29 C.F.R. 1910 and 29
                  C.F.R. 1926.

             K.   Fire extinguishers, electrical equipment and wiring shall conform to the applicable
                  requirements of 29 C.F.R. 1926 and 49 C.F.R..

             L.   Smoking shall not be permitted within 50 feet of any excavation.

       3.    For construction within 1000 feet of a known or potentially contaminated site, the following
             conditions, in addition to those listed in subsection 250.03(d) shall apply:

             A.   The areas under construction shall be checked with a combustible gas indicator before
                  excavation begins to determine if flammable or combustible gas is in the area.

             B.   Excavations, trenches and drill holes shall be monitored by the HSO, or their designee
                  identified in the HASP, for flammable gas, toxic gas and oxygen deficiency or
                  enrichment. This shall be carried out continuously unless the presence of flammable,
                  combustible or toxic gas, or oxygen deficiency or enrichment in the area can be ruled
                  out by the HSO, or their designee identified in the HASP.

             C.   When flammable or toxic gas is found in the area, those precautions and procedures in
                  subsection 250.03(d)2 shall apply.



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  250.04 Heavy Metal Based Paint Management. When the work includes the removal of paint or items
  covered with paint which may contain lead, chromium or other heavy metals, the requirements of this
  subsection shall apply in addition to the requirements of subsection 250.03.

  The requirements of the HASP shall be in accordance with OSHA Publication Number 3142,
  Working with Lead in the Construction Industry.

  Paint Removal and Waste Disposal work shall be performed in accordance with 29 C.F.R. 1926.62, State
  and local air quality regulations, the Steel Structures Painting Council (SSPC) Guide for Containing
  Debris Generated During Paint Removal Operations, the Industrial Lead Paint Removal Handbook
  (SSPC 91-18), and the references contained therein.

  The following minimum precautions and procedures shall be followed unless modified in the
  approved HASP or its updates:

        The Contractor shall contact the CDPHE, Air Pollution Control Division to ascertain if an air
        pollution permit is required for the cleaning or demolition work. If an air pollution permit is
        required, the Contractor shall obtain the permit. The Contractor shall furnish the Department with a
        copy of the permit application and the permit issued prior to starting cleaning or demolition
        activities. A copy of the Air Pollution Emission Notice (APEN) shall be provided to the
        Department, if such notice is required under the Colorado Air Quality Control Commission’s
        regulations. The processing of air pollution permits in non-attainment areas, or where public
        hearings are required, likely will take more than 90 days.

  (a)   The Contractor shall contain paint chips, corrosion residues, and spent abrasives, herein referred to
        as waste materials, resulting from the cleaning or demolition operations. The Contractor shall not
        deposit or release waste material into the water, air or onto the ground below or adjacent to the
        structure. The Contractor shall conduct cleaning operations to minimize the waste materials
        produced. Prior to beginning the work, the Contractor shall submit to the Department for
        acceptance, a detailed methods statement for capturing, testing, and disposing of the removed
        materials.

  (b)   Abrasives utilized for blast cleaning shall be low-dusting and low waste. Unless approved
        otherwise, vacuum blasting or wheel blasting shall be used.

  (c)   The Contractor shall sample and test the waste material for lead, chromium, and other paint
        associated heavy metals using the Toxicity Characteristic Leaching Procedure (TCLP) Test,
        Method 1311 of the EPA publication, Test Methods for Evaluating Solid Waste 846. Sample
        collection methodology and frequency shall be defined in the Sampling and Analysis Plan (see
        Section 23.10 of Schedule 17) with an adequate number of samples taken to be representative of all
        waste material collected. If the waste material does not pass the TCLP test, it shall be disposed of in
        a permitted TSD facility as designated in writing by the Department. The waste materials handling,
        including a description of sample collection methodology, testing performed, test results and
        comparison of test results with hazardous waste requirements shall be documented in the Monthly
        Statement of Regulated Hazardous Materials Management and Recognized Hazardous Materials
        Completion Report. The waste material shall not be held at an unpermitted TSD facility site in
        excess of Resource Conservation and Recovery Act (RCRA) temporary storage time limits.


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  (d)   When an item coated with paint is removed, all loose paint shall be removed and collected from the
        item within 24 hours of the time it is removed or placed onto the ground. All loose paint shall be
        removed and collected from a painted item before it is removed from the site. The Contractor shall
        contain loose paint until it is removed and collected. Loose paint is defined as that which can be
        removed by manual scraping methods. Over waterways, the Contractor shall capture all paint debris
        by the method specified in the methods statement. The paint debris shall be collected on a daily
        basis and shall be stored in a properly labeled, tightly sealed container and placed in a secured
        location at the end of each working day.

  (e)   All painted steel components which are not designated to be salvaged shall be recycled. Contractor
        possession of the steel for future use shall be considered a form of recycling. Prior to transport of
        the components off-Site, the Contractor shall obtain a letter from the recipients of the painted steel
        components stating that they have been fully informed of the contents of the paint and are capable
        of handling the paint. If the Contractor is to maintain future possession of the steel, the Contractor
        shall supply this letter. If there will be more than one recipient of the painted material, one letter
        shall be obtained from each recipient. The Contractor shall provide a copy of each letter to the
        Department. If the painted steel components will be recycled by melting, the letter from the
        recipient is not required. The Contractor shall submit a letter stating the destination of the painted
        steel components and that they will be melted.

  (f)   When the work consists of the removal of a bridge or components of a bridge coated with paint
        which has been assumed to contain lead, chromium, other heavy metals, or a combination thereof
        the Contractor shall capture paint debris which is dislodged during removal operations. The
        Contractor may choose any method for dismantling the bridge, subject to the following required
        construction sequence limitations:

        1.    The concrete deck shall be removed prior to removal of the steel superstructure.

        2.    If the methods statement indicates that girders will be dropped to the ground during
              dismantling, all debris from the concrete deck removal operation shall be removed from the
              area below the bridge before any girders are dropped into this area.

        3.    Girders may be cut and dropped only if the span is located entirely over land.

  250.05 Material Handling. This work consists of the additional handling of groundwater and soils to be
  excavated for construction of the project which are suspected or known to be contaminated. This work
  also includes stockpiling or containerization, analytical sampling and testing, and final disposition of
  contaminated groundwater and soils requiring special handling.

  There is the potential of encountering contaminated groundwater and soil, which has not been
  summarized in the plans or specifications, at unknown locations on the site. Suspected contaminated soil
  and groundwater shall be handled as follows:

  (a)   Materials Handling (Stockpile& Containerization). The Beneficial Reuse and Materials
        Management Plan defines the requirements for reusing soils on site. Health and safety monitoring
        and strict fugitive dust control shall be conducted during the placement of these soils. If analysis
        indicates that groundwater samples are designated as uncontaminated, as determined by the


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        criteria shown in the Contract or as determined by the CDPHE, the groundwater shall be handled
        in accordance with subsection 107.25.

        Stockpiled and containerized materials shall be secured in compliance with the following
        provisions until they are determined to be uncontaminated:

        1.    The Contractor shall not store the material for more than 90 days.

        2.    The Contractor shall prevent any runoff from infiltrating the ground or running out of the
              containment area.

        3.    Soils and groundwater containing different contaminants shall be placed in separate
              containers or stockpiles.

        4.    The Contractor shall prevent the dispersion of materials or the dilution or mixing of
              containers and stockpiles.

              The ground surface on which the contaminated soils will be placed shall be covered with
              plastic sheeting which will withstand the placement and removal of stockpiled materials
              without breaching. Alternatively, the Developer may place impacted soils, that are not
              saturated with any contaminant or water, on six inches of clean fill to eliminate the plastic
              sheeting. Upon final disposition of the stockpile, the six inches must be removed with the
              stockpile in accordance with the stockpile disposition; however, the disposal of the six inches
              of soil is considered incidental since it is a means and methods decision and shall not be
              included in any Supervening Event Submission.

        5.    The ground surface shall be graded to drain toward the edge of the soil piles and the berm or
              trench around them shall be covered by plastic sheeting.

        6.    Proper security shall be provided in accordance with 40 C.F.R..

  (b)   Solid Waste Disposal. Soils determined to be contaminated and not allowed to be reused on the
        project, but not hazardous, as established by criteria in the Contract or as determined by CDPHE
        or other regulatory agencies having jurisdiction, shall be handled and disposed of in accordance
        with all applicable Environmental Laws. The Contractor shall haul this material to a solid waste
        disposal facility.

  (c)   Contaminated Groundwater Disposal. Groundwater determined to be contaminated as established
        by CDPHE or other regulatory agencies having jurisdiction, shall be handled and disposed of in
        accordance with all applicable Environmental Law.

  (d)   Hazardous Waste Disposal. Soils and groundwater that are designated or suspected to be
        hazardous shall be containerized immediately upon excavation or upon discovery. Confirmed
        Hazardous Waste shall be labeled and transported to a permitted TSD facility or to a hazardous
        waste disposal facility approved by the Department.




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  (e)    Additional Requirements. Stockpiled or containerized material characterized as uncontaminated,
         contaminated or hazardous shall be stored and disposed of in a manner consistent with current
         established federal, state, and local regulations for waste materials.

        Materials with contaminants not specifically regulated shall be disposed of by the Contractor as
        directed, in consultation with CDPHE. All areas where wastes are generated shall be reviewed by
        the Environmental Manager and HSO to identify potential contaminant sources that may result in a
        contaminated waste stream.

        Contaminated groundwater and soils, which have been identified as solid waste or hazardous
        waste, requiring disposal according to federal, state, and local regulations, shall be transported in
        accordance with 49 C.F.R. by the Contractor to an appropriately permitted treatment facility,
        landfill, incinerator or asphalt plant or other facility approved to accept the waste. CDPHE and the
        landfill or other treatment or disposal facility shall be notified by the Environmental Manager or
        HSO of the material to be disposed of and the corresponding analytical test results prior to
        shipment, if required. Potentially contaminated water collected from the lined trench of a stockpile
        shall be treated as required by Colorado Wastewater Discharge Permit System (CDPS) permits, 29
        C.F.R. and 40 C.F.R..

  250.06 Sample delivery. This work consists of the collection, containerization and delivery of material
  samples for analysis to the testing facility designated in the Contract.

  Environmental Protection Agency (EPA) protocol and standards shall be followed in the collection,
  containerization and transport of samples to be analyzed, including the documentation of the proper chain
  of custody of all samples. The Contractor shall collect sufficient sample material to perform the required
  analysis and is responsible for ensuring that appropriate climate control has been provided for sample
  transport. Sample delivery shall be made within the maximum allowable holding time for each sample
  type, not to exceed 24 hours, excluding weekends. The time period required for sample collection and
  delivery to the testing facility will not be considered an excusable delay.

  The Contractor shall provide the Department with a copy of documentation indicating that proper chain of
  custody requirements have been followed for all samples.

  The Department may request splits of samples, in advance of collection, which shall be provided at no
  additional cost by the Contractor.

  250.07 Asbestos-Containing Material Management. Known or suspected locations that could involve
  encounters with ACM during excavation and other soil disturbing construction activities are identified in
  the (Reference Documents) (Schedule 29). Unexpected discoveries of ACM may be made during
  excavation and soil disturbing construction activities. When any discarded material is encountered that
  contains or consists of any of the following: construction, renovation and demolition debris (regardless of
  how it was generated), building or facility components, components of building systems (HVAC,
  plumbing, electrical, control, fire protection, roofing), components of pavement or drainage systems,
  industrial or machinery components, and/or mechanical components from motorized vehicles, the
  Developer shall conduct inspections in accordance with CDPHE Section 5.5 of the Solid Waste
  Regulations to determine whether such debris is regulated asbestos contaminated soil. Asbestos
  contaminated soil, shall be properly managed or remediated, in accordance with subsection 250.07(a) and


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  the CDOT Regulated Asbestos Contaminated Soil Management Standard Operating Procedure, dated
  October 20, 2016.

  All asbestos related activities shall be performed by Colorado certified asbestos professionals, contractors,
  or consultants. Certifications are issued by the CDPHE, Air Pollution Control Division. An appropriately
  certified professional shall manage the management and disposal of asbestos contaminated soil and other

  ACM. The Air Pollution Control Division within CDPHE is the only unit that certifies such professionals.
  The Contactor shall furnish a copy of the license to the Department in the Environmental Status Report.

  (a)    Regulatory Compliance. Asbestos-contaminated soil management is governed by 6 CCR 1007-2,
         Section 5, which includes and references regulatory compliance with Asbestos Hazard Emergency
         Response Act (AHERA) Colorado Regulation 8. Inspection and reporting protocol and demolition
         standards are governed by AHERA. Demolition and notification standards are governed by
         National Emission Standards for Hazardous Air Pollutants (NESHAPS). Colorado Regulation 8
         governs all asbestos abatement activities on facilities and facility components, demolition,
         permitting, and certification of Certified Asbestos Professionals in the State of Colorado. Colorado
         Regulation 8 is more stringent than AHERA and NESHAPS and supersedes federal regulations.
         Conflicting regulatory requirements between AHERA and NESHAPS, if not specifically
         addressed in Colorado Regulation 8, shall be addressed and approved protocol negotiated with
         CDPHE. The Contractor shall conform to all current regulations, policy directives, or both, issued
         by the EPA, CDPHE, and the Department.

  (b)    Asbestos Management and Visual Inspections Asbestos management must be performed by a
         certified asbestos professional in accordance with current regulations. Final Inspections of the area
         of asbestos-contaminated soil removal shall be performed by an appropriately certified asbestos
         consultant to determine what, if any, controls must be instituted to allow future activity in the
         excavation area. All final visual inspections shall be conducted only when soil is dry.

  (c)    Permitting and Notification. A 24-hour notification to CDPHE is required within 24-hours of any
         unexpected discovery of regulated asbestos containing soil during a soil disturbing activity and
         prior to implementation of CDOT’s approved Regulated Asbestos Contaminated Soil Management
         Standard Operating Procedure, dated October 20, 2016. Removal of asbestos-containing material
         on a facility component, that is located on or in soil that will be disturbed, with asbestos quantities
         above the following trigger levels must be permitted and abated in accordance with the
         requirements of Air Quality Control Commission Regulation No. 8 (5 CCR 1001-10, Part B):

         1.    260 linear feet on pipes,

         2.    160 square feet on other surfaces, or

         3.    The volume of a 55-gallon drum.

        All permit applications shall be submitted to the CDPHE a minimum of 10 days prior to start of
        work for approval. The permit application and notification shall be submitted simultaneously. The
        Contractor shall obtain all required State and local permits and shall be responsible for all
        associated fees.


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  (d) CDOT’s Regulated Asbestos Contaminated Soil Management Standard Operating Procedure, dated
      October 20, 2016. Asbestos contaminated soil shall be managed in accordance with 6 CCR 1007-2,
      Section 5, Asbestos Waste Management Regulations. The Contractor shall comply with procedures
      detailed in the CDPHE regulations as specified in 250.07 (a), and CDOT’s approved Regulated
      Asbestos Contaminated Soil Management Standard Operating Procedure, dated October 20, 2016,
      including the following minimum requirements:

        1.    Immediate actions and implementation of interim controls to prevent visible emissions,
              exposure, and asbestos contamination in surrounding areas.

        2.    Soil characterization.

        3.    Training required for all personnel involved in excavation and other soil disturbing activities,
              when asbestos discoveries are anticipated, or discoveries are made. Asbestos Awareness
              Training shall be given by a qualified and Certified Asbestos Building Inspector with a
              minimum of six months experience inspecting asbestos contaminated soil and who otherwise
              meets the requirements of current regulations.

        4.    Assessment for the presence and extent, within the proposed area of disturbance, of potential
              asbestos discoveries, whether expected or unexpected, by a Certified Asbestos Building
              Inspector.

        5.    Investigation and sampling required for risk assessment and management. Investigation, if
              required, shall be conducted by a Certified Asbestos Building Inspector.

        6.    Risk assessment and determinations for further management or abatement.

              A.    Risk assessment and determinations must be made by a Certified Asbestos Building
                    Inspector.

              B.    Soil remediation is not necessarily required, depending on the circumstances.

        7.    Submit 24-hour Notification of RACS Disturbance.

  (e)   Risk Assessment and Determinations for Further Management Or Remediation. Risk assessment
        and determinations for further management or remediation must be closely coordinated with the
        Department.

  250.08 Methamphetamine Lab Sites. Demolition of former Methamphetamine (meth) labs is enforced
  by the Governing Authority, which varies from county to county. The Contractor shall demolish all
  buildings that are identified as former meth labs, as listed in public listings by the Governing Authority.




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  The Contractor shall provide evidence of demolition to the Governing Authority, obtain receipt of such
  evidence by the Governing Authority, and shall submit these to Department immediately following
  demolition.

  Septic tank removal at known meth lab sites shall undergo preliminary assessment by an Industrial
  Hygienist or Certified Industrial Hygienist to determine proper removal and disposal. Work shall
  proceed in accordance with the recommendations of the Hygienist.




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                                          Appendix B
                               Known Hazardous Substances Parcels

                                                Parcel #
                                               PE-197
                                       AP-86, AP-86A, AP-86B
                                        AP-91, AP-93, AP-93A
                                                AP-96
                                                AP-94
                                                 AP-88
                                                 AP-55
                                                 AP-52
                                                  IU


                                         Railroad Parcel #
                                               UPRR
                                  AP-Construction License Permit 26
                                               BNSF
                                       AP-TE-90; AP-TE-90A
                                       AP-PE-90; AP-PE-90A
                                              DRIR
                                             AP-136; AP-136B
                                               AP-PE-136A




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                                                            Appendix C
                                               Groundwater Benchmark Concentrations

       Analytical Suite              Analyte                   Value        Analytical Suite                       Analyte                      Value
                                                               (µg/L)                                                                           (µg/L)
   Dissolved Metals        Iron                            8,400                                 1,2,4-trichlorobenzene                       PL
   (Field Filtered)        Manganese                       2,500                                 1,2-dichlorobenzene                          PL
                           Arsenic                         PL                                    1,3-dichlorobenzene                          PL
                           Cadmium                         1.6                                   1,4-dichlorobenzene                          PL
                           Chromium (hexavalent)           61                                    1,4-Dioxane                                  1.8
                           Chromium (Trivalent)            PL                                    2,4,6-trichlorophenol                        PL
                           Copper                          39                                    2,4-dichlorophenol                           PL
   Potentially             Lead                            18                                    2,4-dimethylphenol                           PL
   Dissolved Metals
                           Manganese                       2,755                                 2,4-dinitrophenol                            PL
   (Preserved, Lab
   Filtered)               Nickel                          PL                                    2,4-Dinitrotoluene                           PL
                           Selenium                        7.7                                   2-chloronaphthalene                          PL
                           Silver                          PL                                    2-chlorophenol                               PL
                           Thallium                        PL                                    4,6-Dinitro-2-methylphenol                   PL
                           Uranium                         PL                                    4-nitrophenol                                PL
                           Zinc                            PL                                    Acenaphthene                                 PL
   Total Metals            Aluminium                       260,000                               Anthracene                                   PL
   (Preserved,             Arsenic                         64                                    Benz(a)anthracene                            2.5
   Unfiltered)             Barium                          3,000                                 Benzidine                                    PL
                           Beryllium                       16                                    Benzo(a) pyrene                              2.5
                           Cadmium                         4.2                                   Benzo(b)fluoranthene                         2.5
                           Chromium                        157                                   Benzo(g,h,i)perylene                         2.5
                           ChromiumIII                     120                                   Benzo(k)fluoranthene                         2.5
                           ChromiumVI                      62                                    Bis(2-chloroethyl)ether                      PL
                           Iron                            330,000                               Bis(2-ethylhexyl) phthalate                  PL
                           Lead                            235                                   Butyl benzyl phthalate                       PL
                           Molybdenum                      PL              Semi-Volatile         Chrysene                                     2.5
                           Nickel                          210             Organic               Dibenz(a,h)anthracene                        2.5
                           Thallium                        3.8             Compounds             Diethylphthalate                             PL
                           Uranium                         60                                    Dimethyl phthalate                           PL
   Volatile Organic        1,1,1-trichloroethane           PL                                    Di-n-butyl phthalate                         PL
   Compounds               1,1,2,2-tetrachloroethane       PL                                    Diphenylhydrazine                            PL
                           1,1,2-trichloroethane           PL                                    Fluoranthene                                 PL
                           1,1-dichloroethane              PL                                    Fluorene                                     PL
                           1,1-dichloroethene              35                                    Hexachlorobenzene                            PL
                           1,2-dichloropropane             25                                    Hexachlorobutadiene                          PL
                           1,4-Dioxane                     1.8                                   Hexachlorocyclopentadiene                    PL
                           2-Chloroethylvinyl ether        PL                                    Hexachloroethane                             PL
                           Acrolein                        PL                                    Indeno(1,2,3-c,d)pyrene                      2.5
                           Benzene                         50                                    Isophorone                                   PL
                           Bromoform                       PL                                    Naphthalene                                  PL
                           Bromomethane                    PL                                    Nitrobenzene                                 PL
                           Carbon tetrachloride            PL                                    N-Nitrosodimethylamine                       PL
                           Chlorobenzene                   PL                                    N-nitrosodi-n-propylamine                    PL
                           Chloroform                      PL                                    Pentachlorophenol                            5.5
                           cis-1,2-dichloroethene          700                                   Phenol                                       PL
                           Ethylbenzene                    PL                                    Pyrene                                       PL
                           Trichloroethene                 50
                           Tetrachloroethene               50
                           Toluene                         PL
                           trans-1,2-dichloroethene        500
                           Vinyl chloride                  20
                           Xylene Total                    PL
   Other                   pH (Field, SU)                  NL
                           Nitrate (as N)                  50,000
                           TSS                             NL

  Notes:

  PL     = Value set at the maximum permissible level (from time to time) under the applicable discharge Permit for the point of discharge.

  µg/L = Concentrations in micrograms per liter.

  NL     = No Limit, Developer responsible for meeting discharge standard regardless of influent concentrations.

  SU     = pH values to be measured in standard units.




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                              Attachment B:
                 GLO Air Quality Monitoring Summary
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   Globeville Landing Outfall Air Quality Summary (6/1/2017)
   Globeville Landing Outfall Air Quality Summary (6/1/2017)




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